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            DECLARATION OF JOSEPH M. FISHER




                           EXHIBIT E
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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100001        Timely                   7.300                        7.300
    100002        Timely                 2,451.100                    2,451.100
    100003        Timely                  325.500                      325.500
    100004        Timely                   12.900                      12.900
    100005        Timely                   12.900                      12.900
    100006        Timely                   0.000                        0.000
    100007        Timely                   34.000                      34.000
    100008        Timely                   36.000                      36.000
    100009        Timely                 6,000.000                    6,000.000
    100010        Timely                   11.000                      11.000
    100011        Timely                 3,000.000                    3,000.000
    100012        Timely                   8.000                        8.000
    100013        Timely                   9.000                        9.000
    100014        Timely                   25.000                      25.000
    100015        Timely                 1,047.500                    1,047.500
    100016        Timely                 1,224.000                    1,224.000
    100017        Timely                   60.000                      60.000
    100018        Timely                  180.000                      180.000
    100019        Timely                  300.000                      300.000
    100020        Timely                  175.500                      175.500
    100021        Timely                  600.000                      600.000
    100022        Timely                  471.000                      471.000
    100023        Timely                  139.000                      139.000
    100024        Timely                   45.000                      45.000
    100025        Timely                  120.000                      120.000
    100026        Timely                 1,688.100                    1,688.100
    100027        Timely                  126.000                      126.000
    100028        Timely                   60.000                      60.000
    100029        Timely                   11.000                      11.000
    100030        Timely                  163.300                      163.300
    100031        Timely                  604.800                      604.800
    100032        Timely                15,000.000                   15,000.000
    100033        Timely                  540.000                      540.000
    100034        Timely                 1,800.000                    1,800.000
    100035        Timely                  168.000                      168.000
    100036        Timely                  135.000                      135.000
    100037        Timely                   27.000                      27.000
    100038        Timely                   13.300                      13.300
    100039        Timely                   33.500                      33.500
    100040        Timely                   48.500                      48.500
    100041        Timely                   15.300                      15.300
    100042        Timely                   16.000                      16.000
    100043        Timely                  102.600                      102.600
    100044        Timely                  262.700                      262.700
    100045        Timely                  189.000                      189.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100046        Timely                   0.000                        0.000
    100047        Timely                   56.500                      56.500
    100048        Timely                   90.000                      90.000
    100049        Timely                   61.300                      61.300
    100050        Timely                   17.300                      17.300
    100051        Timely                   12.000                      12.000
    100052        Timely                   55.800                      55.800
    100053        Timely                   12.300                      12.300
    100054        Timely                 3,872.400                    3,872.400
    100055        Timely                   0.000                        0.000
    100056        Timely                14,356.200                   14,356.200
    100057        Timely                   41.600                      41.600
    100058        Timely                   4.000                        4.000
    100059        Timely                  104.100                      104.100
    100060        Timely                  226.000                      226.000
    100061        Timely                   29.900                      29.900
    100062        Timely                   30.000                      30.000
    100063        Timely                  103.000                      103.000
    100064        Timely                   69.000                      69.000
    100065        Timely                   31.600                      31.600
    100066        Timely                   11.600                      11.600
    100067        Timely                   46.000                      46.000
    100068        Timely                  226.000                      226.000
    100069        Timely                   55.800                      55.800
    100070        Timely                  135.000                      135.000
    100071        Timely                  108.900                      108.900
    100072        Timely                   73.000                      73.000
    100073        Timely                   66.500                      66.500
    100074        Timely                   0.000                        0.000
    100075        Timely                   26.900                      26.900
    100076        Timely                   60.300                      60.300
    100077        Timely                  443.400                      443.400
    100078        Timely                  660.000                      660.000
    100079        Timely                  808.700                      808.700
    100080        Timely                   15.300                      15.300
    100081        Timely                  226.000                      226.000
    100082        Timely                  225.600                      225.600
    100083        Timely                  399.000                      399.000
    100084        Timely                   36.000                      36.000
    100085        Timely                  204.000                      204.000
    100086        Timely                   18.000                      18.000
    100087        Timely                   17.200                      17.200
    100088        Timely                   55.200                      55.200
    100089        Timely                 2,460.000                    2,460.000
    100090        Timely                   20.900                      20.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100091        Timely                  700.000                      700.000
    100092        Timely                   0.000                        0.000
    100093        Timely                   94.500                      94.500
    100094        Timely                  111.000                      111.000
    100095        Timely                   72.000                      72.000
    100096        Timely                   38.500                      38.500
    100097        Timely                   62.200                      62.200
    100098        Timely                   88.600                      88.600
    100099        Timely                  309.000                      309.000
    100100        Timely                  125.800                      125.800
    100101        Timely                   15.000                      15.000
    100102        Timely                  331.500                      331.500
    100103        Timely                   30.900                      30.900
    100104        Timely                   20.600                      20.600
    100105        Timely                   81.000                      81.000
    100106        Timely                  117.700                      117.700
    100107        Timely                   21.000                      21.000
    100108        Timely                  237.000                      237.000
    100109        Timely                   17.000                      17.000
    100110        Timely                   52.400                      52.400
    100111        Timely                   32.600                      32.600
    100112        Timely                  270.600                      270.600
    100113        Timely                   33.000                      33.000
    100114        Timely                   76.000                      76.000
    100115        Timely                   8.600                        8.600
    100116        Timely                   93.300                      93.300
    100117        Timely                   54.900                      54.900
    100118        Timely                   29.200                      29.200
    100119        Timely                   21.200                      21.200
    100120        Timely                   72.600                      72.600
    100121        Timely                   56.500                      56.500
    100122        Timely                  932.000                      932.000
    100123        Timely                   43.300                      43.300
    100124        Timely                 2,037.000                    2,037.000
    100125        Timely                   85.100                      85.100
    100126        Timely                  293.600                      293.600
    100127        Timely                 8,240.000                    8,240.000
    100128        Timely                   80.000                      80.000
    100129        Timely                  171.000                      171.000
    100130        Timely                   40.800                      40.800
    100131        Timely                   19.900                      19.900
    100132        Timely                   21.000                      21.000
    100133        Timely                   44.800                      44.800
    100134        Timely                 1,962.000                    1,962.000
    100135        Timely               254,820.000                  254,820.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100136        Timely                   75.000                      75.000
    100137        Timely                  200.000                      200.000
    100138        Timely                 2,008.500                    2,008.500
    100139        Timely                  141.000                      141.000
    100140        Timely                   50.600                      50.600
    100141        Timely                   38.900                      38.900
    100142        Timely                  956.600                      956.600
    100143        Timely                   18.600                      18.600
    100144        Timely                   17.600                      17.600
    100145        Timely                  345.500                      345.500
    100146        Timely                  453.200                      453.200
    100147        Timely                   14.600                      14.600
    100148        Timely                   34.500                      34.500
    100149        Timely                   11.300                      11.300
    100150        Timely                  305.000                      305.000
    100151        Timely                   21.900                      21.900
    100152        Timely                 2,595.000                    2,595.000
    100153        Timely                   46.900                      46.900
    100154        Timely                   0.000                        0.000
    100155        Timely                   0.000                        0.000
    100156        Timely                   11.300                      11.300
    100157        Timely                   13.600                      13.600
    100158        Timely                   69.100                      69.100
    100159        Timely                   28.600                      28.600
    100160        Timely                 1,355.200                    1,355.200
    100161        Timely                  126.000                      126.000
    100162        Timely                   11.300                      11.300
    100163        Timely                   27.900                      27.900
    100164        Timely                 9,642.000                    9,642.000
    100165        Timely                   0.000                        0.000
    100166        Timely                 8,421.000                    8,421.000
    100167        Timely                   12.000                      12.000
    100168        Timely                   41.500                      41.500
    100169        Timely                   32.900                      32.900
    100170        Timely                   24.600                      24.600
    100171        Timely                   10.300                      10.300
    100172        Timely                   33.200                      33.200
    100173        Timely                  406.800                      406.800
    100174        Timely                11,700.000                   11,700.000
    100175        Timely                   15.000                      15.000
    100176        Timely                   40.200                      40.200
    100177        Timely                   63.800                      63.800
    100178        Timely                   51.100                      51.100
    100179        Timely                   21.000                      21.000
    100180        Timely                  179.800                      179.800

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100181        Timely                  207.600                      207.600
    100182        Timely                   39.200                      39.200
    100183        Timely                  300.000                      300.000
    100184        Timely                   93.200                      93.200
    100185        Timely                   0.000                        0.000
    100186        Timely                  179.800                      179.800
    100187        Timely                  166.000                      166.000
    100188        Timely                   27.000                      27.000
    100189        Timely                   25.200                      25.200
    100190        Timely                   48.500                      48.500
    100191        Timely                  857.000                      857.000
    100192        Timely                  281.400                      281.400
    100193        Timely                   27.900                      27.900
    100194        Timely                   36.500                      36.500
    100195        Timely                   18.900                      18.900
    100196        Timely                  111.500                      111.500
    100197        Timely                   93.000                      93.000
    100198        Timely                   0.000                        0.000
    100199        Timely                  121.800                      121.800
    100200        Timely                   0.000                        0.000
    100201        Timely                  604.900                      604.900
    100202        Timely                  300.000                      300.000
    100203        Timely                 1,125.000                    1,125.000
    100204        Timely                   42.600                      42.600
    100205        Timely                   44.700                      44.700
    100206        Timely                 2,367.000                    2,367.000
    100207        Timely                   12.000                      12.000
    100208        Timely                   35.300                      35.300
    100209        Timely                   31.500                      31.500
    100210        Timely                   22.900                      22.900
    100211        Timely                   20.600                      20.600
    100212        Timely                   0.000                        0.000
    100213        Timely                   87.000                      87.000
    100214        Timely                 1,325.000                    1,325.000
    100215        Timely                   45.800                      45.800
    100216        Timely                   3.000                        3.000
    100217        Timely                  100.500                      100.500
    100218        Timely                  279.000                      279.000
    100219        Timely                  136.500                      136.500
    100220        Timely                  589.100                      589.100
    100221        Timely                   0.000                        0.000
    100222        Timely                  670.500                      670.500
    100223        Timely                  326.800                      326.800
    100224        Timely                   21.200                      21.200
    100225        Timely                  353.500                      353.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100226        Timely                  527.300                      527.300
    100227        Timely                  348.000                      348.000
    100228        Timely                  150.000                      150.000
    100229        Timely                   21.900                      21.900
    100230        Timely                  327.100                      327.100
    100231        Timely                21,550.000                   21,550.000
    100232        Timely                   97.600                      97.600
    100233        Timely                10,902.000                   10,902.000
    100234        Timely                11,260.000                   11,260.000
    100235        Timely                   42.600                      42.600
    100236        Timely                   8.300                        8.300
    100237        Timely                   19.600                      19.600
    100238        Timely                   3.000                        3.000
    100239        Timely                   22.600                      22.600
    100240        Timely                   26.300                      26.300
    100241        Timely                   48.000                      48.000
    100242        Timely                   39.600                      39.600
    100243        Timely                  134.500                      134.500
    100244        Timely                   12.600                      12.600
    100245        Timely                   18.600                      18.600
    100246        Timely                   26.000                      26.000
    100247        Timely                 2,124.500                    2,124.500
    100248        Timely                  147.200                      147.200
    100249        Timely                   15.000                      15.000
    100250        Timely                   0.000                        0.000
    100251        Timely                   12.900                      12.900
    100252        Timely                   24.900                      24.900
    100253        Timely                   0.000                        0.000
    100254        Timely                  105.000                      105.000
    100255        Timely                  600.000                      600.000
    100256        Timely                   45.200                      45.200
    100257        Timely                   0.000                        0.000
    100258        Timely                   24.900                      24.900
    100259        Timely                   19.300                      19.300
    100260        Timely                  111.000                      111.000
    100261        Timely                  161.000                      161.000
    100262        Timely                  567.700                      567.700
    100263        Timely                  113.000                      113.000
    100264        Timely                  167.500                      167.500
    100265        Timely                  705.000                      705.000
    100266        Timely                   37.600                      37.600
    100267        Timely                 2,073.000                    2,073.000
    100268        Timely                 6,350.000                    6,350.000
    100269        Timely                   18.600                      18.600
    100270        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100271        Timely                   8.600                        8.600
    100272        Timely                   26.200                      26.200
    100273        Timely                   33.900                      33.900
    100274        Timely                  812.000                      812.000
    100275        Timely                   57.800                      57.800
    100276        Timely                  155.600                      155.600
    100277        Timely                  329.500                      329.500
    100278        Timely                  136.600                      136.600
    100279        Timely                   32.600                      32.600
    100280        Timely                   6.300                        6.300
    100281        Timely                   47.500                      47.500
    100282        Timely                   47.500                      47.500
    100283        Timely                   98.000                      98.000
    100284        Timely                   11.600                      11.600
    100285        Timely                   44.900                      44.900
    100286        Timely                   60.100                      60.100
    100287        Timely                  375.000                      375.000
    100288        Timely                  330.000                      330.000
    100289        Timely                   42.200                      42.200
    100290        Timely                   17.900                      17.900
    100291        Timely                  255.600                      255.600
    100292        Timely                  140.000                      140.000
    100293        Timely                   7.000                        7.000
    100294        Timely                   75.800                      75.800
    100295        Timely                   0.000                        0.000
    100296        Timely                  398.700                      398.700
    100297        Timely                  118.000                      118.000
    100298        Timely                   20.900                      20.900
    100299        Timely                   0.000                        0.000
    100300        Timely                  463.200                      463.200
    100301        Timely                   4.000                        4.000
    100302        Timely                   14.600                      14.600
    100303        Timely                   14.600                      14.600
    100304        Timely                   90.000                      90.000
    100305        Timely                  121.000                      121.000
    100306        Timely                  606.700                      606.700
    100307        Timely                  119.500                      119.500
    100308        Timely                   43.400                      43.400
    100309        Timely                   32.600                      32.600
    100310        Timely                   0.000                        0.000
    100311        Timely                12,500.000                   12,500.000
    100312        Timely                  165.000                      165.000
    100313        Timely                  136.500                      136.500
    100314        Timely                  502.000                      502.000
    100315        Timely                   9.000                        9.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100316        Timely                  190.900                      190.900
    100317        Timely                  151.700                      151.700
    100318        Timely                   12.000                      12.000
    100319        Timely                   9.000                        9.000
    100320        Timely                   24.900                      24.900
    100321        Timely                   90.400                      90.400
    100322        Timely                   30.900                      30.900
    100323        Timely                  120.000                      120.000
    100324        Timely                  407.500                      407.500
    100325        Timely                   8.000                        8.000
    100326        Timely                   4.300                        4.300
    100327        Timely                   3.000                        3.000
    100328        Timely                   19.300                      19.300
    100329        Timely                   13.300                      13.300
    100330        Timely                   12.900                      12.900
    100331        Timely                   70.000                      70.000
    100332        Timely                   7.300                        7.300
    100333        Timely                  147.500                      147.500
    100334        Timely                   12.000                      12.000
    100335        Timely                   56.500                      56.500
    100336        Timely                  201.000                      201.000
    100337        Timely                  108.000                      108.000
    100338        Timely                   43.500                      43.500
    100339        Timely                   55.800                      55.800
    100340        Timely                   37.200                      37.200
    100341        Timely                   79.000                      79.000
    100342        Timely                 1,725.000                    1,725.000
    100343        Timely                   93.700                      93.700
    100344        Timely                   0.000                        0.000
    100345        Timely                  368.300                      368.300
    100346        Timely                   23.000                      23.000
    100347        Timely                   14.000                      14.000
    100348        Timely                   90.000                      90.000
    100349        Timely                   80.300                      80.300
    100350        Timely                  240.000                      240.000
    100351        Timely                   18.300                      18.300
    100352        Timely                   77.000                      77.000
    100353        Timely                   34.600                      34.600
    100354        Timely                   9.300                        9.300
    100355        Timely                  675.000                      675.000
    100356        Timely                  245.600                      245.600
    100357        Timely                   68.000                      68.000
    100358        Timely                   21.900                      21.900
    100359        Timely                   89.000                      89.000
    100360        Timely                  112.400                      112.400

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100361        Timely                   0.000                        0.000
    100362        Timely                  113.000                      113.000
    100363        Timely                  113.000                      113.000
    100364        Timely                  113.000                      113.000
    100365        Timely                 1,068.000                    1,068.000
    100366        Timely                  113.000                      113.000
    100367        Timely                   11.000                      11.000
    100368        Timely                   23.200                      23.200
    100369        Timely                  548.500                      548.500
    100370        Timely                   24.900                      24.900
    100371        Timely                  213.400                      213.400
    100372        Timely                   17.300                      17.300
    100373        Timely                  109.400                      109.400
    100374        Timely                   88.600                      88.600
    100375        Timely                   16.000                      16.000
    100376        Timely                   24.900                      24.900
    100377        Timely                   8.000                        8.000
    100378        Timely                  166.000                      166.000
    100379        Timely                  226.000                      226.000
    100380        Timely                   0.000                        0.000
    100381        Timely                   18.600                      18.600
    100382        Timely                   96.000                      96.000
    100383        Timely                   83.000                      83.000
    100384        Timely                   0.000                        0.000
    100385        Timely                   0.000                        0.000
    100386        Timely                   83.000                      83.000
    100387        Timely                   83.000                      83.000
    100388        Timely                   83.000                      83.000
    100389        Timely                   36.000                      36.000
    100390        Timely                   83.000                      83.000
    100391        Timely                   83.000                      83.000
    100392        Timely                  300.000                      300.000
    100393        Timely                   83.000                      83.000
    100394        Timely                   83.000                      83.000
    100395        Timely                   83.000                      83.000
    100396        Timely                   83.000                      83.000
    100397        Timely                   83.000                      83.000
    100398        Timely                   17.600                      17.600
    100399        Timely                   13.300                      13.300
    100400        Timely                   60.000                      60.000
    100401        Timely                   75.000                      75.000
    100402        Timely                  109.500                      109.500
    100403        Timely                   46.100                      46.100
    100404        Timely                  105.000                      105.000
    100405        Timely                  195.000                      195.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100406        Timely                   55.500                      55.500
    100407        Timely                  343.000                      343.000
    100408        Timely                   0.000                        0.000
    100409        Timely                   0.000                        0.000
    100410        Timely                   4.300                        4.300
    100411        Timely                   23.300                      23.300
    100412        Timely                   57.000                      57.000
    100413        Timely                 9,543.200                    9,543.200
    100414        Timely                   22.300                      22.300
    100415        Timely                   24.000                      24.000
    100416        Timely                  810.000                      810.000
    100417        Timely                   90.300                      90.300
    100418        Timely                 1,800.000                    1,800.000
    100419        Timely                  450.000                      450.000
    100420        Timely                  768.000                      768.000
    100421        Timely                 5,090.500                    5,090.500
    100422        Timely                   0.000                        0.000
    100423        Timely                   17.300                      17.300
    100424        Timely                   12.000                      12.000
    100425        Timely                   29.500                      29.500
    100426        Timely                   45.000                      45.000
    100427        Timely                   29.600                      29.600
    100428        Timely                   63.000                      63.000
    100429        Timely                   16.600                      16.600
    100430        Timely                   23.200                      23.200
    100431        Timely                   23.600                      23.600
    100432        Timely                   0.000                        0.000
    100433        Timely                   29.200                      29.200
    100434        Timely                 1,831.500                    1,831.500
    100435        Timely                  593.600                      593.600
    100436        Timely                   45.000                      45.000
    100437        Timely                   30.000                      30.000
    100438        Timely                   49.600                      49.600
    100439        Timely                19,900.000                   19,900.000
    100440        Timely                 3,150.000                    3,150.000
    100441        Timely                  203.000                      203.000
    100442        Timely                   90.000                      90.000
    100443        Timely                   51.500                      51.500
    100444        Timely                   79.300                      79.300
    100445        Timely                  169.800                      169.800
    100446        Timely                  186.000                      186.000
    100447        Timely                10,814.000                   10,814.000
    100448        Timely                   0.000                        0.000
    100449        Timely                  125.600                      125.600
    100450        Timely                   17.600                      17.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100451        Timely                   0.000                        0.000
    100452        Timely                   36.000                      36.000
    100453        Timely                   16.000                      16.000
    100454        Timely                 5,691.000                    5,691.000
    100455        Timely                   20.900                      20.900
    100456        Timely                 3,346.000                    3,346.000
    100457        Timely                   62.000                      62.000
    100458        Timely                  375.000                      375.000
    100459        Timely                 7,488.000                    7,488.000
    100460        Timely                  606.000                      606.000
    100461        Timely                   14.600                      14.600
    100462        Timely                   0.000                        0.000
    100463        Timely                   98.400                      98.400
    100464        Timely                   15.000                      15.000
    100465        Timely                  486.000                      486.000
    100466        Timely                 9,322.000                    9,322.000
    100467        Timely                   12.000                      12.000
    100468        Timely                 2,930.000                    2,930.000
    100469        Timely                   42.600                      42.600
    100470        Timely                 3,750.000                    3,750.000
    100471        Timely                   6.000                        6.000
    100472        Timely                   48.800                      48.800
    100473        Timely                   14.900                      14.900
    100474        Timely                  281.000                      281.000
    100475        Timely                  110.900                      110.900
    100476        Timely                   8.600                        8.600
    100477        Timely                 2,160.000                    2,160.000
    100478        Timely                   75.000                      75.000
    100479        Timely                 1,590.000                    1,590.000
    100480        Timely                 4,626.000                    4,626.000
    100481        Timely                   0.000                        0.000
    100482        Timely                   13.300                      13.300
    100483        Timely                   27.900                      27.900
    100484        Timely                  150.000                      150.000
    100485        Timely                  288.000                      288.000
    100486        Timely                 1,753.100                    1,753.100
    100487        Timely                   45.500                      45.500
    100488        Timely                  123.000                      123.000
    100489        Timely                   96.000                      96.000
    100490        Timely                  143.600                      143.600
    100491        Timely                  134.600                      134.600
    100492        Timely                 2,725.000                    2,725.000
    100493        Timely                   24.600                      24.600
    100494        Timely                   27.900                      27.900
    100495        Timely                   14.300                      14.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100496        Timely                   0.000                        0.000
    100497        Timely                   0.000                        0.000
    100498        Timely                   0.000                        0.000
    100499        Timely                   0.000                        0.000
    100500        Timely                   0.000                        0.000
    100501        Timely                   0.000                        0.000
    100502        Timely                   0.000                        0.000
    100503        Timely                   0.000                        0.000
    100504        Timely                   91.200                      91.200
    100505        Timely                   60.000                      60.000
    100506        Timely                   4.300                        4.300
    100507        Timely                  308.000                      308.000
    100508        Timely                  131.100                      131.100
    100509        Timely                   0.000                        0.000
    100510        Timely                  827.500                      827.500
    100511        Timely                   4.300                        4.300
    100512        Timely                 1,200.000                    1,200.000
    100513        Timely                  235.000                      235.000
    100514        Timely                   12.000                      12.000
    100515        Timely                 1,380.000                    1,380.000
    100516        Timely                  890.200                      890.200
    100517        Timely                   24.000                      24.000
    100518        Timely                   75.000                      75.000
    100519        Timely                   28.600                      28.600
    100520        Timely                  221.600                      221.600
    100521        Timely                   78.000                      78.000
    100522        Timely                  125.500                      125.500
    100523        Timely                  450.000                      450.000
    100524        Timely                   40.800                      40.800
    100525        Timely                   66.000                      66.000
    100526        Timely                   8.300                        8.300
    100527        Timely                21,000.000                   21,000.000
    100528        Timely                   0.000                        0.000
    100529        Timely                 1,680.000                    1,680.000
    100530        Timely                 1,120.500                    1,120.500
    100531        Timely                   0.000                        0.000
    100532        Timely                  300.000                      300.000
    100533        Timely                   0.000                        0.000
    100534        Timely                   58.800                      58.800
    100535        Timely                   60.000                      60.000
    100536        Timely                   90.000                      90.000
    100537        Timely                   30.000                      30.000
    100538        Timely                   0.000                        0.000
    100539        Timely                  111.000                      111.000
    100540        Timely                  750.000                      750.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100541        Timely                  525.000                      525.000
    100542        Timely                  173.000                      173.000
    100543        Timely                  609.500                      609.500
    100544        Timely                   0.000                        0.000
    100545        Timely                   93.000                      93.000
    100546        Timely                   45.000                      45.000
    100547        Timely                   45.000                      45.000
    100548        Timely                   6.000                        6.000
    100549        Timely                   25.000                      25.000
    100550        Timely                  150.000                      150.000
    100551        Timely                  459.300                      459.300
    100552        Timely                   10.000                      10.000
    100553        Timely                 2,250.000                    2,250.000
    100554        Timely                   88.300                      88.300
    100555        Timely                  125.000                      125.000
    100556        Timely                 5,616.000                    5,616.000
    100557        Timely                   19.900                      19.900
    100558        Timely                   66.400                      66.400
    100559        Timely                  197.500                      197.500
    100560        Timely                   0.000                        0.000
    100561        Timely                   0.000                        0.000
    100562        Timely                 9,826.400                    9,826.400
    100563        Timely                   6.000                        6.000
    100564        Timely                   21.900                      21.900
    100565        Timely                   21.900                      21.900
    100566        Timely                   72.000                      72.000
    100567        Timely                   0.000                        0.000
    100568        Timely                  258.000                      258.000
    100569        Timely                   0.000                        0.000
    100570        Timely                   6.000                        6.000
    100571        Timely                 1,725.000                    1,725.000
    100572        Timely                   0.000                        0.000
    100573        Timely                   9.000                        9.000
    100574        Timely                   3.000                        3.000
    100575        Timely                  179.400                      179.400
    100576        Timely                  240.000                      240.000
    100577        Timely                  343.500                      343.500
    100578        Timely                 6,246.000                    6,246.000
    100579        Timely                  432.000                      432.000
    100580        Timely                  856.000                      856.000
    100581        Timely                  135.000                      135.000
    100582        Timely                   69.600                      69.600
    100583        Timely                  750.000                      750.000
    100584        Timely                  154.800                      154.800
    100585        Timely                 2,347.100                    2,347.100

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100586        Timely                  208.000                      208.000
    100587        Timely                  252.000                      252.000
    100588        Timely                   60.000                      60.000
    100589        Timely                   9.600                        9.600
    100590        Timely                   75.000                      75.000
    100591        Timely                   33.600                      33.600
    100592        Timely                   14.300                      14.300
    100593        Timely                  270.000                      270.000
    100594        Timely                  205.100                      205.100
    100595        Timely                  402.500                      402.500
    100596        Timely                   30.000                      30.000
    100597        Timely                   97.800                      97.800
    100598        Timely                   61.500                      61.500
    100599        Timely                  199.300                      199.300
    100600        Timely                   18.900                      18.900
    100601        Timely                   7.300                        7.300
    100602        Timely                  645.000                      645.000
    100603        Timely                  226.000                      226.000
    100604        Timely                30,375.000                   30,375.000
    100605        Timely                  166.000                      166.000
    100606        Timely                 1,181.300                    1,181.300
    100607        Timely                   0.000                        0.000
    100608        Timely                   51.100                      51.100
    100609        Timely                   54.000                      54.000
    100610        Timely                   0.000                        0.000
    100611        Timely                 3,780.000                    3,780.000
    100612        Timely                   0.000                        0.000
    100613        Timely                   0.000                        0.000
    100614        Timely                   0.000                        0.000
    100615        Timely                   0.000                        0.000
    100616        Timely                   71.500                      71.500
    100617        Timely                   10.000                      10.000
    100618        Timely                   64.800                      64.800
    100619        Timely                   91.500                      91.500
    100620        Timely                 1,200.000                    1,200.000
    100621        Timely                 1,502.000                    1,502.000
    100622        Timely                   66.100                      66.100
    100623        Timely                  311.700                      311.700
    100624        Timely                 2,160.000                    2,160.000
    100625        Timely                  584.800                      584.800
    100626        Timely                   57.000                      57.000
    100627        Timely                   0.000                        0.000
    100628        Timely                   0.000                        0.000
    100629        Timely                 1,146.000                    1,146.000
    100630        Timely                  781.500                      781.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100631        Timely                   0.000                        0.000
    100632        Timely                   39.200                      39.200
    100633        Timely                   0.000                        0.000
    100634        Timely                  430.000                      430.000
    100635        Timely                  741.000                      741.000
    100636        Timely                 1,050.000                    1,050.000
    100637        Timely                   8.300                        8.300
    100638        Timely                  263.000                      263.000
    100639        Timely                  150.000                      150.000
    100640        Timely                   39.800                      39.800
    100641        Timely                11,575.000                   11,575.000
    100642        Timely                   0.000                        0.000
    100643        Timely                11,135.000                   11,135.000
    100644        Timely                   51.900                      51.900
    100645        Timely                 1,364.200                    1,364.200
    100646        Timely                  111.000                      111.000
    100647        Timely                   16.600                      16.600
    100648        Timely                  202.300                      202.300
    100649        Timely                   75.000                      75.000
    100650        Timely                12,047.000                   12,047.000
    100651        Timely                   90.000                      90.000
    100652        Timely                   18.000                      18.000
    100653        Timely                   13.600                      13.600
    100654        Timely                   10.300                      10.300
    100655        Timely                   26.500                      26.500
    100656        Timely                   39.500                      39.500
    100657        Timely                   26.200                      26.200
    100658        Timely                   8.300                        8.300
    100659        Timely                   6.000                        6.000
    100660        Timely                   33.300                      33.300
    100661        Timely                  166.000                      166.000
    100662        Timely                  169.800                      169.800
    100663        Timely                 1,500.000                    1,500.000
    100664        Timely                 5,130.000                    5,130.000
    100665        Timely                  689.900                      689.900
    100666        Timely                 2,334.000                    2,334.000
    100667        Timely                   55.000                      55.000
    100668        Timely                   78.800                      78.800
    100669        Timely                   24.000                      24.000
    100670        Timely                   15.300                      15.300
    100671        Timely                   0.000                        0.000
    100672        Timely                   36.000                      36.000
    100673        Timely                 2,680.400                    2,680.400
    100674        Timely                   30.000                      30.000
    100675        Timely                 8,640.000                    8,640.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100676        Timely                   0.000                        0.000
    100677        Timely                  210.000                      210.000
    100678        Timely                   9.600                        9.600
    100679        Timely                   21.900                      21.900
    100680        Timely                  209.500                      209.500
    100681        Timely                 6,750.000                    6,750.000
    100682        Timely                   12.000                      12.000
    100683        Timely                   25.600                      25.600
    100684        Timely                   66.000                      66.000
    100685        Timely                  135.000                      135.000
    100686        Timely                  368.900                      368.900
    100687        Timely                  135.000                      135.000
    100688        Timely                   85.000                      85.000
    100689        Timely                 5,580.000                    5,580.000
    100690        Timely                   51.600                      51.600
    100691        Timely                   1.000                        1.000
    100692        Timely                   30.900                      30.900
    100693        Timely                   10.300                      10.300
    100694        Timely                  279.000                      279.000
    100695        Timely                   7.300                        7.300
    100696        Timely                   0.000                        0.000
    100697        Timely                   49.600                      49.600
    100698        Timely                   35.000                      35.000
    100699        Timely                   0.000                        0.000
    100700        Timely                20,922.000                   20,922.000
    100701        Timely                  911.000                      911.000
    100702        Timely                   39.000                      39.000
    100703        Timely                  424.000                      424.000
    100704        Timely                   96.000                      96.000
    100705        Timely                  270.000                      270.000
    100706        Timely                  122.200                      122.200
    100707        Timely                   12.600                      12.600
    100708        Timely                   0.000                        0.000
    100709        Timely                   0.000                        0.000
    100710        Timely                 1,254.000                    1,254.000
    100711        Timely                  152.500                      152.500
    100712        Timely                   0.000                        0.000
    100713        Timely                   28.600                      28.600
    100714        Timely                   26.900                      26.900
    100715        Timely                   71.400                      71.400
    100716        Timely                  249.000                      249.000
    100717        Timely                   43.000                      43.000
    100718        Timely                  177.500                      177.500
    100719        Timely                  107.700                      107.700
    100720        Timely                   52.400                      52.400

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100721        Timely                   46.400                      46.400
    100722        Timely                  124.500                      124.500
    100723        Timely                   8.600                        8.600
    100724        Timely                   62.500                      62.500
    100725        Timely                  104.500                      104.500
    100726        Timely                   63.900                      63.900
    100727        Timely                  182.000                      182.000
    100728        Timely                   72.600                      72.600
    100729        Timely                  113.000                      113.000
    100730        Timely                  153.600                      153.600
    100731        Timely                   70.700                      70.700
    100732        Timely                  295.000                      295.000
    100733        Timely                 1,060.000                    1,060.000
    100734        Timely                   8.600                        8.600
    100735        Timely                   0.000                        0.000
    100736        Timely              4,910,000.000                4,910,000.000
    100737        Timely                   9.300                        9.300
    100738        Timely                   86.000                      86.000
    100739        Timely                   31.200                      31.200
    100740        Timely                   0.000                        0.000
    100741        Timely                   86.000                      86.000
    100742        Timely                  123.000                      123.000
    100743        Timely                   15.900                      15.900
    100744        Timely                  171.000                      171.000
    100745        Timely                   24.900                      24.900
    100746        Timely                   0.000                        0.000
    100747        Timely                   24.900                      24.900
    100748        Timely                  168.200                      168.200
    100749        Timely                   11.600                      11.600
    100750        Timely                   83.000                      83.000
    100751        Timely                   4.300                        4.300
    100752        Timely                   58.100                      58.100
    100753        Timely                   41.500                      41.500
    100754        Timely                  156.000                      156.000
    100755        Timely                   15.300                      15.300
    100756        Timely                   0.000                        0.000
    100757        Timely                   18.200                      18.200
    100758        Timely                   0.000                        0.000
    100759        Timely                  113.000                      113.000
    100760        Timely                   15.300                      15.300
    100761        Timely                  329.500                      329.500
    100762        Timely                   15.900                      15.900
    100763        Timely                  272.200                      272.200
    100764        Timely                   21.900                      21.900
    100765        Timely                 1,500.000                    1,500.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100766        Timely                   35.500                      35.500
    100767        Timely                   84.500                      84.500
    100768        Timely                  140.800                      140.800
    100769        Timely                   24.000                      24.000
    100770        Timely                   30.000                      30.000
    100771        Timely                   25.000                      25.000
    100772        Timely                   67.800                      67.800
    100773        Timely                 2,283.400                    2,283.400
    100774        Timely                   46.500                      46.500
    100775        Timely                  156.000                      156.000
    100776        Timely                   0.000                        0.000
    100777        Timely                  113.000                      113.000
    100778        Timely                   45.200                      45.200
    100779        Timely                   15.000                      15.000
    100780        Timely                  126.000                      126.000
    100781        Timely                  539.800                      539.800
    100782        Timely                   75.800                      75.800
    100783        Timely                   79.400                      79.400
    100784        Timely                  258.000                      258.000
    100785        Timely                  144.900                      144.900
    100786        Timely                   23.200                      23.200
    100787        Timely                   37.900                      37.900
    100788        Timely                   4.300                        4.300
    100789        Timely                  344.000                      344.000
    100790        Timely                  290.500                      290.500
    100791        Timely                   0.000                        0.000
    100792        Timely                   9.600                        9.600
    100793        Timely                   33.500                      33.500
    100794        Timely                   14.600                      14.600
    100795        Timely                  260.000                      260.000
    100796        Timely                   37.900                      37.900
    100797        Timely                  765.000                      765.000
    100798        Timely                  113.000                      113.000
    100799        Timely                   7.300                        7.300
    100800        Timely                 1,288.000                    1,288.000
    100801        Timely                   18.600                      18.600
    100802        Timely                  300.000                      300.000
    100803        Timely                   65.500                      65.500
    100804        Timely                  421.400                      421.400
    100805        Timely                  271.000                      271.000
    100806        Timely                   21.900                      21.900
    100807        Timely                  192.500                      192.500
    100808        Timely                   18.600                      18.600
    100809        Timely                   29.200                      29.200
    100810        Timely                  830.000                      830.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100811        Timely                   7.300                        7.300
    100812        Timely                   10.300                      10.300
    100813        Timely                   8.300                        8.300
    100814        Timely                   11.300                      11.300
    100815        Timely                   37.900                      37.900
    100816        Timely                   39.500                      39.500
    100817        Timely                   39.500                      39.500
    100818        Timely                   30.000                      30.000
    100819        Timely                   22.600                      22.600
    100820        Timely                 1,597.600                    1,597.600
    100821        Timely                   83.000                      83.000
    100822        Timely                   36.900                      36.900
    100823        Timely                  495.000                      495.000
    100824        Timely                   31.200                      31.200
    100825        Timely                   0.000                        0.000
    100826        Timely                   36.900                      36.900
    100827        Timely                  498.600                      498.600
    100828        Timely                  228.200                      228.200
    100829        Timely                   10.300                      10.300
    100830        Timely                  219.000                      219.000
    100831        Timely                   30.000                      30.000
    100832        Timely                   7.300                        7.300
    100833        Timely                   11.600                      11.600
    100834        Timely                   24.900                      24.900
    100835        Timely                  189.000                      189.000
    100836        Timely                   0.000                        0.000
    100837        Timely                  272.000                      272.000
    100838        Timely                   76.700                      76.700
    100839        Timely                  668.500                      668.500
    100840        Timely                  208.000                      208.000
    100841        Timely                   27.300                      27.300
    100842        Timely                  691.000                      691.000
    100843        Timely                   8.600                        8.600
    100844        Timely                 1,494.000                    1,494.000
    100845        Timely                   14.000                      14.000
    100846        Timely                   54.000                      54.000
    100847        Timely                  217.600                      217.600
    100848        Timely                   55.200                      55.200
    100849        Timely                   0.000                        0.000
    100850        Timely                   14.300                      14.300
    100851        Timely                   91.800                      91.800
    100852        Timely                   98.400                      98.400
    100853        Timely                   8.300                        8.300
    100854        Timely                  857.200                      857.200
    100855        Timely                  126.000                      126.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100856        Timely                  600.000                      600.000
    100857        Timely                  255.000                      255.000
    100858        Timely                 1,500.000                    1,500.000
    100859        Timely                   0.000                        0.000
    100860        Timely                  215.000                      215.000
    100861        Timely                   3.000                        3.000
    100862        Timely                   33.500                      33.500
    100863        Timely                  172.000                      172.000
    100864        Timely                   28.200                      28.200
    100865        Timely                   26.900                      26.900
    100866        Timely                  118.000                      118.000
    100867        Timely                  161.000                      161.000
    100868        Timely                   39.500                      39.500
    100869        Timely                   40.800                      40.800
    100870        Timely                   13.600                      13.600
    100871        Timely                   18.600                      18.600
    100872        Timely                   19.600                      19.600
    100873        Timely                   25.800                      25.800
    100874        Timely                   14.300                      14.300
    100875        Timely                   0.000                        0.000
    100876        Timely                   27.900                      27.900
    100877        Timely                   7.000                        7.000
    100878        Timely                   3.000                        3.000
    100879        Timely                   7.000                        7.000
    100880        Timely                   8.000                        8.000
    100881        Timely                   49.800                      49.800
    100882        Timely                   87.600                      87.600
    100883        Timely                   57.200                      57.200
    100884        Timely                   33.900                      33.900
    100885        Timely                   49.800                      49.800
    100886        Timely                   90.400                      90.400
    100887        Timely                  202.600                      202.600
    100888        Timely                  736.800                      736.800
    100889        Timely                   21.900                      21.900
    100890        Timely                   1.000                        1.000
    100891        Timely                  277.600                      277.600
    100892        Timely                   7.300                        7.300
    100893        Timely                  206.000                      206.000
    100894        Timely                   10.600                      10.600
    100895        Timely                  427.000                      427.000
    100896        Timely                   27.900                      27.900
    100897        Timely                  175.500                      175.500
    100898        Timely                   30.900                      30.900
    100899        Timely                   41.900                      41.900
    100900        Timely                   41.500                      41.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100901        Timely                   10.300                      10.300
    100902        Timely                   4.300                        4.300
    100903        Timely                   0.000                        0.000
    100904        Timely                   8.300                        8.300
    100905        Timely                   19.600                      19.600
    100906        Timely                   46.200                      46.200
    100907        Timely                   23.600                      23.600
    100908        Timely                   28.900                      28.900
    100909        Timely                   61.500                      61.500
    100910        Timely                   38.500                      38.500
    100911        Timely                   48.800                      48.800
    100912        Timely                   68.000                      68.000
    100913        Timely                   70.600                      70.600
    100914        Timely                   0.000                        0.000
    100915        Timely                  123.000                      123.000
    100916        Timely                  278.600                      278.600
    100917        Timely                   90.300                      90.300
    100918        Timely                  197.500                      197.500
    100919        Timely                   39.500                      39.500
    100920        Timely                 3,126.000                    3,126.000
    100921        Timely                  181.000                      181.000
    100922        Timely                   11.600                      11.600
    100923        Timely                  262.000                      262.000
    100924        Timely                   0.000                        0.000
    100925        Timely                   15.600                      15.600
    100926        Timely                   42.500                      42.500
    100927        Timely                   24.900                      24.900
    100928        Timely                  348.000                      348.000
    100929        Timely                  143.000                      143.000
    100930        Timely                   99.100                      99.100
    100931        Timely                   30.600                      30.600
    100932        Timely                  242.500                      242.500
    100933        Timely                  136.500                      136.500
    100934        Timely                   97.400                      97.400
    100935        Timely                  658.000                      658.000
    100936        Timely                  226.600                      226.600
    100937        Timely                  136.000                      136.000
    100938        Timely                  314.900                      314.900
    100939        Timely                   16.600                      16.600
    100940        Timely                  184.800                      184.800
    100941        Timely                   43.200                      43.200
    100942        Timely                   43.800                      43.800
    100943        Timely                   62.100                      62.100
    100944        Timely                  284.500                      284.500
    100945        Timely                   83.600                      83.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100946        Timely                   8.600                        8.600
    100947        Timely                   11.600                      11.600
    100948        Timely                  435.800                      435.800
    100949        Timely                   20.900                      20.900
    100950        Timely                   22.300                      22.300
    100951        Timely                   5.300                        5.300
    100952        Timely                   0.000                        0.000
    100953        Timely                   8.300                        8.300
    100954        Timely                   12.300                      12.300
    100955        Timely                  187.600                      187.600
    100956        Timely                   35.500                      35.500
    100957        Timely                   50.400                      50.400
    100958        Timely                   84.700                      84.700
    100959        Timely                   13.900                      13.900
    100960        Timely                  180.900                      180.900
    100961        Timely                   43.500                      43.500
    100962        Timely                   26.900                      26.900
    100963        Timely                   31.800                      31.800
    100964        Timely                   43.200                      43.200
    100965        Timely                  246.600                      246.600
    100966        Timely                   42.600                      42.600
    100967        Timely                  134.500                      134.500
    100968        Timely                   25.900                      25.900
    100969        Timely                   33.900                      33.900
    100970        Timely                   5.000                        5.000
    100971        Timely                   51.800                      51.800
    100972        Timely                   13.900                      13.900
    100973        Timely                   7.300                        7.300
    100974        Timely                   0.000                        0.000
    100975        Timely                   15.900                      15.900
    100976        Timely                 1,286.300                    1,286.300
    100977        Timely                   21.300                      21.300
    100978        Timely                   51.500                      51.500
    100979        Timely                   9.600                        9.600
    100980        Timely                   11.300                      11.300
    100981        Timely                   27.600                      27.600
    100982        Timely                   0.000                        0.000
    100983        Timely                   83.200                      83.200
    100984        Timely                   28.600                      28.600
    100985        Timely                   12.300                      12.300
    100986        Timely                   47.500                      47.500
    100987        Timely                   7.300                        7.300
    100988        Timely                   67.400                      67.400
    100989        Timely                  163.000                      163.000
    100990        Timely                   32.600                      32.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    100991        Timely                   0.000                        0.000
    100992        Timely                  167.500                      167.500
    100993        Timely                   35.500                      35.500
    100994        Timely                   0.000                        0.000
    100995        Timely                  181.700                      181.700
    100996        Timely                   34.900                      34.900
    100997        Timely                   66.400                      66.400
    100998        Timely                   20.000                      20.000
    100999        Timely                   16.600                      16.600
    101000        Timely                   60.500                      60.500
    101001        Timely                   0.000                        0.000
    101002        Timely                   66.400                      66.400
    101003        Timely                   66.400                      66.400
    101004        Timely                  146.200                      146.200
    101005        Timely                   0.000                        0.000
    101006        Timely                   66.400                      66.400
    101007        Timely                   66.400                      66.400
    101008        Timely                  108.600                      108.600
    101009        Timely                   3.000                        3.000
    101010        Timely                   96.300                      96.300
    101011        Timely                   25.800                      25.800
    101012        Timely                   24.900                      24.900
    101013        Timely                   25.800                      25.800
    101014        Timely                   36.500                      36.500
    101015        Timely                   73.600                      73.600
    101016        Timely                   18.600                      18.600
    101017        Timely                   10.300                      10.300
    101018        Timely                   8.600                        8.600
    101019        Timely                   22.600                      22.600
    101020        Timely                   19.600                      19.600
    101021        Timely                   80.100                      80.100
    101022        Timely                   68.000                      68.000
    101023        Timely                  200.000                      200.000
    101024        Timely                 1,108.000                    1,108.000
    101025        Timely                   30.600                      30.600
    101026        Timely                   23.600                      23.600
    101027        Timely                 3,535.000                    3,535.000
    101028        Timely                   6.000                        6.000
    101029        Timely                17,600.000                   17,600.000
    101030        Timely                   57.100                      57.100
    101031        Timely                   26.500                      26.500
    101032        Timely                   5.000                        5.000
    101033        Timely                  169.700                      169.700
    101034        Timely                   0.000                        0.000
    101035        Timely                  567.400                      567.400

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101036        Timely                   0.000                        0.000
    101037        Timely                   23.600                      23.600
    101038        Timely                   96.500                      96.500
    101039        Timely                   0.000                        0.000
    101040        Timely                   0.000                        0.000
    101041        Timely                   8.300                        8.300
    101042        Timely                   24.900                      24.900
    101043        Timely                   24.900                      24.900
    101044        Timely                   24.900                      24.900
    101045        Timely                   19.900                      19.900
    101046        Timely                   12.300                      12.300
    101047        Timely                  117.400                      117.400
    101048        Timely                   8.300                        8.300
    101049        Timely                   33.500                      33.500
    101050        Timely                  865.000                      865.000
    101051        Timely                   24.900                      24.900
    101052        Timely                   75.000                      75.000
    101053        Timely                   40.000                      40.000
    101054        Timely                  372.900                      372.900
    101055        Timely                  187.000                      187.000
    101056        Timely                   83.000                      83.000
    101057        Timely                   12.900                      12.900
    101058        Timely                   8.300                        8.300
    101059        Timely                   67.600                      67.600
    101060        Timely                   41.500                      41.500
    101061        Timely                   18.000                      18.000
    101062        Timely                   34.200                      34.200
    101063        Timely                   12.900                      12.900
    101064        Timely                   45.200                      45.200
    101065        Timely                   16.600                      16.600
    101066        Timely                   34.300                      34.300
    101067        Timely                   24.900                      24.900
    101068        Timely                   9.000                        9.000
    101069        Timely                   8.000                        8.000
    101070        Timely                  131.300                      131.300
    101071        Timely                  163.100                      163.100
    101072        Timely                   0.000                        0.000
    101073        Timely                   5.300                        5.300
    101074        Timely                  369.000                      369.000
    101075        Timely                   8.600                        8.600
    101076        Timely                   19.600                      19.600
    101077        Timely                   35.000                      35.000
    101078        Timely                   27.900                      27.900
    101079        Timely                   5.300                        5.300
    101080        Timely                   30.200                      30.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101081        Timely                   83.000                      83.000
    101082        Timely                  566.400                      566.400
    101083        Timely                   24.900                      24.900
    101084        Timely                   4.000                        4.000
    101085        Timely                  164.500                      164.500
    101086        Timely                  137.600                      137.600
    101087        Timely                   12.900                      12.900
    101088        Timely                   0.000                        0.000
    101089        Timely                   13.600                      13.600
    101090        Timely                   46.500                      46.500
    101091        Timely                   11.300                      11.300
    101092        Timely                   11.300                      11.300
    101093        Timely                   11.300                      11.300
    101094        Timely                   11.300                      11.300
    101095        Timely                   11.300                      11.300
    101096        Timely                   11.300                      11.300
    101097        Timely                   10.000                      10.000
    101098        Timely                   0.000                        0.000
    101099        Timely                  219.600                      219.600
    101100        Timely                   58.400                      58.400
    101101        Timely                   0.000                        0.000
    101102        Timely                   20.000                      20.000
    101103        Timely                   21.900                      21.900
    101104        Timely                  191.000                      191.000
    101105        Timely                   11.600                      11.600
    101106        Timely                   0.000                        0.000
    101107        Timely                   10.000                      10.000
    101108        Timely                   0.000                        0.000
    101109        Timely                   20.000                      20.000
    101110        Timely                   80.600                      80.600
    101111        Timely                   22.000                      22.000
    101112        Timely                  134.500                      134.500
    101113        Timely                   15.600                      15.600
    101114        Timely                   0.000                        0.000
    101115        Timely                   16.600                      16.600
    101116        Timely                   6.000                        6.000
    101117        Timely                  365.000                      365.000
    101118        Timely                   23.600                      23.600
    101119        Timely                   14.600                      14.600
    101120        Timely                   28.200                      28.200
    101121        Timely                   7.300                        7.300
    101122        Timely                   42.800                      42.800
    101123        Timely                   10.300                      10.300
    101124        Timely                   0.000                        0.000
    101125        Timely                   11.600                      11.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101126        Timely                  118.800                      118.800
    101127        Timely                   17.900                      17.900
    101128        Timely                   9.300                        9.300
    101129        Timely                   8.300                        8.300
    101130        Timely                  238.700                      238.700
    101131        Timely                  225.400                      225.400
    101132        Timely                   20.600                      20.600
    101133        Timely                   7.300                        7.300
    101134        Timely                   42.900                      42.900
    101135        Timely                   0.000                        0.000
    101136        Timely                  745.800                      745.800
    101137        Timely                   0.000                        0.000
    101138        Timely                   12.600                      12.600
    101139        Timely                   31.900                      31.900
    101140        Timely                  153.000                      153.000
    101141        Timely                  109.200                      109.200
    101142        Timely                  169.500                      169.500
    101143        Timely                   4.300                        4.300
    101144        Timely                   11.600                      11.600
    101145        Timely                   21.500                      21.500
    101146        Timely                   24.900                      24.900
    101147        Timely                   41.500                      41.500
    101148        Timely                   11.600                      11.600
    101149        Timely                   53.600                      53.600
    101150        Timely                  458.500                      458.500
    101151        Timely                   43.000                      43.000
    101152        Timely                   4.000                        4.000
    101153        Timely                   37.500                      37.500
    101154        Timely                   60.400                      60.400
    101155        Timely                   79.000                      79.000
    101156        Timely                   48.800                      48.800
    101157        Timely                   6.000                        6.000
    101158        Timely                   72.700                      72.700
    101159        Timely                  780.000                      780.000
    101160        Timely                   43.000                      43.000
    101161        Timely                   50.000                      50.000
    101162        Timely                   25.300                      25.300
    101163        Timely                   77.000                      77.000
    101164        Timely                   33.600                      33.600
    101165        Timely                   20.600                      20.600
    101166        Timely                   43.500                      43.500
    101167        Timely                   27.200                      27.200
    101168        Timely                  305.000                      305.000
    101169        Timely                   16.600                      16.600
    101170        Timely                   8.000                        8.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101171        Timely                   8.300                        8.300
    101172        Timely                   54.500                      54.500
    101173        Timely                  473.800                      473.800
    101174        Timely                 1,569.800                    1,569.800
    101175        Timely                   28.900                      28.900
    101176        Timely                   0.000                        0.000
    101177        Timely                   0.000                        0.000
    101178        Timely                   15.900                      15.900
    101179        Timely                  131.500                      131.500
    101180        Timely                   3.000                        3.000
    101181        Timely                  223.600                      223.600
    101182        Timely                  330.000                      330.000
    101183        Timely                   46.200                      46.200
    101184        Timely                   73.000                      73.000
    101185        Timely                  134.500                      134.500
    101186        Timely                   0.000                        0.000
    101187        Timely                   0.000                        0.000
    101188        Timely                   8.600                        8.600
    101189        Timely                   4.000                        4.000
    101190        Timely                   17.600                      17.600
    101191        Timely                   70.500                      70.500
    101192        Timely                   40.500                      40.500
    101193        Timely                   21.900                      21.900
    101194        Timely                   78.500                      78.500
    101195        Timely                   41.100                      41.100
    101196        Timely                   26.900                      26.900
    101197        Timely                   0.000                        0.000
    101198        Timely                  367.500                      367.500
    101199        Timely                   9.000                        9.000
    101200        Timely                   13.600                      13.600
    101201        Timely                   8.600                        8.600
    101202        Timely                19,750.000                   19,750.000
    101203        Timely                   20.900                      20.900
    101204        Timely                   56.500                      56.500
    101205        Timely                   37.200                      37.200
    101206        Timely                   17.600                      17.600
    101207        Timely                   41.200                      41.200
    101208        Timely                   21.900                      21.900
    101209        Timely                  318.500                      318.500
    101210        Timely                   38.500                      38.500
    101211        Timely                   0.000                        0.000
    101212        Timely                   14.300                      14.300
    101213        Timely                  408.500                      408.500
    101214        Timely                   12.900                      12.900
    101215        Timely                   12.300                      12.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101216        Timely                   8.600                        8.600
    101217        Timely                   53.000                      53.000
    101218        Timely                  286.000                      286.000
    101219        Timely                   61.500                      61.500
    101220        Timely                   64.000                      64.000
    101221        Timely                   25.000                      25.000
    101222        Timely                  820.500                      820.500
    101223        Timely                   74.500                      74.500
    101224        Timely                   56.500                      56.500
    101225        Timely                   56.500                      56.500
    101226        Timely                   41.500                      41.500
    101227        Timely                   49.100                      49.100
    101228        Timely                   10.300                      10.300
    101229        Timely                   3.000                        3.000
    101230        Timely                   11.600                      11.600
    101231        Timely                   0.000                        0.000
    101232        Timely                   15.600                      15.600
    101233        Timely                  117.600                      117.600
    101234        Timely                   86.700                      86.700
    101235        Timely                   85.700                      85.700
    101236        Timely                   0.000                        0.000
    101237        Timely                   8.600                        8.600
    101238        Timely                   8.600                        8.600
    101239        Timely                   8.600                        8.600
    101240        Timely                   6.000                        6.000
    101241        Timely                  221.000                      221.000
    101242        Timely                   36.000                      36.000
    101243        Timely                   98.600                      98.600
    101244        Timely                   9.000                        9.000
    101245        Timely                   55.800                      55.800
    101246        Timely                   83.000                      83.000
    101247        Timely                 1,097.500                    1,097.500
    101248        Timely                   28.600                      28.600
    101249        Timely                   30.000                      30.000
    101250        Timely                   38.900                      38.900
    101251        Timely                  321.600                      321.600
    101252        Timely                  140.400                      140.400
    101253        Timely                   19.600                      19.600
    101254        Timely                   47.800                      47.800
    101255        Timely                   1.000                        1.000
    101256        Timely                   14.600                      14.600
    101257        Timely                   0.000                        0.000
    101258        Timely                   8.300                        8.300
    101259        Timely                   0.000                        0.000
    101260        Timely                   16.600                      16.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101261        Timely                  475.900                      475.900
    101262        Timely                   51.100                      51.100
    101263        Timely                  744.200                      744.200
    101264        Timely                   70.400                      70.400
    101265        Timely                   5.300                        5.300
    101266        Timely                   8.600                        8.600
    101267        Timely                   24.000                      24.000
    101268        Timely                 1,660.000                    1,660.000
    101269        Timely                 2,420.000                    2,420.000
    101270        Timely                   37.500                      37.500
    101271        Timely                   23.200                      23.200
    101272        Timely                   0.000                        0.000
    101273        Timely                   51.600                      51.600
    101274        Timely                   30.900                      30.900
    101275        Timely                   41.900                      41.900
    101276        Timely                   53.800                      53.800
    101277        Timely                   11.600                      11.600
    101278        Timely                  108.000                      108.000
    101279        Timely                   37.200                      37.200
    101280        Timely                   4.300                        4.300
    101281        Timely                   0.000                        0.000
    101282        Timely                   40.800                      40.800
    101283        Timely                   11.000                      11.000
    101284        Timely                   68.000                      68.000
    101285        Timely                   17.600                      17.600
    101286        Timely                  258.000                      258.000
    101287        Timely                   14.600                      14.600
    101288        Timely                   13.300                      13.300
    101289        Timely                   3.000                        3.000
    101290        Timely                  650.500                      650.500
    101291        Timely                   18.900                      18.900
    101292        Timely                 2,595.000                    2,595.000
    101293        Timely                   21.600                      21.600
    101294        Timely                   0.000                        0.000
    101295        Timely                   40.000                      40.000
    101296        Timely                   60.000                      60.000
    101297        Timely                   83.000                      83.000
    101298        Timely                   0.000                        0.000
    101299        Timely                   0.000                        0.000
    101300        Timely                   24.600                      24.600
    101301        Timely                  124.600                      124.600
    101302        Timely                   88.000                      88.000
    101303        Timely                  339.000                      339.000
    101304        Timely                   33.900                      33.900
    101305        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101306        Timely                   5.000                        5.000
    101307        Timely                   20.600                      20.600
    101308        Timely                   26.900                      26.900
    101309        Timely                   0.000                        0.000
    101310        Timely                   60.400                      60.400
    101311        Timely                  226.400                      226.400
    101312        Timely                   38.600                      38.600
    101313        Timely                  200.600                      200.600
    101314        Timely                  583.200                      583.200
    101315        Timely                  389.000                      389.000
    101316        Timely                   26.600                      26.600
    101317        Timely                   15.900                      15.900
    101318        Timely                   48.500                      48.500
    101319        Timely                  160.000                      160.000
    101320        Timely                  142.600                      142.600
    101321        Timely                 1,365.000                    1,365.000
    101322        Timely                   0.000                        0.000
    101323        Timely                   17.900                      17.900
    101324        Timely                   32.800                      32.800
    101325        Timely                   7.000                        7.000
    101326        Timely                  335.500                      335.500
    101327        Timely                   0.000                        0.000
    101328        Timely                   45.800                      45.800
    101329        Timely                  146.000                      146.000
    101330        Timely                  182.500                      182.500
    101331        Timely                  182.500                      182.500
    101332        Timely                  137.600                      137.600
    101333        Timely                   22.300                      22.300
    101334        Timely                   12.300                      12.300
    101335        Timely                   5.300                        5.300
    101336        Timely                  104.200                      104.200
    101337        Timely                   43.600                      43.600
    101338        Timely                   0.000                        0.000
    101339        Timely                   8.300                        8.300
    101340        Timely                   0.000                        0.000
    101341        Timely                  208.000                      208.000
    101342        Timely                   72.000                      72.000
    101343        Timely                   13.600                      13.600
    101344        Timely                   15.300                      15.300
    101345        Timely                 5,285.000                    5,285.000
    101346        Timely                   6.000                        6.000
    101347        Timely                  840.000                      840.000
    101348        Timely                   38.900                      38.900
    101349        Timely                   78.000                      78.000
    101350        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101351        Timely                   12.000                      12.000
    101352        Timely                   3.000                        3.000
    101353        Timely                  163.000                      163.000
    101354        Timely                   64.000                      64.000
    101355        Timely                   0.000                        0.000
    101356        Timely                   0.000                        0.000
    101357        Timely                   9.000                        9.000
    101358        Timely                   0.000                        0.000
    101359        Timely                   43.200                      43.200
    101360        Timely                   96.600                      96.600
    101361        Timely                   0.000                        0.000
    101362        Timely                   0.000                        0.000
    101363        Timely                  120.000                      120.000
    101364        Timely                   11.000                      11.000
    101365        Timely                  137.000                      137.000
    101366        Timely                   32.600                      32.600
    101367        Timely                   33.900                      33.900
    101368        Timely                  191.500                      191.500
    101369        Timely                  174.500                      174.500
    101370        Timely                   30.600                      30.600
    101371        Timely                   49.200                      49.200
    101372        Timely                   2.000                        2.000
    101373        Timely                   8.300                        8.300
    101374        Timely                   0.000                        0.000
    101375        Timely                   88.300                      88.300
    101376        Timely                   8.300                        8.300
    101377        Timely                   43.800                      43.800
    101378        Timely                   85.600                      85.600
    101379        Timely                   8.600                        8.600
    101380        Timely                   13.600                      13.600
    101381        Timely                   23.900                      23.900
    101382        Timely                  205.500                      205.500
    101383        Timely                   40.200                      40.200
    101384        Timely                   20.600                      20.600
    101385        Timely                   0.000                        0.000
    101386        Timely                   69.600                      69.600
    101387        Timely                   11.300                      11.300
    101388        Timely                   0.000                        0.000
    101389        Timely                  285.000                      285.000
    101390        Timely                   0.000                        0.000
    101391        Timely                  314.500                      314.500
    101392        Timely                   23.900                      23.900
    101393        Timely                   12.000                      12.000
    101394        Timely                   20.900                      20.900
    101395        Timely                   34.600                      34.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101396        Timely                   44.600                      44.600
    101397        Timely                  132.500                      132.500
    101398        Timely                   9.600                        9.600
    101399        Timely                   6.000                        6.000
    101400        Timely                  101.500                      101.500
    101401        Timely                   40.800                      40.800
    101402        Timely                   29.200                      29.200
    101403        Timely                 4,500.000                    4,500.000
    101404        Timely                   4.000                        4.000
    101405        Timely                   21.000                      21.000
    101406        Timely                  330.300                      330.300
    101407        Timely                  424.600                      424.600
    101408        Timely                  345.500                      345.500
    101409        Timely                  338.600                      338.600
    101410        Timely                   89.000                      89.000
    101411        Timely                  412.000                      412.000
    101412        Timely                   47.700                      47.700
    101413        Timely                  131.400                      131.400
    101414        Timely                   24.900                      24.900
    101415        Timely                   28.900                      28.900
    101416        Timely                   37.800                      37.800
    101417        Timely                   44.100                      44.100
    101418        Timely                   63.700                      63.700
    101419        Timely                   77.600                      77.600
    101420        Timely                   84.900                      84.900
    101421        Timely                   7.300                        7.300
    101422        Timely                   0.000                        0.000
    101423        Timely                   83.000                      83.000
    101424        Timely                   29.900                      29.900
    101425        Timely                   8.000                        8.000
    101426        Timely                  687.000                      687.000
    101427        Timely                   41.500                      41.500
    101428        Timely                   19.300                      19.300
    101429        Timely                   0.000                        0.000
    101430        Timely                   34.500                      34.500
    101431        Timely                   0.000                        0.000
    101432        Timely                   6.000                        6.000
    101433        Timely                   69.600                      69.600
    101434        Timely                   11.300                      11.300
    101435        Timely                   28.600                      28.600
    101436        Timely                   60.000                      60.000
    101437        Timely                   31.200                      31.200
    101438        Timely                  203.000                      203.000
    101439        Timely                   43.200                      43.200
    101440        Timely                   4.300                        4.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101441        Timely                   36.200                      36.200
    101442        Timely                   28.900                      28.900
    101443        Timely                   24.000                      24.000
    101444        Timely                  259.600                      259.600
    101445        Timely                 1,126.000                    1,126.000
    101446        Timely                   40.000                      40.000
    101447        Timely                   12.300                      12.300
    101448        Timely                   61.000                      61.000
    101449        Timely                   67.600                      67.600
    101450        Timely                   36.500                      36.500
    101451        Timely                  183.800                      183.800
    101452        Timely                   8.000                        8.000
    101453        Timely                  170.500                      170.500
    101454        Timely                  122.600                      122.600
    101455        Timely                   43.900                      43.900
    101456        Timely                   30.000                      30.000
    101457        Timely                   21.600                      21.600
    101458        Timely                  350.800                      350.800
    101459        Timely                  234.000                      234.000
    101460        Timely                   14.600                      14.600
    101461        Timely                   32.200                      32.200
    101462        Timely                  218.000                      218.000
    101463        Timely                  322.900                      322.900
    101464        Timely                   55.900                      55.900
    101465        Timely                  231.200                      231.200
    101466        Timely                  335.000                      335.000
    101467        Timely                  233.000                      233.000
    101468        Timely                  127.600                      127.600
    101469        Timely                   21.900                      21.900
    101470        Timely                   12.900                      12.900
    101471        Timely                   43.000                      43.000
    101472        Timely                  165.600                      165.600
    101473        Timely                   8.300                        8.300
    101474        Timely                   8.300                        8.300
    101475        Timely                   8.600                        8.600
    101476        Timely                   0.000                        0.000
    101477        Timely                 7,380.000                    7,380.000
    101478        Timely                   18.000                      18.000
    101479        Timely                   12.600                      12.600
    101480        Timely                   22.600                      22.600
    101481        Timely                   37.800                      37.800
    101482        Timely                   0.000                        0.000
    101483        Timely                   0.000                        0.000
    101484        Timely                   20.600                      20.600
    101485        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101486        Timely                   4.000                        4.000
    101487        Timely                 3,969.000                    3,969.000
    101488        Timely                 4,233.300                    4,233.300
    101489        Timely                   68.500                      68.500
    101490        Timely                   18.000                      18.000
    101491        Timely                   12.900                      12.900
    101492        Timely                  244.800                      244.800
    101493        Timely                   65.300                      65.300
    101494        Timely                  236.000                      236.000
    101495        Timely                  216.600                      216.600
    101496        Timely                   21.900                      21.900
    101497        Timely                  203.600                      203.600
    101498        Timely                   4.300                        4.300
    101499        Timely                  226.800                      226.800
    101500        Timely                  226.800                      226.800
    101501        Timely                  247.000                      247.000
    101502        Timely                   41.400                      41.400
    101503        Timely                   25.500                      25.500
    101504        Timely                   25.000                      25.000
    101505        Timely                   99.500                      99.500
    101506        Timely                   15.000                      15.000
    101507        Timely                   26.900                      26.900
    101508        Timely                   1.000                        1.000
    101509        Timely                   11.000                      11.000
    101510        Timely                   14.600                      14.600
    101511        Timely                   8.600                        8.600
    101512        Timely                   16.900                      16.900
    101513        Timely                   89.400                      89.400
    101514        Timely                   11.600                      11.600
    101515        Timely                   15.600                      15.600
    101516        Timely                  223.600                      223.600
    101517        Timely                   17.600                      17.600
    101518        Timely                   14.600                      14.600
    101519        Timely                   10.300                      10.300
    101520        Timely                  120.700                      120.700
    101521        Timely                 2,700.000                    2,700.000
    101522        Timely                   28.800                      28.800
    101523        Timely                   39.500                      39.500
    101524        Timely                  412.400                      412.400
    101525        Timely                   8.000                        8.000
    101526        Timely                   15.300                      15.300
    101527        Timely                   10.600                      10.600
    101528        Timely                  113.000                      113.000
    101529        Timely                   18.900                      18.900
    101530        Timely                   14.000                      14.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101531        Timely                   26.500                      26.500
    101532        Timely                   37.600                      37.600
    101533        Timely                  385.600                      385.600
    101534        Timely                  379.600                      379.600
    101535        Timely                   53.200                      53.200
    101536        Timely                   50.500                      50.500
    101537        Timely                   13.000                      13.000
    101538        Timely                   13.000                      13.000
    101539        Timely                   12.300                      12.300
    101540        Timely                   89.900                      89.900
    101541        Timely                   12.600                      12.600
    101542        Timely                   17.600                      17.600
    101543        Timely                  159.500                      159.500
    101544        Timely                  385.600                      385.600
    101545        Timely                   8.300                        8.300
    101546        Timely                   31.200                      31.200
    101547        Timely                   0.000                        0.000
    101548        Timely                   24.600                      24.600
    101549        Timely                   0.000                        0.000
    101550        Timely                   62.800                      62.800
    101551        Timely                   0.000                        0.000
    101552        Timely                   44.100                      44.100
    101553        Timely                   11.300                      11.300
    101554        Timely                  150.500                      150.500
    101555        Timely                   32.200                      32.200
    101556        Timely                78,762.000                   78,762.000
    101557        Timely                   0.000                        0.000
    101558        Timely                  306.500                      306.500
    101559        Timely                  385.600                      385.600
    101560        Timely                   7.000                        7.000
    101561        Timely                   26.000                      26.000
    101562        Timely                   12.300                      12.300
    101563        Timely                   21.600                      21.600
    101564        Timely                   7.300                        7.300
    101565        Timely                  424.600                      424.600
    101566        Timely                   14.600                      14.600
    101567        Timely                 5,050.000                    5,050.000
    101568        Timely                   65.200                      65.200
    101569        Timely                   55.800                      55.800
    101570        Timely                   14.600                      14.600
    101571        Timely                   0.000                        0.000
    101572        Timely                   43.000                      43.000
    101573        Timely                   63.000                      63.000
    101574        Timely                   63.000                      63.000
    101575        Timely                   14.600                      14.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101576        Timely                   16.600                      16.600
    101577        Timely                   77.400                      77.400
    101578        Timely                   14.300                      14.300
    101579        Timely                   0.000                        0.000
    101580        Timely                   17.600                      17.600
    101581        Timely                   43.500                      43.500
    101582        Timely                   13.600                      13.600
    101583        Timely                  128.000                      128.000
    101584        Timely                   61.800                      61.800
    101585        Timely                   0.000                        0.000
    101586        Timely                   63.000                      63.000
    101587        Timely                   31.200                      31.200
    101588        Timely                  480.000                      480.000
    101589        Timely                   39.500                      39.500
    101590        Timely                   12.600                      12.600
    101591        Timely                27,400.000                   27,400.000
    101592        Timely                   25.200                      25.200
    101593        Timely                   37.200                      37.200
    101594        Timely              64,626,610.700               64,626,610.700
    101595        Timely                  317.000                      317.000
    101596        Timely                   15.600                      15.600
    101597        Timely                  206.000                      206.000
    101598        Timely                   0.000                        0.000
    101599        Timely                   34.900                      34.900
    101600        Timely                 1,060.500                    1,060.500
    101601        Timely                 3,424.600                    3,424.600
    101602        Timely                  288.000                      288.000
    101603        Timely                  123.000                      123.000
    101604        Timely                   24.000                      24.000
    101605        Timely                   88.900                      88.900
    101606        Timely                   15.300                      15.300
    101607        Timely                   12.300                      12.300
    101608        Timely                   14.600                      14.600
    101609        Timely                   0.000                        0.000
    101610        Timely                  186.000                      186.000
    101611        Timely                   36.300                      36.300
    101612        Timely                   29.200                      29.200
    101613        Timely                  150.300                      150.300
    101614        Timely                  398.600                      398.600
    101615        Timely                 2,055.400                    2,055.400
    101616        Timely                 4,787.000                    4,787.000
    101617        Timely                  106.600                      106.600
    101618        Timely                  181.000                      181.000
    101619        Timely                  109.500                      109.500
    101620        Timely                  365.000                      365.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101621        Timely                   30.500                      30.500
    101622        Timely                   22.900                      22.900
    101623        Timely                   80.500                      80.500
    101624        Timely                   9.000                        9.000
    101625        Timely                   70.500                      70.500
    101626        Timely                   15.300                      15.300
    101627        Timely                   55.400                      55.400
    101628        Timely                   4.000                        4.000
    101629        Timely                   36.200                      36.200
    101630        Timely                   0.000                        0.000
    101631        Timely                   0.000                        0.000
    101632        Timely                   60.000                      60.000
    101633        Timely                   42.600                      42.600
    101634        Timely                  311.600                      311.600
    101635        Timely                  127.100                      127.100
    101636        Timely                   42.100                      42.100
    101637        Timely                   75.600                      75.600
    101638        Timely                   59.300                      59.300
    101639        Timely                  222.500                      222.500
    101640        Timely                   10.000                      10.000
    101641        Timely                   51.200                      51.200
    101642        Timely                   7.000                        7.000
    101643        Timely                   34.600                      34.600
    101644        Timely                  263.500                      263.500
    101645        Timely                   33.900                      33.900
    101646        Timely                  122.800                      122.800
    101647        Timely                   60.000                      60.000
    101648        Timely                   22.900                      22.900
    101649        Timely                  172.500                      172.500
    101650        Timely                  225.800                      225.800
    101651        Timely                  225.700                      225.700
    101652        Timely                   0.000                        0.000
    101653        Timely                   48.000                      48.000
    101654        Timely                   64.900                      64.900
    101655        Timely                   51.200                      51.200
    101656        Timely                   26.200                      26.200
    101657        Timely                   86.500                      86.500
    101658        Timely                   63.000                      63.000
    101659        Timely                  213.600                      213.600
    101660        Timely                  345.500                      345.500
    101661        Timely                  113.100                      113.100
    101662        Timely                   3.000                        3.000
    101663        Timely                  293.500                      293.500
    101664        Timely                   9.000                        9.000
    101665        Timely                   13.600                      13.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101666        Timely                  207.600                      207.600
    101667        Timely                   24.900                      24.900
    101668        Timely                  297.000                      297.000
    101669        Timely                   23.600                      23.600
    101670        Timely                   2.000                        2.000
    101671        Timely                  172.000                      172.000
    101672        Timely                   12.900                      12.900
    101673        Timely                 1,357.600                    1,357.600
    101674        Timely                   12.900                      12.900
    101675        Timely                  331.500                      331.500
    101676        Timely                   16.000                      16.000
    101677        Timely                   48.600                      48.600
    101678        Timely                 2,470.000                    2,470.000
    101679        Timely                   15.000                      15.000
    101680        Timely                   18.900                      18.900
    101681        Timely                   98.200                      98.200
    101682        Timely                   16.000                      16.000
    101683        Timely                  126.800                      126.800
    101684        Timely                  379.000                      379.000
    101685        Timely                   39.900                      39.900
    101686        Timely                   29.200                      29.200
    101687        Timely                   19.900                      19.900
    101688        Timely                  166.000                      166.000
    101689        Timely                   12.300                      12.300
    101690        Timely                   11.300                      11.300
    101691        Timely                   22.600                      22.600
    101692        Timely                   8.000                        8.000
    101693        Timely                   62.800                      62.800
    101694        Timely                   6.300                        6.300
    101695        Timely                  310.200                      310.200
    101696        Timely                   20.000                      20.000
    101697        Timely                  202.000                      202.000
    101698        Timely                   78.800                      78.800
    101699        Timely                  113.200                      113.200
    101700        Timely                   14.600                      14.600
    101701        Timely                   16.600                      16.600
    101702        Timely                  113.000                      113.000
    101703        Timely                   0.000                        0.000
    101704        Timely                  230.500                      230.500
    101705        Timely                  156.000                      156.000
    101706        Timely                   12.600                      12.600
    101707        Timely                   54.500                      54.500
    101708        Timely                   8.600                        8.600
    101709        Timely                   67.600                      67.600
    101710        Timely                   51.500                      51.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101711        Timely                  279.500                      279.500
    101712        Timely                 7,512.500                    7,512.500
    101713        Timely                  168.100                      168.100
    101714        Timely                   6.000                        6.000
    101715        Timely                   0.000                        0.000
    101716        Timely                   13.300                      13.300
    101717        Timely                   15.000                      15.000
    101718        Timely                  133.100                      133.100
    101719        Timely                  133.100                      133.100
    101720        Timely                   41.900                      41.900
    101721        Timely                  131.600                      131.600
    101722        Timely                   63.400                      63.400
    101723        Timely                  495.600                      495.600
    101724        Timely                   31.500                      31.500
    101725        Timely                   22.200                      22.200
    101726        Timely                   21.900                      21.900
    101727        Timely                   4.000                        4.000
    101728        Timely                   57.000                      57.000
    101729        Timely                   66.000                      66.000
    101730        Timely                   54.300                      54.300
    101731        Timely                   25.200                      25.200
    101732        Timely                  261.000                      261.000
    101733        Timely                   18.900                      18.900
    101734        Timely                  261.000                      261.000
    101735        Timely                   18.300                      18.300
    101736        Timely                   6.300                        6.300
    101737        Timely                   95.900                      95.900
    101738        Timely                   0.000                        0.000
    101739        Timely                   27.900                      27.900
    101740        Timely                   30.000                      30.000
    101741        Timely                   16.600                      16.600
    101742        Timely                  378.400                      378.400
    101743        Timely                   17.600                      17.600
    101744        Timely                   14.600                      14.600
    101745        Timely                   30.100                      30.100
    101746        Timely                   28.600                      28.600
    101747        Timely                   7.300                        7.300
    101748        Timely                  477.500                      477.500
    101749        Timely                   67.500                      67.500
    101750        Timely                  188.000                      188.000
    101751        Timely                   6.000                        6.000
    101752        Timely                  327.500                      327.500
    101753        Timely                   26.900                      26.900
    101754        Timely                   19.300                      19.300
    101755        Timely                  461.200                      461.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101756        Timely                   0.000                        0.000
    101757        Timely                   27.000                      27.000
    101758        Timely                   37.500                      37.500
    101759        Timely                   10.000                      10.000
    101760        Timely                   34.300                      34.300
    101761        Timely                  156.000                      156.000
    101762        Timely                   21.900                      21.900
    101763        Timely                   13.300                      13.300
    101764        Timely                  154.800                      154.800
    101765        Timely                  109.600                      109.600
    101766        Timely                   18.000                      18.000
    101767        Timely                   22.200                      22.200
    101768        Timely                   0.000                        0.000
    101769        Timely                   14.000                      14.000
    101770        Timely                   9.000                        9.000
    101771        Timely                   7.300                        7.300
    101772        Timely                   17.600                      17.600
    101773        Timely                   31.200                      31.200
    101774        Timely                   41.600                      41.600
    101775        Timely                   2.000                        2.000
    101776        Timely                   11.000                      11.000
    101777        Timely                   11.000                      11.000
    101778        Timely                  133.500                      133.500
    101779        Timely                   14.600                      14.600
    101780        Timely                   34.800                      34.800
    101781        Timely                   23.900                      23.900
    101782        Timely                   14.600                      14.600
    101783        Timely                   21.900                      21.900
    101784        Timely                   73.000                      73.000
    101785        Timely                   14.600                      14.600
    101786        Timely                   8.300                        8.300
    101787        Timely                   9.300                        9.300
    101788        Timely                   16.600                      16.600
    101789        Timely                   45.000                      45.000
    101790        Timely                   55.000                      55.000
    101791        Timely                   21.900                      21.900
    101792        Timely                   0.000                        0.000
    101793        Timely                   61.500                      61.500
    101794        Timely                 9,397.400                    9,397.400
    101795        Timely                  664.000                      664.000
    101796        Timely                   5.300                        5.300
    101797        Timely                   1.000                        1.000
    101798        Timely                  121.000                      121.000
    101799        Timely                   38.600                      38.600
    101800        Timely                   50.900                      50.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101801        Timely                   41.900                      41.900
    101802        Timely                   15.900                      15.900
    101803        Timely                   40.800                      40.800
    101804        Timely                   45.500                      45.500
    101805        Timely                   24.900                      24.900
    101806        Timely                   21.900                      21.900
    101807        Timely                  104.900                      104.900
    101808        Timely                   41.500                      41.500
    101809        Timely                   0.000                        0.000
    101810        Timely                   8.300                        8.300
    101811        Timely                   15.300                      15.300
    101812        Timely                   11.300                      11.300
    101813        Timely                   8.300                        8.300
    101814        Timely                   15.000                      15.000
    101815        Timely                   2.000                        2.000
    101816        Timely                   28.300                      28.300
    101817        Timely                   43.200                      43.200
    101818        Timely                   21.200                      21.200
    101819        Timely                   0.000                        0.000
    101820        Timely                   14.300                      14.300
    101821        Timely                   11.300                      11.300
    101822        Timely                   75.000                      75.000
    101823        Timely                   10.300                      10.300
    101824        Timely                   20.900                      20.900
    101825        Timely                   8.300                        8.300
    101826        Timely                   31.500                      31.500
    101827        Timely                  723.200                      723.200
    101828        Timely                   31.600                      31.600
    101829        Timely                   29.200                      29.200
    101830        Timely                   86.000                      86.000
    101831        Timely                  236.500                      236.500
    101832        Timely                   9.000                        9.000
    101833        Timely                  136.600                      136.600
    101834        Timely                  135.400                      135.400
    101835        Timely                   39.100                      39.100
    101836        Timely                   50.200                      50.200
    101837        Timely                   48.600                      48.600
    101838        Timely                   11.000                      11.000
    101839        Timely                   26.200                      26.200
    101840        Timely                   3.000                        3.000
    101841        Timely                 1,404.000                    1,404.000
    101842        Timely                   39.900                      39.900
    101843        Timely                   40.200                      40.200
    101844        Timely                  100.000                      100.000
    101845        Timely                  116.000                      116.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101846        Timely                   12.300                      12.300
    101847        Timely                   4.000                        4.000
    101848        Timely                   12.000                      12.000
    101849        Timely                   24.900                      24.900
    101850        Timely                   63.700                      63.700
    101851        Timely                   0.000                        0.000
    101852        Timely                   22.900                      22.900
    101853        Timely                   40.800                      40.800
    101854        Timely                   76.400                      76.400
    101855        Timely                   41.500                      41.500
    101856        Timely                   16.600                      16.600
    101857        Timely                  494.600                      494.600
    101858        Timely                   0.000                        0.000
    101859        Timely                   15.900                      15.900
    101860        Timely                  172.000                      172.000
    101861        Timely                   41.500                      41.500
    101862        Timely                   22.600                      22.600
    101863        Timely                   26.600                      26.600
    101864        Timely                  166.500                      166.500
    101865        Timely                   0.000                        0.000
    101866        Timely                   26.200                      26.200
    101867        Timely                   26.900                      26.900
    101868        Timely                   0.000                        0.000
    101869        Timely                  921.400                      921.400
    101870        Timely                 1,097.000                    1,097.000
    101871        Timely                   4.000                        4.000
    101872        Timely                   8.300                        8.300
    101873        Timely                  243.600                      243.600
    101874        Timely                   30.600                      30.600
    101875        Timely                   5.000                        5.000
    101876        Timely                   18.600                      18.600
    101877        Timely                   65.800                      65.800
    101878        Timely                   25.900                      25.900
    101879        Timely                 1,385.000                    1,385.000
    101880        Timely                   8.300                        8.300
    101881        Timely                   27.900                      27.900
    101882        Timely                   49.200                      49.200
    101883        Timely                   53.800                      53.800
    101884        Timely                   19.600                      19.600
    101885        Timely                  225.600                      225.600
    101886        Timely                   7.300                        7.300
    101887        Timely                   21.500                      21.500
    101888        Timely                   24.000                      24.000
    101889        Timely                  107.500                      107.500
    101890        Timely               113,000.000                  113,000.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101891        Timely                   27.900                      27.900
    101892        Timely                 1,236.000                    1,236.000
    101893        Timely                   52.200                      52.200
    101894        Timely                   33.900                      33.900
    101895        Timely                   45.800                      45.800
    101896        Timely                   24.900                      24.900
    101897        Timely                   53.500                      53.500
    101898        Timely                  234.400                      234.400
    101899        Timely                   13.600                      13.600
    101900        Timely                   83.100                      83.100
    101901        Timely                   0.000                        0.000
    101902        Timely                   46.200                      46.200
    101903        Timely                   61.500                      61.500
    101904        Timely                   0.000                        0.000
    101905        Timely                   0.000                        0.000
    101906        Timely                   67.000                      67.000
    101907        Timely                   0.000                        0.000
    101908        Timely                  145.400                      145.400
    101909        Timely                   11.600                      11.600
    101910        Timely                   12.300                      12.300
    101911        Timely                   27.900                      27.900
    101912        Timely                  578.600                      578.600
    101913        Timely                   32.000                      32.000
    101914        Timely                 3,000.000                    3,000.000
    101915        Timely                   39.100                      39.100
    101916        Timely                  162.000                      162.000
    101917        Timely                  185.400                      185.400
    101918        Timely                14,450.000                   14,450.000
    101919        Timely                 9,930.000                    9,930.000
    101920        Timely                   28.500                      28.500
    101921        Timely                   4.000                        4.000
    101922        Timely                   0.000                        0.000
    101923        Timely                   22.600                      22.600
    101924        Timely                   17.300                      17.300
    101925        Timely                   34.000                      34.000
    101926        Timely                   6.300                        6.300
    101927        Timely                  319.000                      319.000
    101928        Timely                   8.300                        8.300
    101929        Timely                   39.800                      39.800
    101930        Timely                   14.300                      14.300
    101931        Timely                   21.500                      21.500
    101932        Timely                   28.200                      28.200
    101933        Timely                   6.300                        6.300
    101934        Timely                   8.600                        8.600
    101935        Timely                   27.900                      27.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101936        Timely                   0.000                        0.000
    101937        Timely                  134.800                      134.800
    101938        Timely                   0.000                        0.000
    101939        Timely                  150.000                      150.000
    101940        Timely                   58.000                      58.000
    101941        Timely                   18.000                      18.000
    101942        Timely                   41.500                      41.500
    101943        Timely                   30.500                      30.500
    101944        Timely                   15.900                      15.900
    101945        Timely                   45.900                      45.900
    101946        Timely                   30.500                      30.500
    101947        Timely                   31.200                      31.200
    101948        Timely                   12.000                      12.000
    101949        Timely                   53.500                      53.500
    101950        Timely                  618.700                      618.700
    101951        Timely                   17.300                      17.300
    101952        Timely                   0.000                        0.000
    101953        Timely                   0.000                        0.000
    101954        Timely                   28.900                      28.900
    101955        Timely                   27.900                      27.900
    101956        Timely                  127.200                      127.200
    101957        Timely                  103.600                      103.600
    101958        Timely                  165.300                      165.300
    101959        Timely                   10.300                      10.300
    101960        Timely                   8.600                        8.600
    101961        Timely                   4.000                        4.000
    101962        Timely                   35.500                      35.500
    101963        Timely                  169.400                      169.400
    101964        Timely                  604.000                      604.000
    101965        Timely                   10.300                      10.300
    101966        Timely                   45.500                      45.500
    101967        Timely                  572.000                      572.000
    101968        Timely                   13.600                      13.600
    101969        Timely                   20.900                      20.900
    101970        Timely                   8.300                        8.300
    101971        Timely                   0.000                        0.000
    101972        Timely                  148.400                      148.400
    101973        Timely                   89.600                      89.600
    101974        Timely                   11.000                      11.000
    101975        Timely                  217.500                      217.500
    101976        Timely                   20.600                      20.600
    101977        Timely                   7.300                        7.300
    101978        Timely                   30.900                      30.900
    101979        Timely                   0.000                        0.000
    101980        Timely                  139.000                      139.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    101981        Timely                  182.100                      182.100
    101982        Timely                   30.000                      30.000
    101983        Timely                   9.000                        9.000
    101984        Timely                   4.300                        4.300
    101985        Timely                   15.300                      15.300
    101986        Timely                   15.300                      15.300
    101987        Timely                   23.600                      23.600
    101988        Timely                   4.300                        4.300
    101989        Timely                   0.000                        0.000
    101990        Timely                   19.900                      19.900
    101991        Timely                   18.900                      18.900
    101992        Timely                  136.000                      136.000
    101993        Timely                  139.500                      139.500
    101994        Timely                   55.500                      55.500
    101995        Timely                 2,798.800                    2,798.800
    101996        Timely                   56.500                      56.500
    101997        Timely                   0.000                        0.000
    101998        Timely                  452.000                      452.000
    101999        Timely                   29.200                      29.200
    102000        Timely                   27.900                      27.900
    102001        Timely                   67.800                      67.800
    102002        Timely                   41.900                      41.900
    102003        Timely                   15.600                      15.600
    102004        Timely                   8.300                        8.300
    102005        Timely                   0.000                        0.000
    102006        Timely                   27.900                      27.900
    102007        Timely                   14.300                      14.300
    102008        Timely                  475.000                      475.000
    102009        Timely                   32.900                      32.900
    102010        Timely                   67.800                      67.800
    102011        Timely                   14.600                      14.600
    102012        Timely                   4.000                        4.000
    102013        Timely                   58.000                      58.000
    102014        Timely                 3,750.000                    3,750.000
    102015        Timely                   31.200                      31.200
    102016        Timely                   4.000                        4.000
    102017        Timely                   49.200                      49.200
    102018        Timely                   84.000                      84.000
    102019        Timely                   41.500                      41.500
    102020        Timely                   14.300                      14.300
    102021        Timely                   8.600                        8.600
    102022        Timely                   5.000                        5.000
    102023        Timely                  366.200                      366.200
    102024        Timely                   12.900                      12.900
    102025        Timely                   36.000                      36.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102026        Timely                   44.200                      44.200
    102027        Timely                  137.600                      137.600
    102028        Timely                  165.000                      165.000
    102029        Timely                   21.300                      21.300
    102030        Timely                  137.600                      137.600
    102031        Timely                   15.300                      15.300
    102032        Timely                   96.500                      96.500
    102033        Timely                   13.300                      13.300
    102034        Timely                   30.000                      30.000
    102035        Timely                 2,458.000                    2,458.000
    102036        Timely                   7.300                        7.300
    102037        Timely                 1,786.000                    1,786.000
    102038        Timely                   39.500                      39.500
    102039        Timely                   41.500                      41.500
    102040        Timely                 2,882.500                    2,882.500
    102041        Timely                   14.300                      14.300
    102042        Timely                   30.500                      30.500
    102043        Timely                  407.000                      407.000
    102044        Timely                   69.800                      69.800
    102045        Timely                   7.300                        7.300
    102046        Timely                   24.900                      24.900
    102047        Timely                   7.300                        7.300
    102048        Timely                  104.800                      104.800
    102049        Timely                   11.300                      11.300
    102050        Timely                   8.600                        8.600
    102051        Timely                   11.300                      11.300
    102052        Timely                   5.300                        5.300
    102053        Timely                   18.900                      18.900
    102054        Timely                   22.600                      22.600
    102055        Timely                   29.200                      29.200
    102056        Timely                   13.600                      13.600
    102057        Timely                   17.900                      17.900
    102058        Timely                 3,998.700                    3,998.700
    102059        Timely                   55.900                      55.900
    102060        Timely                   73.000                      73.000
    102061        Timely                62,650.000                   62,650.000
    102062        Timely               124,300.000                  124,300.000
    102063        Timely                   64.100                      64.100
    102064        Timely                   35.500                      35.500
    102065        Timely                   85.000                      85.000
    102066        Timely                   19.600                      19.600
    102067        Timely                  308.500                      308.500
    102068        Timely                   12.300                      12.300
    102069        Timely                  435.000                      435.000
    102070        Timely                  531.000                      531.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102071        Timely                   19.600                      19.600
    102072        Timely                   63.600                      63.600
    102073        Timely                   9.000                        9.000
    102074        Timely                 2,980.000                    2,980.000
    102075        Timely                  221.000                      221.000
    102076        Timely                   14.600                      14.600
    102077        Timely                   5.300                        5.300
    102078        Timely                   7.000                        7.000
    102079        Timely                   0.000                        0.000
    102080        Timely                   0.000                        0.000
    102081        Timely                   44.800                      44.800
    102082        Timely                  211.500                      211.500
    102083        Timely                   0.000                        0.000
    102084        Timely                   52.600                      52.600
    102085        Timely                  635.000                      635.000
    102086        Timely                   36.200                      36.200
    102087        Timely                   24.900                      24.900
    102088        Timely                 7,500.000                    7,500.000
    102089        Timely                   8.600                        8.600
    102090        Timely                   11.600                      11.600
    102091        Timely                  141.000                      141.000
    102092        Timely                   67.200                      67.200
    102093        Timely                   8.300                        8.300
    102094        Timely                   27.900                      27.900
    102095        Timely                   0.000                        0.000
    102096        Timely                 2,530.000                    2,530.000
    102097        Timely                   47.200                      47.200
    102098        Timely                  244.600                      244.600
    102099        Timely                  143.000                      143.000
    102100        Timely                  254.200                      254.200
    102101        Timely                   25.600                      25.600
    102102        Timely                   8.600                        8.600
    102103        Timely                   0.000                        0.000
    102104        Timely                   58.100                      58.100
    102105        Timely                13,108.800                   13,108.800
    102106        Timely                  305.200                      305.200
    102107        Timely                  154.600                      154.600
    102108        Timely                  424.400                      424.400
    102109        Timely                   15.000                      15.000
    102110        Timely                  297.700                      297.700
    102111        Timely                   14.000                      14.000
    102112        Timely                   49.800                      49.800
    102113        Timely                  293.500                      293.500
    102114        Timely                  377.600                      377.600
    102115        Timely                   22.600                      22.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102116        Timely                   9.300                        9.300
    102117        Timely                   0.000                        0.000
    102118        Timely                 1,295.000                    1,295.000
    102119        Timely                   8.600                        8.600
    102120        Timely                   34.900                      34.900
    102121        Timely                  339.300                      339.300
    102122        Timely                 4,922.300                    4,922.300
    102123        Timely                   61.000                      61.000
    102124        Timely                   42.400                      42.400
    102125        Timely                   14.300                      14.300
    102126        Timely                   12.900                      12.900
    102127        Timely                   40.200                      40.200
    102128        Timely                   0.000                        0.000
    102129        Timely                   47.200                      47.200
    102130        Timely                   9.000                        9.000
    102131        Timely                   32.500                      32.500
    102132        Timely                   32.000                      32.000
    102133        Timely                   7.300                        7.300
    102134        Timely                   41.500                      41.500
    102135        Timely                   7.300                        7.300
    102136        Timely                   77.400                      77.400
    102137        Timely                   80.300                      80.300
    102138        Timely                   0.000                        0.000
    102139        Timely                   0.000                        0.000
    102140        Timely                   0.000                        0.000
    102141        Timely                   49.800                      49.800
    102142        Timely                   11.600                      11.600
    102143        Timely                   21.500                      21.500
    102144        Timely                  900.000                      900.000
    102145        Timely                   6.000                        6.000
    102146        Timely                  166.900                      166.900
    102147        Timely                   11.600                      11.600
    102148        Timely                  290.000                      290.000
    102149        Timely                   41.500                      41.500
    102150        Timely                   1.000                        1.000
    102151        Timely                   18.900                      18.900
    102152        Timely                 2,305.700                    2,305.700
    102153        Timely                   31.200                      31.200
    102154        Timely                   94.800                      94.800
    102155        Timely                   18.000                      18.000
    102156        Timely                   26.200                      26.200
    102157        Timely                  720.000                      720.000
    102158        Timely                   95.500                      95.500
    102159        Timely                   8.300                        8.300
    102160        Timely                   41.500                      41.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102161        Timely                 2,287.700                    2,287.700
    102162        Timely                   35.100                      35.100
    102163        Timely                   1.000                        1.000
    102164        Timely                   53.500                      53.500
    102165        Timely                   16.600                      16.600
    102166        Timely                   8.000                        8.000
    102167        Timely                   41.900                      41.900
    102168        Timely                   61.100                      61.100
    102169        Timely                   14.600                      14.600
    102170        Timely                   5.300                        5.300
    102171        Timely                   9.300                        9.300
    102172        Timely                  210.000                      210.000
    102173        Timely                   20.000                      20.000
    102174        Timely                  417.100                      417.100
    102175        Timely                 1,660.000                    1,660.000
    102176        Timely                   0.000                        0.000
    102177        Timely                 1,925.000                    1,925.000
    102178        Timely                 2,075.000                    2,075.000
    102179        Timely                  466.600                      466.600
    102180        Timely                   37.900                      37.900
    102181        Timely                  166.000                      166.000
    102182        Timely                  166.000                      166.000
    102183        Timely                   17.300                      17.300
    102184        Timely                   56.400                      56.400
    102185        Timely                   15.600                      15.600
    102186        Timely                   21.500                      21.500
    102187        Timely                   25.600                      25.600
    102188        Timely                  113.600                      113.600
    102189        Timely                   29.000                      29.000
    102190        Timely                   89.700                      89.700
    102191        Timely                   13.000                      13.000
    102192        Timely                   56.500                      56.500
    102193        Timely                   0.000                        0.000
    102194        Timely                   16.600                      16.600
    102195        Timely                21,670.000                   21,670.000
    102196        Timely                 8,602.600                    8,602.600
    102197        Timely                   21.900                      21.900
    102198        Timely                   25.900                      25.900
    102199        Timely                  222.600                      222.600
    102200        Timely                   0.000                        0.000
    102201        Timely                   31.200                      31.200
    102202        Timely                  166.000                      166.000
    102203        Timely                   12.900                      12.900
    102204        Timely                   38.900                      38.900
    102205        Timely                   23.900                      23.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102206        Timely                   17.200                      17.200
    102207        Timely                   0.000                        0.000
    102208        Timely                  664.000                      664.000
    102209        Timely                  121.800                      121.800
    102210        Timely                   42.500                      42.500
    102211        Timely                   4.300                        4.300
    102212        Timely                 7,000.000                    7,000.000
    102213        Timely                   35.500                      35.500
    102214        Timely                   9.000                        9.000
    102215        Timely                 1,294.400                    1,294.400
    102216        Timely                   29.900                      29.900
    102217        Timely                  228.800                      228.800
    102218        Timely                   70.200                      70.200
    102219        Timely                  212.500                      212.500
    102220        Timely                 4,150.000                    4,150.000
    102221        Timely                   44.500                      44.500
    102222        Timely                 3,735.000                    3,735.000
    102223        Timely                 4,150.000                    4,150.000
    102224        Timely                 4,980.000                    4,980.000
    102225        Timely                   8.600                        8.600
    102226        Timely                   10.000                      10.000
    102227        Timely                   38.200                      38.200
    102228        Timely                   49.800                      49.800
    102229        Timely                   5.300                        5.300
    102230        Timely                   5.000                        5.000
    102231        Timely                  277.000                      277.000
    102232        Timely                  166.000                      166.000
    102233        Timely                   41.500                      41.500
    102234        Timely                   0.000                        0.000
    102235        Timely                   62.000                      62.000
    102236        Timely                  160.000                      160.000
    102237        Timely                   0.000                        0.000
    102238        Timely                   24.900                      24.900
    102239        Timely                   6.000                        6.000
    102240        Timely                   72.700                      72.700
    102241        Timely                   8.600                        8.600
    102242        Timely                   4.000                        4.000
    102243        Timely                  185.800                      185.800
    102244        Timely                   30.500                      30.500
    102245        Timely                   18.000                      18.000
    102246        Timely                   77.100                      77.100
    102247        Timely                  324.000                      324.000
    102248        Timely                   21.500                      21.500
    102249        Timely                   14.600                      14.600
    102250        Timely                  224.500                      224.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102251        Timely                   39.500                      39.500
    102252        Timely                   1.000                        1.000
    102253        Timely                   41.500                      41.500
    102254        Timely                   28.200                      28.200
    102255        Timely                  556.000                      556.000
    102256        Timely                   4.300                        4.300
    102257        Timely                  998.000                      998.000
    102258        Timely                   0.000                        0.000
    102259        Timely                  683.500                      683.500
    102260        Timely                   41.500                      41.500
    102261        Timely                  389.000                      389.000
    102262        Timely                  146.500                      146.500
    102263        Timely                 6,825.000                    6,825.000
    102264        Timely                   49.800                      49.800
    102265        Timely                   8.600                        8.600
    102266        Timely                   81.000                      81.000
    102267        Timely                   10.000                      10.000
    102268        Timely                   35.800                      35.800
    102269        Timely                   38.200                      38.200
    102270        Timely                   22.600                      22.600
    102271        Timely                  188.600                      188.600
    102272        Timely                   18.000                      18.000
    102273        Timely                  137.600                      137.600
    102274        Timely                   44.200                      44.200
    102275        Timely                   59.100                      59.100
    102276        Timely                   53.200                      53.200
    102277        Timely                  201.600                      201.600
    102278        Timely                   50.200                      50.200
    102279        Timely                   55.900                      55.900
    102280        Timely                  112.600                      112.600
    102281        Timely                  137.400                      137.400
    102282        Timely                   41.500                      41.500
    102283        Timely                   11.300                      11.300
    102284        Timely                  142.600                      142.600
    102285        Timely                  107.800                      107.800
    102286        Timely                 1,609.500                    1,609.500
    102287        Timely                15,000.000                   15,000.000
    102288        Timely                   57.700                      57.700
    102289        Timely                   13.300                      13.300
    102290        Timely                   25.600                      25.600
    102291        Timely                   0.000                        0.000
    102292        Timely                   20.200                      20.200
    102293        Timely                  300.000                      300.000
    102294        Timely                  225.000                      225.000
    102295        Timely                   17.600                      17.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102296        Timely                   0.000                        0.000
    102297        Timely                   35.600                      35.600
    102298        Timely                   34.200                      34.200
    102299        Timely                   0.000                        0.000
    102300        Timely                   1.000                        1.000
    102301        Timely                   89.100                      89.100
    102302        Timely                   13.600                      13.600
    102303        Timely                   4.300                        4.300
    102304        Timely                   75.500                      75.500
    102305        Timely                   42.900                      42.900
    102306        Timely                   17.900                      17.900
    102307        Timely                   86.400                      86.400
    102308        Timely                   17.600                      17.600
    102309        Timely                  132.200                      132.200
    102310        Timely                   33.200                      33.200
    102311        Timely                   30.000                      30.000
    102312        Timely                  112.500                      112.500
    102313        Timely                 5,196.100                    5,196.100
    102314        Timely                  413.000                      413.000
    102315        Timely                  387.000                      387.000
    102316        Timely                   0.000                        0.000
    102317        Timely                   8.000                        8.000
    102318        Timely                   0.000                        0.000
    102319        Timely                  173.600                      173.600
    102320        Timely                  900.000                      900.000
    102321        Timely                   8.000                        8.000
    102322        Timely                   7.000                        7.000
    102323        Timely                   22.600                      22.600
    102324        Timely                   4.000                        4.000
    102325        Timely                   17.900                      17.900
    102326        Timely                   38.200                      38.200
    102327        Timely                   39.500                      39.500
    102328        Timely                   14.600                      14.600
    102329        Timely                   25.900                      25.900
    102330        Timely                  151.700                      151.700
    102331        Timely                  253.800                      253.800
    102332        Timely                   14.600                      14.600
    102333        Timely                  103.600                      103.600
    102334        Timely                   88.400                      88.400
    102335        Timely                   27.000                      27.000
    102336        Timely                   8.300                        8.300
    102337        Timely                   0.000                        0.000
    102338        Timely                   42.000                      42.000
    102339        Timely                  229.600                      229.600
    102340        Timely                   15.000                      15.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102341        Timely                 4,468.200                    4,468.200
    102342        Timely                   14.600                      14.600
    102343        Timely                38,700.000                   38,700.000
    102344        Timely                   72.000                      72.000
    102345        Timely                   9.600                        9.600
    102346        Timely                  207.600                      207.600
    102347        Timely                  634.400                      634.400
    102348        Timely                   11.600                      11.600
    102349        Timely                 1,000.500                    1,000.500
    102350        Timely                   15.300                      15.300
    102351        Timely                   51.100                      51.100
    102352        Timely                  774.000                      774.000
    102353        Timely                   14.600                      14.600
    102354        Timely                  518.200                      518.200
    102355        Timely                   1.000                        1.000
    102356        Timely                   0.000                        0.000
    102357        Timely                  113.000                      113.000
    102358        Timely                   12.300                      12.300
    102359        Timely                13,245.000                   13,245.000
    102360        Timely                 2,347.500                    2,347.500
    102361        Timely                   16.600                      16.600
    102362        Timely                  582.000                      582.000
    102363        Timely                   8.600                        8.600
    102364        Timely                   9.600                        9.600
    102365        Timely                   50.000                      50.000
    102366        Timely                   0.000                        0.000
    102367        Timely                 6,000.000                    6,000.000
    102368        Timely                   11.600                      11.600
    102369        Timely                 6,153.000                    6,153.000
    102370        Timely                  120.000                      120.000
    102371        Timely                   5.300                        5.300
    102372        Timely                   0.000                        0.000
    102373        Timely                   35.500                      35.500
    102374        Timely                   1.000                        1.000
    102375        Timely                  986.100                      986.100
    102376        Timely                   26.900                      26.900
    102377        Timely                   67.200                      67.200
    102378        Timely                   24.000                      24.000
    102379        Timely                   16.900                      16.900
    102380        Timely                   20.600                      20.600
    102381        Timely                  138.000                      138.000
    102382        Timely                  172.600                      172.600
    102383        Timely                   87.300                      87.300
    102384        Timely                   41.500                      41.500
    102385        Timely                  600.000                      600.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102386        Timely                   49.100                      49.100
    102387        Timely                   36.000                      36.000
    102388        Timely                 8,833.500                    8,833.500
    102389        Timely                   0.000                        0.000
    102390        Timely                   0.000                        0.000
    102391        Timely                   0.000                        0.000
    102392        Timely                   30.900                      30.900
    102393        Timely                   61.800                      61.800
    102394        Timely                   18.900                      18.900
    102395        Timely                   20.900                      20.900
    102396        Timely                  115.000                      115.000
    102397        Timely                  200.700                      200.700
    102398        Timely                  282.800                      282.800
    102399        Timely                  608.400                      608.400
    102400        Timely                  541.000                      541.000
    102401        Timely                  688.000                      688.000
    102402        Timely                  352.200                      352.200
    102403        Timely                   54.500                      54.500
    102404        Timely                  114.500                      114.500
    102405        Timely              2,100,000.000                2,100,000.000
    102406        Timely                   50.600                      50.600
    102407        Timely                   32.600                      32.600
    102408        Timely                   83.000                      83.000
    102409        Timely                  465.000                      465.000
    102410        Timely                  533.000                      533.000
    102411        Timely                   10.300                      10.300
    102412        Timely                   7.300                        7.300
    102413        Timely                   75.000                      75.000
    102414        Timely               248,600.000                  248,600.000
    102415        Timely                   8.600                        8.600
    102416        Timely                  456.500                      456.500
    102417        Timely                   31.800                      31.800
    102418        Timely                   13.300                      13.300
    102419        Timely                   20.900                      20.900
    102420        Timely                  770.000                      770.000
    102421        Timely                   90.000                      90.000
    102422        Timely                   35.200                      35.200
    102423        Timely                   95.200                      95.200
    102424        Timely                   23.900                      23.900
    102425        Timely                   13.300                      13.300
    102426        Timely                   18.300                      18.300
    102427        Timely                   12.000                      12.000
    102428        Timely                   27.900                      27.900
    102429        Timely                 4,158.500                    4,158.500
    102430        Timely                   10.300                      10.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102431        Timely                  287.300                      287.300
    102432        Timely                   74.200                      74.200
    102433        Timely                 5,100.000                    5,100.000
    102434        Timely                   15.000                      15.000
    102435        Timely                  425.800                      425.800
    102436        Timely                   49.400                      49.400
    102437        Timely                   24.200                      24.200
    102438        Timely                   33.200                      33.200
    102439        Timely                   53.500                      53.500
    102440        Timely                  215.000                      215.000
    102441        Timely                   7.300                        7.300
    102442        Timely                  426.000                      426.000
    102443        Timely                   46.400                      46.400
    102444        Timely                  685.000                      685.000
    102445        Timely                   0.000                        0.000
    102446        Timely                   36.000                      36.000
    102447        Timely                   31.200                      31.200
    102448        Timely                   63.000                      63.000
    102449        Timely                 6,767.500                    6,767.500
    102450        Timely                   0.000                        0.000
    102451        Timely                  193.000                      193.000
    102452        Timely                   83.000                      83.000
    102453        Timely                 1,521.800                    1,521.800
    102454        Timely                   0.000                        0.000
    102455        Timely                  831.900                      831.900
    102456        Timely                  330.600                      330.600
    102457        Timely                   0.000                        0.000
    102458        Timely                   90.000                      90.000
    102459        Timely                   6.000                        6.000
    102460        Timely                   51.500                      51.500
    102461        Timely                   43.000                      43.000
    102462        Timely                   29.300                      29.300
    102463        Timely                   28.000                      28.000
    102464        Timely                  793.000                      793.000
    102465        Timely                  179.500                      179.500
    102466        Timely                   28.900                      28.900
    102467        Timely                   41.200                      41.200
    102468        Timely                   22.600                      22.600
    102469        Timely                  154.800                      154.800
    102470        Timely                  560.700                      560.700
    102471        Timely                  204.000                      204.000
    102472        Timely                   26.600                      26.600
    102473        Timely                   17.600                      17.600
    102474        Timely                   11.300                      11.300
    102475        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102476        Timely                   57.100                      57.100
    102477        Timely                  113.000                      113.000
    102478        Timely                  110.000                      110.000
    102479        Timely                   37.900                      37.900
    102480        Timely                   18.000                      18.000
    102481        Timely                   11.300                      11.300
    102482        Timely                   30.900                      30.900
    102483        Timely                  274.000                      274.000
    102484        Timely                  271.300                      271.300
    102485        Timely                   0.000                        0.000
    102486        Timely                   24.000                      24.000
    102487        Timely                   9.000                        9.000
    102488        Timely                   15.600                      15.600
    102489        Timely                   15.900                      15.900
    102490        Timely                   12.600                      12.600
    102491        Timely                   17.200                      17.200
    102492        Timely                   30.000                      30.000
    102493        Timely                   10.600                      10.600
    102494        Timely                   20.200                      20.200
    102495        Timely                   9.300                        9.300
    102496        Timely                   0.000                        0.000
    102497        Timely                   36.400                      36.400
    102498        Timely                  139.200                      139.200
    102499        Timely                   0.000                        0.000
    102500        Timely                   15.900                      15.900
    102501        Timely                   19.900                      19.900
    102502        Timely                   15.600                      15.600
    102503        Timely                  135.500                      135.500
    102504        Timely                   9.600                        9.600
    102505        Timely                   8.300                        8.300
    102506        Timely                   19.900                      19.900
    102507        Timely                 1,537.500                    1,537.500
    102508        Timely                   28.500                      28.500
    102509        Timely                  184.600                      184.600
    102510        Timely                   41.500                      41.500
    102511        Timely                   16.600                      16.600
    102512        Timely                   20.300                      20.300
    102513        Timely                   20.300                      20.300
    102514        Timely                   52.600                      52.600
    102515        Timely                   25.600                      25.600
    102516        Timely                  404.900                      404.900
    102517        Timely                   33.500                      33.500
    102518        Timely                   30.200                      30.200
    102519        Timely                  107.500                      107.500
    102520        Timely                  127.000                      127.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102521        Timely                  137.800                      137.800
    102522        Timely                   12.300                      12.300
    102523        Timely                   64.400                      64.400
    102524        Timely                  183.000                      183.000
    102525        Timely                  246.000                      246.000
    102526        Timely                   4.300                        4.300
    102527        Timely                  265.100                      265.100
    102528        Timely                   20.900                      20.900
    102529        Timely                   21.900                      21.900
    102530        Timely                   23.600                      23.600
    102531        Timely                   14.900                      14.900
    102532        Timely                  411.900                      411.900
    102533        Timely                   0.000                        0.000
    102534        Timely                   75.400                      75.400
    102535        Timely                   31.200                      31.200
    102536        Timely                   0.000                        0.000
    102537        Timely                   18.600                      18.600
    102538        Timely                   30.500                      30.500
    102539        Timely                   4.000                        4.000
    102540        Timely                  124.400                      124.400
    102541        Timely                   0.000                        0.000
    102542        Timely                   26.900                      26.900
    102543        Timely                   26.900                      26.900
    102544        Timely                  528.000                      528.000
    102545        Timely                   24.900                      24.900
    102546        Timely                   44.800                      44.800
    102547        Timely                  116.800                      116.800
    102548        Timely                   68.400                      68.400
    102549        Timely                   7.000                        7.000
    102550        Timely                   30.200                      30.200
    102551        Timely                   7.300                        7.300
    102552        Timely                  115.400                      115.400
    102553        Timely                  147.900                      147.900
    102554        Timely                   8.000                        8.000
    102555        Timely                   19.600                      19.600
    102556        Timely                  101.900                      101.900
    102557        Timely                   29.900                      29.900
    102558        Timely                   58.500                      58.500
    102559        Timely                  197.500                      197.500
    102560        Timely                   10.600                      10.600
    102561        Timely                   33.200                      33.200
    102562        Timely                   31.900                      31.900
    102563        Timely                   8.600                        8.600
    102564        Timely                   7.300                        7.300
    102565        Timely                 7,811.500                    7,811.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102566        Timely                  315.500                      315.500
    102567        Timely                  378.500                      378.500
    102568        Timely                  113.600                      113.600
    102569        Timely                  137.000                      137.000
    102570        Timely                   30.200                      30.200
    102571        Timely                   43.000                      43.000
    102572        Timely                   64.500                      64.500
    102573        Timely                   0.000                        0.000
    102574        Timely                  166.000                      166.000
    102575        Timely                   10.300                      10.300
    102576        Timely                   11.600                      11.600
    102577        Timely                   14.600                      14.600
    102578        Timely                  152.500                      152.500
    102579        Timely                  189.000                      189.000
    102580        Timely                   25.200                      25.200
    102581        Timely                   12.000                      12.000
    102582        Timely                   29.200                      29.200
    102583        Timely                   7.000                        7.000
    102584        Timely                   22.000                      22.000
    102585        Timely                   14.600                      14.600
    102586        Timely                   8.600                        8.600
    102587        Timely                 1,014.500                    1,014.500
    102588        Timely                  107.500                      107.500
    102589        Timely                  300.000                      300.000
    102590        Timely                 3,418.800                    3,418.800
    102591        Timely                  236.500                      236.500
    102592        Timely                   14.300                      14.300
    102593        Timely                   0.000                        0.000
    102594        Timely                 7,885.000                    7,885.000
    102595        Timely                   7.300                        7.300
    102596        Timely                  137.600                      137.600
    102597        Timely                   21.900                      21.900
    102598        Timely                  159.000                      159.000
    102599        Timely                 4,507.500                    4,507.500
    102600        Timely                   11.600                      11.600
    102601        Timely                   72.000                      72.000
    102602        Timely                   26.900                      26.900
    102603        Timely                   34.500                      34.500
    102604        Timely                   95.500                      95.500
    102605        Timely                   1.000                        1.000
    102606        Timely                   26.500                      26.500
    102607        Timely                 5,517.500                    5,517.500
    102608        Timely                   20.000                      20.000
    102609        Timely                   35.900                      35.900
    102610        Timely                  400.000                      400.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102611        Timely                   0.000                        0.000
    102612        Timely                   0.000                        0.000
    102613        Timely                   0.000                        0.000
    102614        Timely                   73.000                      73.000
    102615        Timely                   53.000                      53.000
    102616        Timely                   0.000                        0.000
    102617        Timely                11,298.000                   11,298.000
    102618        Timely                29,633.200                   29,633.200
    102619        Timely                  300.000                      300.000
    102620        Timely                   23.200                      23.200
    102621        Timely                  435.000                      435.000
    102622        Timely                   24.900                      24.900
    102623        Timely                   63.500                      63.500
    102624        Timely                   21.600                      21.600
    102625        Timely                   20.600                      20.600
    102626        Timely                   43.000                      43.000
    102627        Timely                   56.500                      56.500
    102628        Timely                  150.000                      150.000
    102629        Timely                  112.200                      112.200
    102630        Timely                 1,720.000                    1,720.000
    102631        Timely                  320.900                      320.900
    102632        Timely                   0.000                        0.000
    102633        Timely                   35.100                      35.100
    102634        Timely                  638.100                      638.100
    102635        Timely                  131.000                      131.000
    102636        Timely                   50.500                      50.500
    102637        Timely                   41.800                      41.800
    102638        Timely                   29.200                      29.200
    102639        Timely                   27.200                      27.200
    102640        Timely                   27.500                      27.500
    102641        Timely                   17.300                      17.300
    102642        Timely                  102.400                      102.400
    102643        Timely                   35.200                      35.200
    102644        Timely                   95.900                      95.900
    102645        Timely                   7.300                        7.300
    102646        Timely                   0.000                        0.000
    102647        Timely                   7.300                        7.300
    102648        Timely                   7.300                        7.300
    102649        Timely                   7.300                        7.300
    102650        Timely                   7.300                        7.300
    102651        Timely                   7.300                        7.300
    102652        Timely                   7.300                        7.300
    102653        Timely                   34.400                      34.400
    102654        Timely                   10.300                      10.300
    102655        Timely                  316.000                      316.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102656        Timely                  113.000                      113.000
    102657        Timely                  133.000                      133.000
    102658        Timely                  203.000                      203.000
    102659        Timely                   88.100                      88.100
    102660        Timely                   27.600                      27.600
    102661        Timely                   12.900                      12.900
    102662        Timely                   4.000                        4.000
    102663        Timely                 2,930.000                    2,930.000
    102664        Timely                15,820.000                   15,820.000
    102665        Timely                   13.600                      13.600
    102666        Timely                   0.000                        0.000
    102667        Timely                   14.600                      14.600
    102668        Timely                   14.600                      14.600
    102669        Timely                   18.900                      18.900
    102670        Timely                   23.200                      23.200
    102671        Timely                   17.200                      17.200
    102672        Timely                   15.900                      15.900
    102673        Timely                   18.900                      18.900
    102674        Timely                   20.200                      20.200
    102675        Timely                   15.900                      15.900
    102676        Timely                   15.900                      15.900
    102677        Timely                  390.000                      390.000
    102678        Timely                   18.900                      18.900
    102679        Timely                   15.000                      15.000
    102680        Timely                   21.500                      21.500
    102681        Timely                   84.500                      84.500
    102682        Timely                22,107.600                   22,107.600
    102683        Timely                  944.300                      944.300
    102684        Timely                   20.200                      20.200
    102685        Timely                   21.300                      21.300
    102686        Timely                   15.600                      15.600
    102687        Timely                   22.200                      22.200
    102688        Timely                  280.900                      280.900
    102689        Timely                   25.900                      25.900
    102690        Timely                  203.000                      203.000
    102691        Timely                82,818.000                   82,818.000
    102692        Timely                   18.900                      18.900
    102693        Timely                   30.500                      30.500
    102694        Timely                   9.000                        9.000
    102695        Timely                   15.900                      15.900
    102696        Timely                   21.000                      21.000
    102697        Timely                   17.200                      17.200
    102698        Timely                   8.600                        8.600
    102699        Timely                  113.000                      113.000
    102700        Timely                  830.000                      830.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102701        Timely                   59.000                      59.000
    102702        Timely                  830.000                      830.000
    102703        Timely                   43.900                      43.900
    102704        Timely                   25.600                      25.600
    102705        Timely                   11.300                      11.300
    102706        Timely                   57.600                      57.600
    102707        Timely                   52.500                      52.500
    102708        Timely                   55.200                      55.200
    102709        Timely                 1,005.400                    1,005.400
    102710        Timely                  354.100                      354.100
    102711        Timely                   38.600                      38.600
    102712        Timely                   8.300                        8.300
    102713        Timely                   94.300                      94.300
    102714        Timely                   13.900                      13.900
    102715        Timely                  162.600                      162.600
    102716        Timely                   33.000                      33.000
    102717        Timely                  152.600                      152.600
    102718        Timely                  104.600                      104.600
    102719        Timely                   12.900                      12.900
    102720        Timely                   12.900                      12.900
    102721        Timely                   21.600                      21.600
    102722        Timely                   13.300                      13.300
    102723        Timely                   8.300                        8.300
    102724        Timely                  580.600                      580.600
    102725        Timely                   12.600                      12.600
    102726        Timely                  124.000                      124.000
    102727        Timely                   5.300                        5.300
    102728        Timely                   10.600                      10.600
    102729        Timely                   23.600                      23.600
    102730        Timely                   14.300                      14.300
    102731        Timely                   58.100                      58.100
    102732        Timely                   95.000                      95.000
    102733        Timely                   17.600                      17.600
    102734        Timely                   29.200                      29.200
    102735        Timely                   45.700                      45.700
    102736        Timely                   17.600                      17.600
    102737        Timely                   0.000                        0.000
    102738        Timely                   15.300                      15.300
    102739        Timely                  165.000                      165.000
    102740        Timely                  294.800                      294.800
    102741        Timely                  155.500                      155.500
    102742        Timely                   32.200                      32.200
    102743        Timely                  231.000                      231.000
    102744        Timely                   11.300                      11.300
    102745        Timely                   21.900                      21.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102746        Timely                 1,021.400                    1,021.400
    102747        Timely                   28.900                      28.900
    102748        Timely                  216.600                      216.600
    102749        Timely                   26.200                      26.200
    102750        Timely                   73.400                      73.400
    102751        Timely                   26.600                      26.600
    102752        Timely                   4.300                        4.300
    102753        Timely                   30.500                      30.500
    102754        Timely                   27.200                      27.200
    102755        Timely                   20.900                      20.900
    102756        Timely                   15.600                      15.600
    102757        Timely                 2,270.000                    2,270.000
    102758        Timely                 1,045.500                    1,045.500
    102759        Timely                  237.800                      237.800
    102760        Timely                   4.000                        4.000
    102761        Timely                   14.300                      14.300
    102762        Timely                   22.300                      22.300
    102763        Timely                   83.000                      83.000
    102764        Timely                   23.900                      23.900
    102765        Timely                   23.900                      23.900
    102766        Timely                   18.300                      18.300
    102767        Timely                  424.600                      424.600
    102768        Timely                   70.400                      70.400
    102769        Timely                   56.500                      56.500
    102770        Timely                   20.600                      20.600
    102771        Timely                   10.300                      10.300
    102772        Timely                   25.200                      25.200
    102773        Timely                  532.000                      532.000
    102774        Timely                   4.000                        4.000
    102775        Timely                  283.000                      283.000
    102776        Timely                  149.500                      149.500
    102777        Timely                  801.000                      801.000
    102778        Timely                   36.300                      36.300
    102779        Timely                 8,510.000                    8,510.000
    102780        Timely                   27.000                      27.000
    102781        Timely                   48.600                      48.600
    102782        Timely                   24.900                      24.900
    102783        Timely                   29.900                      29.900
    102784        Timely                   33.900                      33.900
    102785        Timely                   12.000                      12.000
    102786        Timely                   9.300                        9.300
    102787        Timely                   9.300                        9.300
    102788        Timely                   7.300                        7.300
    102789        Timely                   36.000                      36.000
    102790        Timely                   11.300                      11.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102791        Timely                   17.200                      17.200
    102792        Timely                   11.600                      11.600
    102793        Timely                   4.300                        4.300
    102794        Timely                   36.000                      36.000
    102795        Timely                   0.000                        0.000
    102796        Timely                  155.100                      155.100
    102797        Timely                   6.000                        6.000
    102798        Timely                   23.200                      23.200
    102799        Timely                   12.600                      12.600
    102800        Timely                  109.000                      109.000
    102801        Timely                   8.300                        8.300
    102802        Timely                   80.000                      80.000
    102803        Timely                   24.900                      24.900
    102804        Timely                   27.500                      27.500
    102805        Timely                   0.000                        0.000
    102806        Timely                   31.800                      31.800
    102807        Timely                   12.600                      12.600
    102808        Timely                   38.700                      38.700
    102809        Timely                   34.400                      34.400
    102810        Timely                   34.400                      34.400
    102811        Timely                   38.700                      38.700
    102812        Timely                   38.700                      38.700
    102813        Timely                   16.900                      16.900
    102814        Timely                   18.000                      18.000
    102815        Timely                   17.600                      17.600
    102816        Timely                   37.500                      37.500
    102817        Timely                  212.800                      212.800
    102818        Timely                   14.600                      14.600
    102819        Timely                   1.000                        1.000
    102820        Timely                  294.000                      294.000
    102821        Timely                   10.000                      10.000
    102822        Timely                  166.700                      166.700
    102823        Timely                   45.200                      45.200
    102824        Timely                   75.000                      75.000
    102825        Timely                  257.000                      257.000
    102826        Timely                  224.500                      224.500
    102827        Timely                  164.600                      164.600
    102828        Timely                   9.300                        9.300
    102829        Timely                   13.600                      13.600
    102830        Timely                   10.300                      10.300
    102831        Timely                   11.300                      11.300
    102832        Timely                   0.000                        0.000
    102833        Timely                   60.000                      60.000
    102834        Timely                   37.800                      37.800
    102835        Timely                   34.800                      34.800

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102836        Timely                   39.100                      39.100
    102837        Timely                   36.100                      36.100
    102838        Timely                   18.900                      18.900
    102839        Timely                   7.300                        7.300
    102840        Timely                   10.300                      10.300
    102841        Timely                  113.000                      113.000
    102842        Timely                   18.300                      18.300
    102843        Timely                  105.800                      105.800
    102844        Timely                   82.700                      82.700
    102845        Timely                   9.600                        9.600
    102846        Timely                   14.600                      14.600
    102847        Timely                   10.300                      10.300
    102848        Timely                 1,920.000                    1,920.000
    102849        Timely                  555.200                      555.200
    102850        Timely                   16.600                      16.600
    102851        Timely                   19.600                      19.600
    102852        Timely                   78.000                      78.000
    102853        Timely                   10.300                      10.300
    102854        Timely                   5.000                        5.000
    102855        Timely                   30.000                      30.000
    102856        Timely                   36.200                      36.200
    102857        Timely                   56.500                      56.500
    102858        Timely                   9.300                        9.300
    102859        Timely                  192.500                      192.500
    102860        Timely                   12.300                      12.300
    102861        Timely                   45.100                      45.100
    102862        Timely                 2,761.300                    2,761.300
    102863        Timely                   68.000                      68.000
    102864        Timely                   0.000                        0.000
    102865        Timely                   4.300                        4.300
    102866        Timely                   20.600                      20.600
    102867        Timely                   32.900                      32.900
    102868        Timely                   0.000                        0.000
    102869        Timely                   23.900                      23.900
    102870        Timely                   26.200                      26.200
    102871        Timely                   40.200                      40.200
    102872        Timely                   29.200                      29.200
    102873        Timely                   73.000                      73.000
    102874        Timely                   18.300                      18.300
    102875        Timely                   7.000                        7.000
    102876        Timely                   4.300                        4.300
    102877        Timely                   52.600                      52.600
    102878        Timely                 3,251.200                    3,251.200
    102879        Timely                   46.200                      46.200
    102880        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102881        Timely                  465.000                      465.000
    102882        Timely                   20.200                      20.200
    102883        Timely                  280.600                      280.600
    102884        Timely                   31.900                      31.900
    102885        Timely                   30.900                      30.900
    102886        Timely                  187.500                      187.500
    102887        Timely                   5.000                        5.000
    102888        Timely                11,715.000                   11,715.000
    102889        Timely                   12.000                      12.000
    102890        Timely                   4.300                        4.300
    102891        Timely                 1,845.000                    1,845.000
    102892        Timely                   11.300                      11.300
    102893        Timely                   8.300                        8.300
    102894        Timely                   8.300                        8.300
    102895        Timely                   8.300                        8.300
    102896        Timely                   17.000                      17.000
    102897        Timely                   12.900                      12.900
    102898        Timely                   20.900                      20.900
    102899        Timely                   55.700                      55.700
    102900        Timely                   8.600                        8.600
    102901        Timely                   6.000                        6.000
    102902        Timely                  502.600                      502.600
    102903        Timely                 2,434.500                    2,434.500
    102904        Timely                  171.600                      171.600
    102905        Timely                  157.100                      157.100
    102906        Timely                   86.500                      86.500
    102907        Timely                  243.200                      243.200
    102908        Timely                   88.600                      88.600
    102909        Timely                 8,741.000                    8,741.000
    102910        Timely                   20.900                      20.900
    102911        Timely                   20.600                      20.600
    102912        Timely                   13.600                      13.600
    102913        Timely                   11.600                      11.600
    102914        Timely                   7.000                        7.000
    102915        Timely                  213.700                      213.700
    102916        Timely                   23.900                      23.900
    102917        Timely                  282.500                      282.500
    102918        Timely                  282.500                      282.500
    102919        Timely                  282.500                      282.500
    102920        Timely                   0.000                        0.000
    102921        Timely                   0.000                        0.000
    102922        Timely                   19.900                      19.900
    102923        Timely                  216.000                      216.000
    102924        Timely                   30.900                      30.900
    102925        Timely                 1,793.600                    1,793.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102926        Timely                   15.600                      15.600
    102927        Timely                   18.900                      18.900
    102928        Timely                   76.400                      76.400
    102929        Timely                   6.000                        6.000
    102930        Timely                   48.500                      48.500
    102931        Timely                   30.000                      30.000
    102932        Timely                   31.200                      31.200
    102933        Timely                  135.000                      135.000
    102934        Timely                  226.000                      226.000
    102935        Timely                   89.500                      89.500
    102936        Timely                  126.000                      126.000
    102937        Timely                   94.500                      94.500
    102938        Timely                   0.000                        0.000
    102939        Timely                   35.500                      35.500
    102940        Timely                  774.000                      774.000
    102941        Timely                  237.500                      237.500
    102942        Timely                   15.600                      15.600
    102943        Timely                   24.900                      24.900
    102944        Timely                  113.000                      113.000
    102945        Timely                   40.000                      40.000
    102946        Timely                   19.600                      19.600
    102947        Timely                   4.300                        4.300
    102948        Timely                   6.000                        6.000
    102949        Timely                   0.000                        0.000
    102950        Timely                   8.600                        8.600
    102951        Timely                  124.500                      124.500
    102952        Timely                  181.000                      181.000
    102953        Timely                   11.300                      11.300
    102954        Timely                   12.900                      12.900
    102955        Timely                   35.000                      35.000
    102956        Timely                   41.500                      41.500
    102957        Timely                   17.200                      17.200
    102958        Timely                   39.500                      39.500
    102959        Timely                   12.000                      12.000
    102960        Timely                  245.000                      245.000
    102961        Timely                   26.600                      26.600
    102962        Timely                   20.200                      20.200
    102963        Timely                   15.000                      15.000
    102964        Timely                   8.600                        8.600
    102965        Timely                 1,947.000                    1,947.000
    102966        Timely                  496.200                      496.200
    102967        Timely                   24.900                      24.900
    102968        Timely                 2,520.000                    2,520.000
    102969        Timely               187,285.800                  187,285.800
    102970        Timely                   17.600                      17.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    102971        Timely                   17.200                      17.200
    102972        Timely                   17.200                      17.200
    102973        Timely                   17.200                      17.200
    102974        Timely                   11.300                      11.300
    102975        Timely                   20.200                      20.200
    102976        Timely                   17.200                      17.200
    102977        Timely                   17.200                      17.200
    102978        Timely                   17.200                      17.200
    102979        Timely                   17.200                      17.200
    102980        Timely                 1,247.500                    1,247.500
    102981        Timely              5,525,220.900                5,525,220.900
    102982        Timely                   21.500                      21.500
    102983        Timely                   21.500                      21.500
    102984        Timely                   17.200                      17.200
    102985        Timely                   17.200                      17.200
    102986        Timely                   17.200                      17.200
    102987        Timely                   0.000                        0.000
    102988        Timely                   7.300                        7.300
    102989        Timely                   28.900                      28.900
    102990        Timely                   9.300                        9.300
    102991        Timely                   34.600                      34.600
    102992        Timely                   13.600                      13.600
    102993        Timely                 1,634.900                    1,634.900
    102994        Timely                   21.900                      21.900
    102995        Timely                   4.300                        4.300
    102996        Timely                  138.000                      138.000
    102997        Timely                   36.500                      36.500
    102998        Timely                  117.500                      117.500
    102999        Timely             747,444,137.000              747,444,137.000
    103000        Timely                   0.000                        0.000
    103001        Timely                   36.000                      36.000
    103002        Timely                 1,691.400                    1,691.400
    103003        Timely                  495.000                      495.000
    103004        Timely                  217.400                      217.400
    103005        Timely                  113.800                      113.800
    103006        Timely                  325.200                      325.200
    103007        Timely                   34.000                      34.000
    103008        Timely                   15.000                      15.000
    103009        Timely                   12.300                      12.300
    103010        Timely                   20.900                      20.900
    103011        Timely                   12.900                      12.900
    103012        Timely                 1,208.000                    1,208.000
    103013        Timely                   97.500                      97.500
    103014        Timely                   92.500                      92.500
    103015        Timely                  146.000                      146.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103016        Timely                   30.000                      30.000
    103017        Timely                   81.000                      81.000
    103018        Timely                 2,526.800                    2,526.800
    103019        Timely                 4,222.600                    4,222.600
    103020        Timely                 6,442.400                    6,442.400
    103021        Timely                   89.800                      89.800
    103022        Timely                 4,643.600                    4,643.600
    103023        Timely                 3,974.200                    3,974.200
    103024        Timely                 4,304.100                    4,304.100
    103025        Timely                 4,322.300                    4,322.300
    103026        Timely                 4,124.400                    4,124.400
    103027        Timely                 3,773.300                    3,773.300
    103028        Timely                 4,971.900                    4,971.900
    103029        Timely                 3,812.900                    3,812.900
    103030        Timely                 1,870.700                    1,870.700
    103031        Timely                   14.600                      14.600
    103032        Timely                 7,308.300                    7,308.300
    103033        Timely                   63.500                      63.500
    103034        Timely                   23.600                      23.600
    103035        Timely                  201.000                      201.000
    103036        Timely                   64.500                      64.500
    103037        Timely                  248.000                      248.000
    103038        Timely                  217.500                      217.500
    103039        Timely                  220.000                      220.000
    103040        Timely                  234.000                      234.000
    103041        Timely                  325.000                      325.000
    103042        Timely                  229.000                      229.000
    103043        Timely                  262.500                      262.500
    103044        Timely                   11.600                      11.600
    103045        Timely                  155.800                      155.800
    103046        Timely                   15.000                      15.000
    103047        Timely                   76.500                      76.500
    103048        Timely                   52.200                      52.200
    103049        Timely                  307.500                      307.500
    103050        Timely                   73.400                      73.400
    103051        Timely                   25.200                      25.200
    103052        Timely                   41.500                      41.500
    103053        Timely                   56.500                      56.500
    103054        Timely                   17.900                      17.900
    103055        Timely                   15.300                      15.300
    103056        Timely                   0.000                        0.000
    103057        Timely                   0.000                        0.000
    103058        Timely                   12.000                      12.000
    103059        Timely                   0.000                        0.000
    103060        Timely                   22.600                      22.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103061        Timely                   73.600                      73.600
    103062        Timely                   0.000                        0.000
    103063        Timely                  225.000                      225.000
    103064        Timely                  111.300                      111.300
    103065        Timely                   36.200                      36.200
    103066        Timely                   9.000                        9.000
    103067        Timely                   7.300                        7.300
    103068        Timely                  428.000                      428.000
    103069        Timely                  199.500                      199.500
    103070        Timely                   85.200                      85.200
    103071        Timely                   14.600                      14.600
    103072        Timely                  131.200                      131.200
    103073        Timely                   66.400                      66.400
    103074        Timely                   13.600                      13.600
    103075        Timely                   46.500                      46.500
    103076        Timely                   9.300                        9.300
    103077        Timely                   80.700                      80.700
    103078        Timely                  140.000                      140.000
    103079        Timely                 1,130.000                    1,130.000
    103080        Timely                   53.300                      53.300
    103081        Timely                   27.900                      27.900
    103082        Timely                   17.900                      17.900
    103083        Timely                   12.300                      12.300
    103084        Timely                   15.000                      15.000
    103085        Timely                  325.500                      325.500
    103086        Timely                   29.200                      29.200
    103087        Timely                   30.000                      30.000
    103088        Timely                   15.300                      15.300
    103089        Timely                   11.000                      11.000
    103090        Timely                  398.600                      398.600
    103091        Timely                   33.200                      33.200
    103092        Timely                   11.600                      11.600
    103093        Timely                   20.900                      20.900
    103094        Timely                   17.900                      17.900
    103095        Timely                   57.800                      57.800
    103096        Timely                   92.800                      92.800
    103097        Timely                   23.600                      23.600
    103098        Timely                   43.500                      43.500
    103099        Timely                   83.000                      83.000
    103100        Timely                   0.000                        0.000
    103101        Timely                   0.000                        0.000
    103102        Timely                 6,037.500                    6,037.500
    103103        Timely                  507.500                      507.500
    103104        Timely                  225.000                      225.000
    103105        Timely                  203.000                      203.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103106        Timely                   39.800                      39.800
    103107        Timely                   36.000                      36.000
    103108        Timely                   10.300                      10.300
    103109        Timely                   23.200                      23.200
    103110        Timely                10,190.000                   10,190.000
    103111        Timely                  372.000                      372.000
    103112        Timely                   20.600                      20.600
    103113        Timely                  688.100                      688.100
    103114        Timely                   56.500                      56.500
    103115        Timely                 1,007.800                    1,007.800
    103116        Timely                   0.000                        0.000
    103117        Timely                   0.000                        0.000
    103118        Timely                   21.000                      21.000
    103119        Timely                  360.500                      360.500
    103120        Timely                   27.900                      27.900
    103121        Timely                   6.000                        6.000
    103122        Timely                   30.000                      30.000
    103123        Timely                   62.500                      62.500
    103124        Timely                   83.000                      83.000
    103125        Timely                   83.000                      83.000
    103126        Timely                   0.000                        0.000
    103127        Timely                   18.000                      18.000
    103128        Timely                   0.000                        0.000
    103129        Timely                  595.000                      595.000
    103130        Timely                   34.400                      34.400
    103131        Timely                   6.000                        6.000
    103132        Timely                   12.300                      12.300
    103133        Timely                   8.300                        8.300
    103134        Timely                10,380.700                   10,380.700
    103135        Timely                   3.000                        3.000
    103136        Timely                   20.600                      20.600
    103137        Timely                   18.600                      18.600
    103138        Timely                   15.600                      15.600
    103139        Timely                   33.600                      33.600
    103140        Timely                   87.600                      87.600
    103141        Timely                   7.300                        7.300
    103142        Timely                  904.000                      904.000
    103143        Timely                   22.600                      22.600
    103144        Timely                   45.200                      45.200
    103145        Timely                   12.000                      12.000
    103146        Timely                   36.900                      36.900
    103147        Timely                   23.600                      23.600
    103148        Timely                  128.500                      128.500
    103149        Timely                 2,975.000                    2,975.000
    103150        Timely                   27.200                      27.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103151        Timely                   0.000                        0.000
    103152        Timely                  159.500                      159.500
    103153        Timely                 6,035.800                    6,035.800
    103154        Timely                   0.000                        0.000
    103155        Timely                  101.800                      101.800
    103156        Timely                   0.000                        0.000
    103157        Timely                  108.000                      108.000
    103158        Timely                  108.000                      108.000
    103159        Timely                  111.000                      111.000
    103160        Timely                   40.200                      40.200
    103161        Timely                  262.400                      262.400
    103162        Timely                  540.000                      540.000
    103163        Timely                  677.400                      677.400
    103164        Timely                   38.200                      38.200
    103165        Timely                   24.900                      24.900
    103166        Timely                   0.000                        0.000
    103167        Timely                   21.900                      21.900
    103168        Timely                   33.900                      33.900
    103169        Timely                  388.500                      388.500
    103170        Timely                  224.500                      224.500
    103171        Timely                   31.200                      31.200
    103172        Timely                   17.000                      17.000
    103173        Timely                   18.600                      18.600
    103174        Timely                 1,219.400                    1,219.400
    103175        Timely                   12.000                      12.000
    103176        Timely                   6.000                        6.000
    103177        Timely                   39.200                      39.200
    103178        Timely                   31.200                      31.200
    103179        Timely                  186.600                      186.600
    103180        Timely                   17.300                      17.300
    103181        Timely                   12.000                      12.000
    103182        Timely                19,775.000                   19,775.000
    103183        Timely                   35.900                      35.900
    103184        Timely                  143.000                      143.000
    103185        Timely                  283.000                      283.000
    103186        Timely                   14.300                      14.300
    103187        Timely                   20.200                      20.200
    103188        Timely                   98.400                      98.400
    103189        Timely                   73.000                      73.000
    103190        Timely                   70.900                      70.900
    103191        Timely                  678.000                      678.000
    103192        Timely                   21.600                      21.600
    103193        Timely                  737.000                      737.000
    103194        Timely                   30.900                      30.900
    103195        Timely                   17.200                      17.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103196        Timely                   8.300                        8.300
    103197        Timely                   14.600                      14.600
    103198        Timely                   17.200                      17.200
    103199        Timely                  150.000                      150.000
    103200        Timely                   36.000                      36.000
    103201        Timely                   25.500                      25.500
    103202        Timely                   13.600                      13.600
    103203        Timely                   4.300                        4.300
    103204        Timely                   6.000                        6.000
    103205        Timely                   12.000                      12.000
    103206        Timely                   10.300                      10.300
    103207        Timely                   10.300                      10.300
    103208        Timely                   57.800                      57.800
    103209        Timely                  340.000                      340.000
    103210        Timely                   11.300                      11.300
    103211        Timely                   58.600                      58.600
    103212        Timely                   20.300                      20.300
    103213        Timely                   85.000                      85.000
    103214        Timely                   33.200                      33.200
    103215        Timely                   20.600                      20.600
    103216        Timely                   17.600                      17.600
    103217        Timely                   63.000                      63.000
    103218        Timely                  255.000                      255.000
    103219        Timely                   42.200                      42.200
    103220        Timely                   25.600                      25.600
    103221        Timely                   18.000                      18.000
    103222        Timely                   27.200                      27.200
    103223        Timely                  150.000                      150.000
    103224        Timely                  395.600                      395.600
    103225        Timely                   4.000                        4.000
    103226        Timely                   12.300                      12.300
    103227        Timely                  228.700                      228.700
    103228        Timely                   25.900                      25.900
    103229        Timely                   2.000                        2.000
    103230        Timely                   91.500                      91.500
    103231        Timely                 1,243.000                    1,243.000
    103232        Timely                 1,243.000                    1,243.000
    103233        Timely                 1,243.000                    1,243.000
    103234        Timely                   56.500                      56.500
    103235        Timely                   30.000                      30.000
    103236        Timely                 1,243.000                    1,243.000
    103237        Timely                   25.900                      25.900
    103238        Timely                   17.600                      17.600
    103239        Timely                   0.000                        0.000
    103240        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103241        Timely                   8.000                        8.000
    103242        Timely                   7.000                        7.000
    103243        Timely                   7.000                        7.000
    103244        Timely                  168.100                      168.100
    103245        Timely                  285.000                      285.000
    103246        Timely                   23.600                      23.600
    103247        Timely                   11.600                      11.600
    103248        Timely                  307.000                      307.000
    103249        Timely                  327.000                      327.000
    103250        Timely                  395.000                      395.000
    103251        Timely                  436.500                      436.500
    103252        Timely                  420.000                      420.000
    103253        Timely                  450.600                      450.600
    103254        Timely                  503.000                      503.000
    103255        Timely                  403.500                      403.500
    103256        Timely                  503.000                      503.000
    103257        Timely                   30.600                      30.600
    103258        Timely                  299.000                      299.000
    103259        Timely                   83.800                      83.800
    103260        Timely                  798.500                      798.500
    103261        Timely                   5.000                        5.000
    103262        Timely                   8.300                        8.300
    103263        Timely                   15.600                      15.600
    103264        Timely                  360.000                      360.000
    103265        Timely                  446.500                      446.500
    103266        Timely                  257.500                      257.500
    103267        Timely                  284.000                      284.000
    103268        Timely                 2,645.100                    2,645.100
    103269        Timely                   39.100                      39.100
    103270        Timely                  206.000                      206.000
    103271        Timely                  160.000                      160.000
    103272        Timely                  661.000                      661.000
    103273        Timely                  210.000                      210.000
    103274        Timely                 4,355.300                    4,355.300
    103275        Timely                  388.400                      388.400
    103276        Timely                  228.800                      228.800
    103277        Timely                   4.300                        4.300
    103278        Timely                  664.000                      664.000
    103279        Timely                   42.500                      42.500
    103280        Timely                  166.000                      166.000
    103281        Timely                   0.000                        0.000
    103282        Timely                  330.000                      330.000
    103283        Timely                   32.000                      32.000
    103284        Timely                  153.000                      153.000
    103285        Timely                  744.000                      744.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103286        Timely                  124.800                      124.800
    103287        Timely                  120.200                      120.200
    103288        Timely                  616.000                      616.000
    103289        Timely                   7.300                        7.300
    103290        Timely                   0.000                        0.000
    103291        Timely                   10.300                      10.300
    103292        Timely                   8.300                        8.300
    103293        Timely                  615.000                      615.000
    103294        Timely                  124.500                      124.500
    103295        Timely                 1,200.000                    1,200.000
    103296        Timely                  203.400                      203.400
    103297        Timely                   26.000                      26.000
    103298        Timely                   48.100                      48.100
    103299        Timely                 1,942.000                    1,942.000
    103300        Timely                   48.000                      48.000
    103301        Timely                   81.000                      81.000
    103302        Timely                  402.900                      402.900
    103303        Timely                  225.900                      225.900
    103304        Timely                  268.800                      268.800
    103305        Timely                   96.500                      96.500
    103306        Timely                   42.900                      42.900
    103307        Timely                   30.900                      30.900
    103308        Timely                   6.000                        6.000
    103309        Timely                   55.500                      55.500
    103310        Timely                   5.300                        5.300
    103311        Timely                   36.500                      36.500
    103312        Timely                  168.500                      168.500
    103313        Timely                   0.000                        0.000
    103314        Timely                   41.500                      41.500
    103315        Timely                  113.000                      113.000
    103316        Timely                  591.000                      591.000
    103317        Timely                  720.000                      720.000
    103318        Timely                   38.900                      38.900
    103319        Timely                  677.700                      677.700
    103320        Timely                   1.000                        1.000
    103321        Timely                  147.800                      147.800
    103322        Timely                  105.500                      105.500
    103323        Timely                   66.500                      66.500
    103324        Timely                 1,451.200                    1,451.200
    103325        Timely                   9.000                        9.000
    103326        Timely                   18.000                      18.000
    103327        Timely                   81.500                      81.500
    103328        Timely                   13.600                      13.600
    103329        Timely                   14.000                      14.000
    103330        Timely                   29.900                      29.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103331        Timely                   17.900                      17.900
    103332        Timely                   95.000                      95.000
    103333        Timely                   70.000                      70.000
    103334        Timely                 1,124.600                    1,124.600
    103335        Timely                   14.600                      14.600
    103336        Timely                  134.500                      134.500
    103337        Timely                   32.200                      32.200
    103338        Timely                  312.000                      312.000
    103339        Timely                   49.500                      49.500
    103340        Timely                  210.000                      210.000
    103341        Timely                   38.200                      38.200
    103342        Timely                  146.400                      146.400
    103343        Timely                   38.600                      38.600
    103344        Timely                  180.600                      180.600
    103345        Timely                   45.000                      45.000
    103346        Timely                  718.000                      718.000
    103347        Timely                   28.900                      28.900
    103348        Timely                   20.900                      20.900
    103349        Timely                  182.000                      182.000
    103350        Timely                   11.300                      11.300
    103351        Timely                  132.500                      132.500
    103352        Timely                   16.600                      16.600
    103353        Timely                  106.200                      106.200
    103354        Timely                  186.600                      186.600
    103355        Timely                  104.100                      104.100
    103356        Timely                  255.100                      255.100
    103357        Timely                  186.100                      186.100
    103358        Timely                  343.200                      343.200
    103359        Timely                   22.300                      22.300
    103360        Timely                   43.000                      43.000
    103361        Timely                  730.000                      730.000
    103362        Timely                  236.700                      236.700
    103363        Timely                   0.000                        0.000
    103364        Timely                   50.900                      50.900
    103365        Timely                   22.900                      22.900
    103366        Timely                   38.500                      38.500
    103367        Timely                   74.500                      74.500
    103368        Timely                   8.000                        8.000
    103369        Timely                  108.000                      108.000
    103370        Timely                   23.900                      23.900
    103371        Timely                   33.900                      33.900
    103372        Timely                   0.000                        0.000
    103373        Timely                   0.000                        0.000
    103374        Timely                   33.900                      33.900
    103375        Timely                   33.900                      33.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103376        Timely                   33.900                      33.900
    103377        Timely                  366.000                      366.000
    103378        Timely                   11.300                      11.300
    103379        Timely                  150.000                      150.000
    103380        Timely                   0.000                        0.000
    103381        Timely                  102.200                      102.200
    103382        Timely                   85.700                      85.700
    103383        Timely                   38.500                      38.500
    103384        Timely                  358.000                      358.000
    103385        Timely                  180.600                      180.600
    103386        Timely                  240.600                      240.600
    103387        Timely                 2,100.000                    2,100.000
    103388        Timely                 3,090.000                    3,090.000
    103389        Timely                   14.600                      14.600
    103390        Timely                   17.600                      17.600
    103391        Timely                   8.000                        8.000
    103392        Timely                   51.800                      51.800
    103393        Timely                   33.300                      33.300
    103394        Timely                  191.000                      191.000
    103395        Timely                   93.600                      93.600
    103396        Timely                   85.200                      85.200
    103397        Timely                  194.900                      194.900
    103398        Timely                   12.600                      12.600
    103399        Timely                   14.000                      14.000
    103400        Timely                   46.500                      46.500
    103401        Timely                   22.600                      22.600
    103402        Timely                 3,750.000                    3,750.000
    103403        Timely                   25.900                      25.900
    103404        Timely                   5.000                        5.000
    103405        Timely                  158.900                      158.900
    103406        Timely                   49.500                      49.500
    103407        Timely                   4.300                        4.300
    103408        Timely                   17.600                      17.600
    103409        Timely                   28.200                      28.200
    103410        Timely                   11.600                      11.600
    103411        Timely                   14.600                      14.600
    103412        Timely                   23.600                      23.600
    103413        Timely                  374.000                      374.000
    103414        Timely                   4.000                        4.000
    103415        Timely                   39.900                      39.900
    103416        Timely                   9.000                        9.000
    103417        Timely                   24.900                      24.900
    103418        Timely                   0.000                        0.000
    103419        Timely                   8.300                        8.300
    103420        Timely                   21.200                      21.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103421        Timely                   90.000                      90.000
    103422        Timely                   0.000                        0.000
    103423        Timely                   15.600                      15.600
    103424        Timely                   4.300                        4.300
    103425        Timely                   14.600                      14.600
    103426        Timely                  590.700                      590.700
    103427        Timely                   16.300                      16.300
    103428        Timely                   18.900                      18.900
    103429        Timely                  149.600                      149.600
    103430        Timely                   71.500                      71.500
    103431        Timely                   12.300                      12.300
    103432        Timely                   11.000                      11.000
    103433        Timely                   29.900                      29.900
    103434        Timely                   0.000                        0.000
    103435        Timely                   28.900                      28.900
    103436        Timely                   15.000                      15.000
    103437        Timely                  321.500                      321.500
    103438        Timely                  279.000                      279.000
    103439        Timely                  113.400                      113.400
    103440        Timely                 1,243.000                    1,243.000
    103441        Timely                 1,530.000                    1,530.000
    103442        Timely                   56.000                      56.000
    103443        Timely                   0.000                        0.000
    103444        Timely                 1,050.000                    1,050.000
    103445        Timely                 1,008.000                    1,008.000
    103446        Timely                 1,383.000                    1,383.000
    103447        Timely                   18.600                      18.600
    103448        Timely                   9.000                        9.000
    103449        Timely                   21.900                      21.900
    103450        Timely                   58.200                      58.200
    103451        Timely                  132.500                      132.500
    103452        Timely                   23.900                      23.900
    103453        Timely                   14.600                      14.600
    103454        Timely                 6,000.000                    6,000.000
    103455        Timely                   24.000                      24.000
    103456        Timely                   45.200                      45.200
    103457        Timely                   28.600                      28.600
    103458        Timely                   84.000                      84.000
    103459        Timely                   61.500                      61.500
    103460        Timely                  175.000                      175.000
    103461        Timely                   18.200                      18.200
    103462        Timely                   30.000                      30.000
    103463        Timely                   18.000                      18.000
    103464        Timely                   61.800                      61.800
    103465        Timely                 1,130.000                    1,130.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103466        Timely                   8.300                        8.300
    103467        Timely                   8.300                        8.300
    103468        Timely                  120.400                      120.400
    103469        Timely                   4.300                        4.300
    103470        Timely                   12.000                      12.000
    103471        Timely                  172.000                      172.000
    103472        Timely                   6.000                        6.000
    103473        Timely                   16.900                      16.900
    103474        Timely                   36.000                      36.000
    103475        Timely                   23.000                      23.000
    103476        Timely                   9.300                        9.300
    103477        Timely                  292.600                      292.600
    103478        Timely                 1,854.600                    1,854.600
    103479        Timely                   32.900                      32.900
    103480        Timely                   11.300                      11.300
    103481        Timely                   17.600                      17.600
    103482        Timely                 1,650.000                    1,650.000
    103483        Timely                  113.000                      113.000
    103484        Timely                   31.600                      31.600
    103485        Timely                   39.900                      39.900
    103486        Timely                   28.000                      28.000
    103487        Timely                   16.600                      16.600
    103488        Timely                   46.500                      46.500
    103489        Timely                   4.300                        4.300
    103490        Timely                   12.300                      12.300
    103491        Timely                   21.900                      21.900
    103492        Timely                   37.500                      37.500
    103493        Timely                   86.500                      86.500
    103494        Timely                  120.000                      120.000
    103495        Timely                  332.000                      332.000
    103496        Timely                  312.300                      312.300
    103497        Timely                  790.100                      790.100
    103498        Timely                   4.000                        4.000
    103499        Timely                   11.600                      11.600
    103500        Timely                   8.600                        8.600
    103501        Timely                   16.600                      16.600
    103502        Timely                  192.500                      192.500
    103503        Timely                 8,098.300                    8,098.300
    103504        Timely                   22.600                      22.600
    103505        Timely                   5.000                        5.000
    103506        Timely                   17.600                      17.600
    103507        Timely                   30.500                      30.500
    103508        Timely                  180.600                      180.600
    103509        Timely                   33.500                      33.500
    103510        Timely                  181.100                      181.100

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103511        Timely                 3,187.600                    3,187.600
    103512        Timely                  301.000                      301.000
    103513        Timely                   20.600                      20.600
    103514        Timely                 1,104.800                    1,104.800
    103515        Timely                  244.800                      244.800
    103516        Timely                   12.000                      12.000
    103517        Timely                   72.000                      72.000
    103518        Timely                   0.000                        0.000
    103519        Timely                   24.900                      24.900
    103520        Timely                   41.800                      41.800
    103521        Timely                   24.900                      24.900
    103522        Timely                  170.500                      170.500
    103523        Timely                   5.000                        5.000
    103524        Timely                   12.000                      12.000
    103525        Timely                   8.300                        8.300
    103526        Timely                   11.600                      11.600
    103527        Timely                   9.600                        9.600
    103528        Timely                   49.800                      49.800
    103529        Timely                 3,402.000                    3,402.000
    103530        Timely                   0.000                        0.000
    103531        Timely                   55.800                      55.800
    103532        Timely                   14.600                      14.600
    103533        Timely                   0.000                        0.000
    103534        Timely                   0.000                        0.000
    103535        Timely                   5.000                        5.000
    103536        Timely                  286.200                      286.200
    103537        Timely                   9.000                        9.000
    103538        Timely                   56.500                      56.500
    103539        Timely                   12.300                      12.300
    103540        Timely                   14.600                      14.600
    103541        Timely                   46.800                      46.800
    103542        Timely                   0.000                        0.000
    103543        Timely                   19.600                      19.600
    103544        Timely                   15.600                      15.600
    103545        Timely                  215.000                      215.000
    103546        Timely                   32.500                      32.500
    103547        Timely                  442.900                      442.900
    103548        Timely                  135.000                      135.000
    103549        Timely                   31.500                      31.500
    103550        Timely                   12.900                      12.900
    103551        Timely                   11.600                      11.600
    103552        Timely                   10.300                      10.300
    103553        Timely                   19.900                      19.900
    103554        Timely                   30.000                      30.000
    103555        Timely                   14.900                      14.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103556        Timely                   38.200                      38.200
    103557        Timely                  168.100                      168.100
    103558        Timely                  118.700                      118.700
    103559        Timely                   24.900                      24.900
    103560        Timely                 4,514.200                    4,514.200
    103561        Timely                   18.900                      18.900
    103562        Timely                   62.000                      62.000
    103563        Timely                   16.300                      16.300
    103564        Timely                   27.000                      27.000
    103565        Timely                   33.200                      33.200
    103566        Timely                   32.200                      32.200
    103567        Timely                   70.000                      70.000
    103568        Timely                   17.000                      17.000
    103569        Timely                   70.600                      70.600
    103570        Timely                  350.000                      350.000
    103571        Timely                  110.600                      110.600
    103572        Timely                   7.300                        7.300
    103573        Timely                   94.500                      94.500
    103574        Timely                   15.000                      15.000
    103575        Timely                   45.000                      45.000
    103576        Timely                   27.500                      27.500
    103577        Timely                   31.500                      31.500
    103578        Timely                   18.900                      18.900
    103579        Timely                   23.500                      23.500
    103580        Timely                   40.400                      40.400
    103581        Timely                  258.000                      258.000
    103582        Timely                  239.100                      239.100
    103583        Timely                   0.000                        0.000
    103584        Timely                   85.100                      85.100
    103585        Timely                   4.300                        4.300
    103586        Timely                   12.300                      12.300
    103587        Timely                   23.900                      23.900
    103588        Timely                   56.100                      56.100
    103589        Timely                   15.000                      15.000
    103590        Timely                   40.600                      40.600
    103591        Timely                   16.900                      16.900
    103592        Timely                   24.600                      24.600
    103593        Timely                   60.000                      60.000
    103594        Timely                   0.000                        0.000
    103595        Timely                   0.000                        0.000
    103596        Timely                   13.300                      13.300
    103597        Timely                  195.000                      195.000
    103598        Timely                   15.600                      15.600
    103599        Timely                   44.100                      44.100
    103600        Timely                10,000.000                   10,000.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103601        Timely                   5.000                        5.000
    103602        Timely                  345.200                      345.200
    103603        Timely                   99.400                      99.400
    103604        Timely                   11.600                      11.600
    103605        Timely                   12.000                      12.000
    103606        Timely                   9.000                        9.000
    103607        Timely                   9.000                        9.000
    103608        Timely                  105.000                      105.000
    103609        Timely                  637.400                      637.400
    103610        Timely                  857.500                      857.500
    103611        Timely                   85.000                      85.000
    103612        Timely                  149.500                      149.500
    103613        Timely                   2.000                        2.000
    103614        Timely                 1,429.900                    1,429.900
    103615        Timely                   4.000                        4.000
    103616        Timely                   36.900                      36.900
    103617        Timely                  173.000                      173.000
    103618        Timely                  166.000                      166.000
    103619        Timely                   15.000                      15.000
    103620        Timely                   20.000                      20.000
    103621        Timely                   20.000                      20.000
    103622        Timely                 3,616.900                    3,616.900
    103623        Timely                  712.500                      712.500
    103624        Timely                   9.300                        9.300
    103625        Timely                   8.300                        8.300
    103626        Timely                   14.300                      14.300
    103627        Timely                   31.000                      31.000
    103628        Timely                   87.600                      87.600
    103629        Timely                  130.200                      130.200
    103630        Timely                   3.000                        3.000
    103631        Timely                   18.300                      18.300
    103632        Timely                  284.900                      284.900
    103633        Timely                   15.000                      15.000
    103634        Timely                   26.600                      26.600
    103635        Timely                   41.500                      41.500
    103636        Timely                   7.000                        7.000
    103637        Timely                 1,493.500                    1,493.500
    103638        Timely                   24.900                      24.900
    103639        Timely                  199.500                      199.500
    103640        Timely                   8.300                        8.300
    103641        Timely                  193.000                      193.000
    103642        Timely                  179.500                      179.500
    103643        Timely                   0.000                        0.000
    103644        Timely                   6.000                        6.000
    103645        Timely                   9.000                        9.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103646        Timely                   6.000                        6.000
    103647        Timely                   9.000                        9.000
    103648        Timely                   21.600                      21.600
    103649        Timely                  460.000                      460.000
    103650        Timely                   69.100                      69.100
    103651        Timely                  106.000                      106.000
    103652        Timely                13,805.000                   13,805.000
    103653        Timely                  149.500                      149.500
    103654        Timely                   0.000                        0.000
    103655        Timely                  309.500                      309.500
    103656        Timely                  125.500                      125.500
    103657        Timely                   71.500                      71.500
    103658        Timely                   17.000                      17.000
    103659        Timely                   75.000                      75.000
    103660        Timely                  300.000                      300.000
    103661        Timely                   1.000                        1.000
    103662        Timely                 2,209.400                    2,209.400
    103663        Timely                   18.900                      18.900
    103664        Timely                  109.500                      109.500
    103665        Timely                  219.000                      219.000
    103666        Timely                   21.600                      21.600
    103667        Timely                   51.000                      51.000
    103668        Timely                   7.300                        7.300
    103669        Timely                   55.200                      55.200
    103670        Timely                   12.300                      12.300
    103671        Timely                   31.600                      31.600
    103672        Timely                   23.900                      23.900
    103673        Timely                   0.000                        0.000
    103674        Timely                   27.200                      27.200
    103675        Timely                   51.800                      51.800
    103676        Timely                   29.200                      29.200
    103677        Timely                   53.500                      53.500
    103678        Timely                   39.500                      39.500
    103679        Timely                   11.000                      11.000
    103680        Timely                   0.000                        0.000
    103681        Timely                   33.900                      33.900
    103682        Timely                   4.300                        4.300
    103683        Timely                   7.300                        7.300
    103684        Timely                   31.200                      31.200
    103685        Timely                   24.600                      24.600
    103686        Timely                   24.000                      24.000
    103687        Timely                   14.600                      14.600
    103688        Timely                   42.000                      42.000
    103689        Timely                   20.200                      20.200
    103690        Timely                   17.000                      17.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103691        Timely                   17.000                      17.000
    103692        Timely                   0.000                        0.000
    103693        Timely                  425.000                      425.000
    103694        Timely                  147.000                      147.000
    103695        Timely                  120.000                      120.000
    103696        Timely                  115.000                      115.000
    103697        Timely                   48.800                      48.800
    103698        Timely                   40.500                      40.500
    103699        Timely                 8,860.000                    8,860.000
    103700        Timely                   18.000                      18.000
    103701        Timely                   11.300                      11.300
    103702        Timely                   18.600                      18.600
    103703        Timely                   36.500                      36.500
    103704        Timely                   9.000                        9.000
    103705        Timely                   32.000                      32.000
    103706        Timely                  163.500                      163.500
    103707        Timely                   14.600                      14.600
    103708        Timely                   35.200                      35.200
    103709        Timely                   17.600                      17.600
    103710        Timely                   18.900                      18.900
    103711        Timely                   32.200                      32.200
    103712        Timely                   0.000                        0.000
    103713        Timely                   27.500                      27.500
    103714        Timely                   24.900                      24.900
    103715        Timely                   2.000                        2.000
    103716        Timely                   7.300                        7.300
    103717        Timely                  365.000                      365.000
    103718        Timely                   0.000                        0.000
    103719        Timely                   0.000                        0.000
    103720        Timely                  175.200                      175.200
    103721        Timely                 1,416.000                    1,416.000
    103722        Timely                   93.000                      93.000
    103723        Timely                   39.800                      39.800
    103724        Timely                   20.600                      20.600
    103725        Timely                   14.300                      14.300
    103726        Timely                   36.000                      36.000
    103727        Timely                   0.000                        0.000
    103728        Timely                  168.000                      168.000
    103729        Timely                   49.000                      49.000
    103730        Timely                   9.000                        9.000
    103731        Timely                  439.500                      439.500
    103732        Timely                   7.300                        7.300
    103733        Timely                   11.600                      11.600
    103734        Timely                  565.000                      565.000
    103735        Timely                  527.500                      527.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103736        Timely                  112.000                      112.000
    103737        Timely                   11.300                      11.300
    103738        Timely                   55.200                      55.200
    103739        Timely                   78.300                      78.300
    103740        Timely                   16.600                      16.600
    103741        Timely                  119.000                      119.000
    103742        Timely                   11.000                      11.000
    103743        Timely                   74.500                      74.500
    103744        Timely                 1,715.000                    1,715.000
    103745        Timely                  114.400                      114.400
    103746        Timely                   8.000                        8.000
    103747        Timely                   11.300                      11.300
    103748        Timely                   20.300                      20.300
    103749        Timely                  480.000                      480.000
    103750        Timely                   55.500                      55.500
    103751        Timely                   10.000                      10.000
    103752        Timely                  101.000                      101.000
    103753        Timely                   83.000                      83.000
    103754        Timely                  630.300                      630.300
    103755        Timely                   39.500                      39.500
    103756        Timely               102,250.000                  102,250.000
    103757        Timely                10,225.000                   10,225.000
    103758        Timely              1,022,500.000                1,022,500.000
    103759        Timely                  156.000                      156.000
    103760        Timely                   12.600                      12.600
    103761        Timely                   63.000                      63.000
    103762        Timely                   11.300                      11.300
    103763        Timely                   21.300                      21.300
    103764        Timely                   0.000                        0.000
    103765        Timely                  254.000                      254.000
    103766        Timely                   11.600                      11.600
    103767        Timely                   5.300                        5.300
    103768        Timely                   71.500                      71.500
    103769        Timely                   5.300                        5.300
    103770        Timely                   33.200                      33.200
    103771        Timely                   18.000                      18.000
    103772        Timely                   73.300                      73.300
    103773        Timely                   2.000                        2.000
    103774        Timely                   60.000                      60.000
    103775        Timely                   15.300                      15.300
    103776        Timely                   11.300                      11.300
    103777        Timely                   0.000                        0.000
    103778        Timely                   24.600                      24.600
    103779        Timely                   40.000                      40.000
    103780        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103781        Timely                   26.000                      26.000
    103782        Timely                   14.300                      14.300
    103783        Timely                   16.600                      16.600
    103784        Timely                   0.000                        0.000
    103785        Timely                  277.800                      277.800
    103786        Timely                   19.600                      19.600
    103787        Timely                   31.200                      31.200
    103788        Timely                   38.500                      38.500
    103789        Timely                  166.000                      166.000
    103790        Timely                   21.900                      21.900
    103791        Timely                   38.500                      38.500
    103792        Timely                   15.000                      15.000
    103793        Timely                   15.600                      15.600
    103794        Timely                  455.000                      455.000
    103795        Timely                  150.000                      150.000
    103796        Timely                  313.000                      313.000
    103797        Timely                  188.000                      188.000
    103798        Timely                  265.000                      265.000
    103799        Timely                   28.200                      28.200
    103800        Timely                   14.900                      14.900
    103801        Timely                  237.600                      237.600
    103802        Timely                   18.000                      18.000
    103803        Timely                  900.000                      900.000
    103804        Timely                   7.000                        7.000
    103805        Timely                   31.900                      31.900
    103806        Timely                   34.400                      34.400
    103807        Timely                   73.000                      73.000
    103808        Timely                   73.000                      73.000
    103809        Timely                   10.600                      10.600
    103810        Timely                 2,579.300                    2,579.300
    103811        Timely                   31.900                      31.900
    103812        Timely                   62.700                      62.700
    103813        Timely                   16.600                      16.600
    103814        Timely                  196.000                      196.000
    103815        Timely                   13.600                      13.600
    103816        Timely                   41.500                      41.500
    103817        Timely                   16.600                      16.600
    103818        Timely                   24.900                      24.900
    103819        Timely                   9.600                        9.600
    103820        Timely                  352.000                      352.000
    103821        Timely                   52.500                      52.500
    103822        Timely                 1,425.200                    1,425.200
    103823        Timely                   48.500                      48.500
    103824        Timely                   0.000                        0.000
    103825        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103826        Timely                   90.000                      90.000
    103827        Timely                   45.200                      45.200
    103828        Timely                  103.600                      103.600
    103829        Timely                   38.200                      38.200
    103830        Timely                   33.200                      33.200
    103831        Timely                   8.300                        8.300
    103832        Timely                   24.900                      24.900
    103833        Timely                   10.300                      10.300
    103834        Timely                   24.500                      24.500
    103835        Timely                  251.000                      251.000
    103836        Timely                   20.900                      20.900
    103837        Timely                   19.300                      19.300
    103838        Timely                  110.300                      110.300
    103839        Timely                   78.000                      78.000
    103840        Timely                  169.500                      169.500
    103841        Timely                   63.600                      63.600
    103842        Timely                   81.000                      81.000
    103843        Timely                  109.500                      109.500
    103844        Timely                   0.000                        0.000
    103845        Timely                  745.800                      745.800
    103846        Timely                   24.900                      24.900
    103847        Timely                   23.200                      23.200
    103848        Timely                   16.600                      16.600
    103849        Timely                   16.600                      16.600
    103850        Timely                   16.600                      16.600
    103851        Timely                   16.600                      16.600
    103852        Timely                   61.500                      61.500
    103853        Timely                   20.300                      20.300
    103854        Timely                  830.000                      830.000
    103855        Timely                   22.600                      22.600
    103856        Timely                   12.600                      12.600
    103857        Timely                   12.900                      12.900
    103858        Timely                  217.500                      217.500
    103859        Timely                   17.900                      17.900
    103860        Timely                   4.000                        4.000
    103861        Timely                   78.000                      78.000
    103862        Timely                   7.000                        7.000
    103863        Timely                   9.000                        9.000
    103864        Timely                   70.900                      70.900
    103865        Timely                 6,697.000                    6,697.000
    103866        Timely                   41.800                      41.800
    103867        Timely                   29.900                      29.900
    103868        Timely                   19.000                      19.000
    103869        Timely                   21.500                      21.500
    103870        Timely                   60.000                      60.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103871        Timely                   23.500                      23.500
    103872        Timely                   41.800                      41.800
    103873        Timely                   19.600                      19.600
    103874        Timely                   0.000                        0.000
    103875        Timely                   0.000                        0.000
    103876        Timely                  211.800                      211.800
    103877        Timely                  211.800                      211.800
    103878        Timely                  211.800                      211.800
    103879        Timely                  211.800                      211.800
    103880        Timely                   99.500                      99.500
    103881        Timely                   0.000                        0.000
    103882        Timely                  287.700                      287.700
    103883        Timely                25,176.400                   25,176.400
    103884        Timely                   12.900                      12.900
    103885        Timely                  124.500                      124.500
    103886        Timely                   3.000                        3.000
    103887        Timely                  211.800                      211.800
    103888        Timely                  211.800                      211.800
    103889        Timely                  211.800                      211.800
    103890        Timely                  211.800                      211.800
    103891        Timely                   12.900                      12.900
    103892        Timely                   0.000                        0.000
    103893        Timely                  170.300                      170.300
    103894        Timely                   70.700                      70.700
    103895        Timely                  225.000                      225.000
    103896        Timely                   80.600                      80.600
    103897        Timely                  300.000                      300.000
    103898        Timely                  473.000                      473.000
    103899        Timely                  170.300                      170.300
    103900        Timely                  170.300                      170.300
    103901        Timely                  170.300                      170.300
    103902        Timely                  170.300                      170.300
    103903        Timely                  125.500                      125.500
    103904        Timely                   11.300                      11.300
    103905        Timely                   38.200                      38.200
    103906        Timely                   18.900                      18.900
    103907        Timely                   17.600                      17.600
    103908        Timely                   45.200                      45.200
    103909        Timely                 2,073.000                    2,073.000
    103910        Timely                   17.600                      17.600
    103911        Timely                   12.000                      12.000
    103912        Timely                   17.600                      17.600
    103913        Timely                 4,266.400                    4,266.400
    103914        Timely                 2,407.400                    2,407.400
    103915        Timely                 1,741.700                    1,741.700

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103916        Timely                 5,570.500                    5,570.500
    103917        Timely                 4,744.200                    4,744.200
    103918        Timely                   11.300                      11.300
    103919        Timely                   8.000                        8.000
    103920        Timely                   33.200                      33.200
    103921        Timely                  294.000                      294.000
    103922        Timely                   12.300                      12.300
    103923        Timely                   12.000                      12.000
    103924        Timely                   15.900                      15.900
    103925        Timely                   10.000                      10.000
    103926        Timely                   8.600                        8.600
    103927        Timely                   26.200                      26.200
    103928        Timely                   54.200                      54.200
    103929        Timely                   53.100                      53.100
    103930        Timely                  282.500                      282.500
    103931        Timely                   48.100                      48.100
    103932        Timely                   0.000                        0.000
    103933        Timely                   86.200                      86.200
    103934        Timely                  113.000                      113.000
    103935        Timely                   26.600                      26.600
    103936        Timely                  341.000                      341.000
    103937        Timely                   83.000                      83.000
    103938        Timely                  126.000                      126.000
    103939        Timely                   23.600                      23.600
    103940        Timely                   82.400                      82.400
    103941        Timely                   86.900                      86.900
    103942        Timely                   33.100                      33.100
    103943        Timely                   75.800                      75.800
    103944        Timely                  998.000                      998.000
    103945        Timely                  288.800                      288.800
    103946        Timely                 2,400.000                    2,400.000
    103947        Timely                  966.000                      966.000
    103948        Timely                   84.000                      84.000
    103949        Timely                   48.400                      48.400
    103950        Timely                   43.400                      43.400
    103951        Timely                   6.000                        6.000
    103952        Timely                 2,486.000                    2,486.000
    103953        Timely                   3.000                        3.000
    103954        Timely                 1,071.000                    1,071.000
    103955        Timely                   15.600                      15.600
    103956        Timely                   9.000                        9.000
    103957        Timely                 1,826.000                    1,826.000
    103958        Timely                 3,694.400                    3,694.400
    103959        Timely                 3,672.400                    3,672.400
    103960        Timely                 3,555.600                    3,555.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    103961        Timely                 4,466.100                    4,466.100
    103962        Timely                 4,951.800                    4,951.800
    103963        Timely                 4,812.800                    4,812.800
    103964        Timely                 4,708.000                    4,708.000
    103965        Timely                 5,580.800                    5,580.800
    103966        Timely                 4,258.100                    4,258.100
    103967        Timely                 5,021.600                    5,021.600
    103968        Timely                 4,672.200                    4,672.200
    103969        Timely                 5,154.700                    5,154.700
    103970        Timely                 5,196.700                    5,196.700
    103971        Timely                 4,491.400                    4,491.400
    103972        Timely                 5,639.200                    5,639.200
    103973        Timely                 5,376.700                    5,376.700
    103974        Timely                   12.300                      12.300
    103975        Timely                 5,171.000                    5,171.000
    103976        Timely                   61.600                      61.600
    103977        Timely                  132.000                      132.000
    103978        Timely                  330.500                      330.500
    103979        Timely                   21.600                      21.600
    103980        Timely                   13.300                      13.300
    103981        Timely                 2,129.500                    2,129.500
    103982        Timely                 9,944.000                    9,944.000
    103983        Timely                 1,786.500                    1,786.500
    103984        Timely                   0.000                        0.000
    103985        Timely                   35.900                      35.900
    103986        Timely                  326.000                      326.000
    103987        Timely                   11.600                      11.600
    103988        Timely                   11.600                      11.600
    103989        Timely                 5,859.700                    5,859.700
    103990        Timely                 2,662.000                    2,662.000
    103991        Timely                 3,828.000                    3,828.000
    103992        Timely                 5,831.000                    5,831.000
    103993        Timely                 6,930.000                    6,930.000
    103994        Timely                 5,399.300                    5,399.300
    103995        Timely                 6,717.000                    6,717.000
    103996        Timely                 5,608.500                    5,608.500
    103997        Timely                 6,813.500                    6,813.500
    103998        Timely                 7,191.000                    7,191.000
    103999        Timely                 6,592.600                    6,592.600
    104000        Timely                   11.300                      11.300
    104001        Timely                   12.300                      12.300
    104002        Timely                  600.000                      600.000
    104003        Timely                 2,876.400                    2,876.400
    104004        Timely                  103.200                      103.200
    104005        Timely                   35.600                      35.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104006        Timely                   49.600                      49.600
    104007        Timely                   55.100                      55.100
    104008        Timely                   17.600                      17.600
    104009        Timely                   58.100                      58.100
    104010        Timely                   40.200                      40.200
    104011        Timely                   42.500                      42.500
    104012        Timely                   35.000                      35.000
    104013        Timely                   14.600                      14.600
    104014        Timely                  194.000                      194.000
    104015        Timely                   31.200                      31.200
    104016        Timely                   47.900                      47.900
    104017        Timely                   11.300                      11.300
    104018        Timely                   9.300                        9.300
    104019        Timely                   12.600                      12.600
    104020        Timely                   13.600                      13.600
    104021        Timely                   11.300                      11.300
    104022        Timely                   17.600                      17.600
    104023        Timely                   16.600                      16.600
    104024        Timely                   10.300                      10.300
    104025        Timely                  133.000                      133.000
    104026        Timely                   21.500                      21.500
    104027        Timely                   99.300                      99.300
    104028        Timely                   26.600                      26.600
    104029        Timely                 5,954.500                    5,954.500
    104030        Timely                 6,722.400                    6,722.400
    104031        Timely                 5,859.000                    5,859.000
    104032        Timely                 6,779.500                    6,779.500
    104033        Timely                   13.600                      13.600
    104034        Timely                 7,073.400                    7,073.400
    104035        Timely                 6,753.500                    6,753.500
    104036        Timely                 6,876.500                    6,876.500
    104037        Timely                   9.000                        9.000
    104038        Timely                 6,513.500                    6,513.500
    104039        Timely                  134.800                      134.800
    104040        Timely                 6,881.500                    6,881.500
    104041        Timely                  175.000                      175.000
    104042        Timely                   27.900                      27.900
    104043        Timely                   7.300                        7.300
    104044        Timely                   19.300                      19.300
    104045        Timely                   35.500                      35.500
    104046        Timely                   16.000                      16.000
    104047        Timely                   8.600                        8.600
    104048        Timely                   64.900                      64.900
    104049        Timely                  605.500                      605.500
    104050        Timely                  750.000                      750.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104051        Timely                   42.900                      42.900
    104052        Timely                  273.500                      273.500
    104053        Timely                  249.000                      249.000
    104054        Timely                   8.300                        8.300
    104055        Timely                  281.000                      281.000
    104056        Timely                  758.600                      758.600
    104057        Timely                 1,500.300                    1,500.300
    104058        Timely                   13.000                      13.000
    104059        Timely                   3.000                        3.000
    104060        Timely                   43.000                      43.000
    104061        Timely                   18.000                      18.000
    104062        Timely                   31.900                      31.900
    104063        Timely                   72.000                      72.000
    104064        Timely                   15.600                      15.600
    104065        Timely                 1,204.100                    1,204.100
    104066        Timely                  266.200                      266.200
    104067        Timely                 3,575.000                    3,575.000
    104068        Timely                   7.000                        7.000
    104069        Timely                  790.000                      790.000
    104070        Timely                   29.900                      29.900
    104071        Timely                   11.300                      11.300
    104072        Timely                   0.000                        0.000
    104073        Timely                   92.500                      92.500
    104074        Timely                   21.500                      21.500
    104075        Timely                   19.600                      19.600
    104076        Timely                   17.900                      17.900
    104077        Timely                   6.000                        6.000
    104078        Timely                   7.000                        7.000
    104079        Timely                   85.700                      85.700
    104080        Timely                   45.200                      45.200
    104081        Timely                  442.200                      442.200
    104082        Timely                   0.000                        0.000
    104083        Timely                   0.000                        0.000
    104084        Timely                   0.000                        0.000
    104085        Timely                  289.100                      289.100
    104086        Timely                  329.800                      329.800
    104087        Timely                  426.800                      426.800
    104088        Timely                  226.000                      226.000
    104089        Timely                  160.400                      160.400
    104090        Timely                   4.000                        4.000
    104091        Timely                   50.500                      50.500
    104092        Timely                   60.000                      60.000
    104093        Timely                   68.000                      68.000
    104094        Timely                   12.600                      12.600
    104095        Timely                   4.300                        4.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104096        Timely                   10.300                      10.300
    104097        Timely                   0.000                        0.000
    104098        Timely                   18.000                      18.000
    104099        Timely                   21.900                      21.900
    104100        Timely                   18.200                      18.200
    104101        Timely                  517.800                      517.800
    104102        Timely                   24.900                      24.900
    104103        Timely                   63.000                      63.000
    104104        Timely                  152.600                      152.600
    104105        Timely                  430.000                      430.000
    104106        Timely                  101.600                      101.600
    104107        Timely                   18.300                      18.300
    104108        Timely                  152.500                      152.500
    104109        Timely                  940.000                      940.000
    104110        Timely                   25.800                      25.800
    104111        Timely                  144.500                      144.500
    104112        Timely                  236.000                      236.000
    104113        Timely                   12.900                      12.900
    104114        Timely                   7.300                        7.300
    104115        Timely                  124.300                      124.300
    104116        Timely                   8.000                        8.000
    104117        Timely                   13.300                      13.300
    104118        Timely                   0.000                        0.000
    104119        Timely                 2,847.500                    2,847.500
    104120        Timely                   0.000                        0.000
    104121        Timely                  731.000                      731.000
    104122        Timely                   8.600                        8.600
    104123        Timely                  371.500                      371.500
    104124        Timely                  880.000                      880.000
    104125        Timely                   45.800                      45.800
    104126        Timely                  555.000                      555.000
    104127        Timely                   37.200                      37.200
    104128        Timely                   27.900                      27.900
    104129        Timely                   22.300                      22.300
    104130        Timely                   51.800                      51.800
    104131        Timely                   36.500                      36.500
    104132        Timely                  110.800                      110.800
    104133        Timely                   26.500                      26.500
    104134        Timely                   80.000                      80.000
    104135        Timely                   51.900                      51.900
    104136        Timely                   23.900                      23.900
    104137        Timely                   28.200                      28.200
    104138        Timely                   28.900                      28.900
    104139        Timely                 6,600.000                    6,600.000
    104140        Timely                   4.300                        4.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104141        Timely                   11.600                      11.600
    104142        Timely                   32.900                      32.900
    104143        Timely                   9.000                        9.000
    104144        Timely                  219.000                      219.000
    104145        Timely                   56.700                      56.700
    104146        Timely                   4.000                        4.000
    104147        Timely                  113.000                      113.000
    104148        Timely                   10.300                      10.300
    104149        Timely                   22.300                      22.300
    104150        Timely                   18.900                      18.900
    104151        Timely                 1,500.000                    1,500.000
    104152        Timely                 2,826.000                    2,826.000
    104153        Timely                   17.300                      17.300
    104154        Timely                   9.600                        9.600
    104155        Timely                  715.000                      715.000
    104156        Timely                  382.700                      382.700
    104157        Timely                  354.800                      354.800
    104158        Timely                   35.900                      35.900
    104159        Timely                   27.900                      27.900
    104160        Timely                  103.000                      103.000
    104161        Timely                   16.600                      16.600
    104162        Timely                   21.000                      21.000
    104163        Timely                   83.000                      83.000
    104164        Timely                  731.000                      731.000
    104165        Timely                   32.900                      32.900
    104166        Timely                  215.000                      215.000
    104167        Timely                   12.000                      12.000
    104168        Timely                   20.900                      20.900
    104169        Timely                  174.000                      174.000
    104170        Timely                75,150.000                   75,150.000
    104171        Timely                  165.000                      165.000
    104172        Timely                   24.600                      24.600
    104173        Timely                   15.600                      15.600
    104174        Timely                 2,335.000                    2,335.000
    104175        Timely                   0.000                        0.000
    104176        Timely                   31.200                      31.200
    104177        Timely                   95.000                      95.000
    104178        Timely                   36.500                      36.500
    104179        Timely                  591.700                      591.700
    104180        Timely                 2,249.600                    2,249.600
    104181        Timely                  474.600                      474.600
    104182        Timely                   60.900                      60.900
    104183        Timely                   67.800                      67.800
    104184        Timely                10,030.000                   10,030.000
    104185        Timely                   13.600                      13.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104186        Timely                   20.600                      20.600
    104187        Timely                   85.600                      85.600
    104188        Timely                   15.900                      15.900
    104189        Timely                   27.300                      27.300
    104190        Timely                  513.700                      513.700
    104191        Timely                   11.600                      11.600
    104192        Timely                   39.100                      39.100
    104193        Timely                   40.400                      40.400
    104194        Timely                   39.700                      39.700
    104195        Timely                   40.700                      40.700
    104196        Timely                 5,102.900                    5,102.900
    104197        Timely                  127.800                      127.800
    104198        Timely                   15.600                      15.600
    104199        Timely              81,607,133.500               81,607,133.500
    104200        Timely                   0.000                        0.000
    104201        Timely                 2,880.000                    2,880.000
    104202        Timely                   87.600                      87.600
    104203        Timely                  268.000                      268.000
    104204        Timely                   19.900                      19.900
    104205        Timely                   28.200                      28.200
    104206        Timely                  141.000                      141.000
    104207        Timely                   0.000                        0.000
    104208        Timely                   12.600                      12.600
    104209        Timely                   82.900                      82.900
    104210        Timely                   28.200                      28.200
    104211        Timely                   99.300                      99.300
    104212        Timely                   7.300                        7.300
    104213        Timely                   4.000                        4.000
    104214        Timely                  448.500                      448.500
    104215        Timely                   13.300                      13.300
    104216        Timely                17,400.000                   17,400.000
    104217        Timely                  381.500                      381.500
    104218        Timely                   18.000                      18.000
    104219        Timely                   24.600                      24.600
    104220        Timely                   13.300                      13.300
    104221        Timely                   24.900                      24.900
    104222        Timely                   76.400                      76.400
    104223        Timely                   8.300                        8.300
    104224        Timely                   5.000                        5.000
    104225        Timely                   21.300                      21.300
    104226        Timely                   22.200                      22.200
    104227        Timely                  109.400                      109.400
    104228        Timely                 1,095.000                    1,095.000
    104229        Timely                   25.900                      25.900
    104230        Timely                  113.400                      113.400

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104231        Timely                   9.000                        9.000
    104232        Timely                  161.400                      161.400
    104233        Timely                   9.600                        9.600
    104234        Timely                   17.000                      17.000
    104235        Timely                   22.900                      22.900
    104236        Timely                   25.900                      25.900
    104237        Timely                   76.400                      76.400
    104238        Timely                  261.500                      261.500
    104239        Timely                   23.200                      23.200
    104240        Timely                   83.000                      83.000
    104241        Timely                  116.600                      116.600
    104242        Timely                  203.000                      203.000
    104243        Timely                  249.000                      249.000
    104244        Timely                  114.000                      114.000
    104245        Timely                   2.000                        2.000
    104246        Timely                  158.000                      158.000
    104247        Timely                  104.500                      104.500
    104248        Timely                  390.000                      390.000
    104249        Timely                   21.900                      21.900
    104250        Timely                   0.000                        0.000
    104251        Timely                   29.900                      29.900
    104252        Timely                   14.300                      14.300
    104253        Timely                  303.500                      303.500
    104254        Timely                   18.900                      18.900
    104255        Timely                  672.700                      672.700
    104256        Timely                   47.500                      47.500
    104257        Timely                  180.600                      180.600
    104258        Timely                  224.000                      224.000
    104259        Timely                   9.300                        9.300
    104260        Timely                   15.600                      15.600
    104261        Timely                  215.000                      215.000
    104262        Timely                   10.300                      10.300
    104263        Timely              20,305,623.000               20,305,623.000
    104264        Timely             249,723,105.000              249,723,105.000
    104265        Timely                   13.300                      13.300
    104266        Timely                   48.100                      48.100
    104267        Timely                   45.400                      45.400
    104268        Timely                   23.900                      23.900
    104269        Timely                   11.600                      11.600
    104270        Timely                   39.600                      39.600
    104271        Timely                   10.300                      10.300
    104272        Timely                   48.000                      48.000
    104273        Timely                  280.500                      280.500
    104274        Timely                   3.000                        3.000
    104275        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104276        Timely                   0.000                        0.000
    104277        Timely                   0.000                        0.000
    104278        Timely                   83.000                      83.000
    104279        Timely                   7.300                        7.300
    104280        Timely                   8.300                        8.300
    104281        Timely                   0.000                        0.000
    104282        Timely                   23.600                      23.600
    104283        Timely                   14.300                      14.300
    104284        Timely                  176.300                      176.300
    104285        Timely                   26.600                      26.600
    104286        Timely                  269.000                      269.000
    104287        Timely                   48.000                      48.000
    104288        Timely                   10.300                      10.300
    104289        Timely                   30.000                      30.000
    104290        Timely                   5.300                        5.300
    104291        Timely                   68.000                      68.000
    104292        Timely                   15.000                      15.000
    104293        Timely                   75.000                      75.000
    104294        Timely                   55.400                      55.400
    104295        Timely                  111.300                      111.300
    104296        Timely                   0.000                        0.000
    104297        Timely                   13.600                      13.600
    104298        Timely                   11.000                      11.000
    104299        Timely                   5.000                        5.000
    104300        Timely                   15.600                      15.600
    104301        Timely                84,689.800                   84,689.800
    104302        Timely                34,575.300                   34,575.300
    104303        Timely                17,326.100                   17,326.100
    104304        Timely                 5,302.200                    5,302.200
    104305        Timely               104,012.500                  104,012.500
    104306        Timely                68,773.000                   68,773.000
    104307        Timely                   8.300                        8.300
    104308        Timely                 2,486.000                    2,486.000
    104309        Timely                   7.000                        7.000
    104310        Timely                   14.600                      14.600
    104311        Timely                   20.900                      20.900
    104312        Timely                   33.000                      33.000
    104313        Timely                   30.000                      30.000
    104314        Timely                  428.400                      428.400
    104315        Timely                   33.000                      33.000
    104316        Timely                   37.600                      37.600
    104317        Timely                   49.400                      49.400
    104318        Timely                   23.300                      23.300
    104319        Timely                   4.300                        4.300
    104320        Timely                  170.000                      170.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104321        Timely                   9.000                        9.000
    104322        Timely                  172.500                      172.500
    104323        Timely                   24.000                      24.000
    104324        Timely                   15.000                      15.000
    104325        Timely                  106.200                      106.200
    104326        Timely                   24.900                      24.900
    104327        Timely                   73.000                      73.000
    104328        Timely                   28.000                      28.000
    104329        Timely                   16.000                      16.000
    104330        Timely                   12.900                      12.900
    104331        Timely                  415.000                      415.000
    104332        Timely                   83.000                      83.000
    104333        Timely                  132.600                      132.600
    104334        Timely                 1,813.500                    1,813.500
    104335        Timely                  119.400                      119.400
    104336        Timely                  113.000                      113.000
    104337        Timely                   26.600                      26.600
    104338        Timely                   17.900                      17.900
    104339        Timely                   5.300                        5.300
    104340        Timely                   44.500                      44.500
    104341        Timely                   83.000                      83.000
    104342        Timely                   21.000                      21.000
    104343        Timely                   62.900                      62.900
    104344        Timely                  144.600                      144.600
    104345        Timely                   66.600                      66.600
    104346        Timely                  200.600                      200.600
    104347        Timely                  182.800                      182.800
    104348        Timely                   0.000                        0.000
    104349        Timely                   15.600                      15.600
    104350        Timely                  153.500                      153.500
    104351        Timely                  147.900                      147.900
    104352        Timely                  104.600                      104.600
    104353        Timely                   34.000                      34.000
    104354        Timely                17,366.400                   17,366.400
    104355        Timely                  192.500                      192.500
    104356        Timely                 8,793.600                    8,793.600
    104357        Timely                   41.500                      41.500
    104358        Timely                 6,065.700                    6,065.700
    104359        Timely                  144.500                      144.500
    104360        Timely                   7.300                        7.300
    104361        Timely                  254.400                      254.400
    104362        Timely                 3,883.000                    3,883.000
    104363        Timely                   3.000                        3.000
    104364        Timely                   7.000                        7.000
    104365        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104366        Timely                   4.000                        4.000
    104367        Timely                   14.600                      14.600
    104368        Timely                   3.000                        3.000
    104369        Timely                   11.600                      11.600
    104370        Timely                   34.900                      34.900
    104371        Timely                  294.000                      294.000
    104372        Timely                   12.300                      12.300
    104373        Timely                  145.800                      145.800
    104374        Timely                  161.500                      161.500
    104375        Timely                   23.200                      23.200
    104376        Timely                   0.000                        0.000
    104377        Timely                   9.000                        9.000
    104378        Timely                   43.000                      43.000
    104379        Timely                   96.500                      96.500
    104380        Timely                   8.600                        8.600
    104381        Timely                   53.500                      53.500
    104382        Timely                   36.200                      36.200
    104383        Timely                   0.000                        0.000
    104384        Timely                   62.400                      62.400
    104385        Timely                   81.900                      81.900
    104386        Timely                   5.300                        5.300
    104387        Timely                   1.000                        1.000
    104388        Timely                   27.500                      27.500
    104389        Timely                   8.000                        8.000
    104390        Timely                   12.000                      12.000
    104391        Timely                  101.000                      101.000
    104392        Timely                   11.600                      11.600
    104393        Timely                  180.600                      180.600
    104394        Timely                   26.600                      26.600
    104395        Timely                   64.000                      64.000
    104396        Timely                   65.100                      65.100
    104397        Timely                   8.300                        8.300
    104398        Timely                   14.300                      14.300
    104399        Timely                   11.000                      11.000
    104400        Timely                  103.600                      103.600
    104401        Timely                   18.900                      18.900
    104402        Timely                   17.600                      17.600
    104403        Timely                   17.300                      17.300
    104404        Timely                   18.900                      18.900
    104405        Timely                   6.000                        6.000
    104406        Timely                   21.900                      21.900
    104407        Timely                   50.000                      50.000
    104408        Timely                 1,345.000                    1,345.000
    104409        Timely                   29.600                      29.600
    104410        Timely                   32.200                      32.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104411        Timely                  327.300                      327.300
    104412        Timely                  152.600                      152.600
    104413        Timely                   53.200                      53.200
    104414        Timely                   50.600                      50.600
    104415        Timely                   1.000                        1.000
    104416        Timely                   40.600                      40.600
    104417        Timely                   68.100                      68.100
    104418        Timely                   91.300                      91.300
    104419        Timely                   21.600                      21.600
    104420        Timely                   47.100                      47.100
    104421        Timely                   10.000                      10.000
    104422        Timely                   4.300                        4.300
    104423        Timely                   5.300                        5.300
    104424        Timely                   26.600                      26.600
    104425        Timely                 3,010.000                    3,010.000
    104426        Timely                 2,020.000                    2,020.000
    104427        Timely                  430.000                      430.000
    104428        Timely                   28.500                      28.500
    104429        Timely                  183.000                      183.000
    104430        Timely                   7.300                        7.300
    104431        Timely                   21.300                      21.300
    104432        Timely                   13.600                      13.600
    104433        Timely                 2,343.000                    2,343.000
    104434        Timely                  219.400                      219.400
    104435        Timely                   18.900                      18.900
    104436        Timely                   26.600                      26.600
    104437        Timely                  160.100                      160.100
    104438        Timely                  370.500                      370.500
    104439        Timely                   0.000                        0.000
    104440        Timely                  173.500                      173.500
    104441        Timely                  240.500                      240.500
    104442        Timely                   84.000                      84.000
    104443        Timely                   0.000                        0.000
    104444        Timely                   17.200                      17.200
    104445        Timely                   44.500                      44.500
    104446        Timely                   8.600                        8.600
    104447        Timely                50,589.400                   50,589.400
    104448        Timely                 5,400.000                    5,400.000
    104449        Timely                  725.500                      725.500
    104450        Timely                   58.500                      58.500
    104451        Timely                   0.000                        0.000
    104452        Timely               473,421.000                  473,421.000
    104453        Timely                   1.000                        1.000
    104454        Timely                   32.500                      32.500
    104455        Timely                   16.600                      16.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104456        Timely                   20.900                      20.900
    104457        Timely                   20.900                      20.900
    104458        Timely                   28.500                      28.500
    104459        Timely                   16.600                      16.600
    104460        Timely                   24.900                      24.900
    104461        Timely                   24.900                      24.900
    104462        Timely                   35.500                      35.500
    104463        Timely                   27.900                      27.900
    104464        Timely                  172.600                      172.600
    104465        Timely                   18.000                      18.000
    104466        Timely                   8.600                        8.600
    104467        Timely                   26.900                      26.900
    104468        Timely                   75.000                      75.000
    104469        Timely                   25.900                      25.900
    104470        Timely                   12.000                      12.000
    104471        Timely                  351.400                      351.400
    104472        Timely                   30.900                      30.900
    104473        Timely                  156.000                      156.000
    104474        Timely                  149.100                      149.100
    104475        Timely                   36.500                      36.500
    104476        Timely                   23.900                      23.900
    104477        Timely                   83.000                      83.000
    104478        Timely                  565.000                      565.000
    104479        Timely               883,977.000                  883,977.000
    104480        Timely                 1,887.000                    1,887.000
    104481        Timely                   90.100                      90.100
    104482        Timely               186,549.000                  186,549.000
    104483        Timely                   25.200                      25.200
    104484        Timely                  831.000                      831.000
    104485        Timely                 3,320.000                    3,320.000
    104486        Timely                 2,553.000                    2,553.000
    104487        Timely                 4,440.500                    4,440.500
    104488        Timely                   4.000                        4.000
    104489        Timely                   40.900                      40.900
    104490        Timely                   56.500                      56.500
    104491        Timely                   41.500                      41.500
    104492        Timely                  217.500                      217.500
    104493        Timely                  978.000                      978.000
    104494        Timely                   9.000                        9.000
    104495        Timely                  332.000                      332.000
    104496        Timely                   0.000                        0.000
    104497        Timely                   4.000                        4.000
    104498        Timely                   6.000                        6.000
    104499        Timely                   14.600                      14.600
    104500        Timely                   18.600                      18.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104501        Timely                   8.600                        8.600
    104502        Timely                   9.000                        9.000
    104503        Timely                   3.000                        3.000
    104504        Timely                  232.800                      232.800
    104505        Timely                   35.000                      35.000
    104506        Timely                   35.900                      35.900
    104507        Timely                   41.500                      41.500
    104508        Timely                   16.300                      16.300
    104509        Timely                   13.000                      13.000
    104510        Timely                   79.000                      79.000
    104511        Timely                   6.000                        6.000
    104512        Timely                   34.100                      34.100
    104513        Timely                   13.600                      13.600
    104514        Timely                   32.200                      32.200
    104515        Timely                   24.900                      24.900
    104516        Timely                   45.000                      45.000
    104517        Timely                   16.600                      16.600
    104518        Timely                   20.300                      20.300
    104519        Timely                   37.900                      37.900
    104520        Timely                   81.800                      81.800
    104521        Timely                   5.300                        5.300
    104522        Timely                   4.300                        4.300
    104523        Timely                   56.700                      56.700
    104524        Timely                   17.300                      17.300
    104525        Timely                   45.000                      45.000
    104526        Timely                   32.900                      32.900
    104527        Timely                   28.500                      28.500
    104528        Timely                   11.600                      11.600
    104529        Timely                   7.300                        7.300
    104530        Timely                   15.000                      15.000
    104531        Timely                   54.100                      54.100
    104532        Timely                   5.300                        5.300
    104533        Timely                  149.500                      149.500
    104534        Timely                   72.600                      72.600
    104535        Timely                   19.600                      19.600
    104536        Timely                 2,681.300                    2,681.300
    104537        Timely                  145.000                      145.000
    104538        Timely                   0.000                        0.000
    104539        Timely                   31.200                      31.200
    104540        Timely                18,779.000                   18,779.000
    104541        Timely                 8,364.000                    8,364.000
    104542        Timely                   97.000                      97.000
    104543        Timely                   37.200                      37.200
    104544        Timely                   37.200                      37.200
    104545        Timely                   37.200                      37.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104546        Timely                 2,239.000                    2,239.000
    104547        Timely               194,386.000                  194,386.000
    104548        Timely                92,791.200                   92,791.200
    104549        Timely                 1,826.900                    1,826.900
    104550        Timely                  295.500                      295.500
    104551        Timely                 5,000.000                    5,000.000
    104552        Timely               661,438.800                  661,438.800
    104553        Timely                 4,809.000                    4,809.000
    104554        Timely              2,235,246.800                2,235,246.800
    104555        Timely                   5.000                        5.000
    104556        Timely                   22.000                      22.000
    104557        Timely                   0.000                        0.000
    104558        Timely                   39.600                      39.600
    104559        Timely                   48.500                      48.500
    104560        Timely                   48.500                      48.500
    104561        Timely                 1,890.000                    1,890.000
    104562        Timely                   38.400                      38.400
    104563        Timely                   29.900                      29.900
    104564        Timely                   75.500                      75.500
    104565        Timely                   6.000                        6.000
    104566        Timely                  388.000                      388.000
    104567        Timely                 1,701.000                    1,701.000
    104568        Timely                   8.300                        8.300
    104569        Timely                  470.500                      470.500
    104570        Timely                   32.500                      32.500
    104571        Timely                   6.300                        6.300
    104572        Timely               102,222.200                  102,222.200
    104573        Timely                   22.600                      22.600
    104574        Timely                  273.500                      273.500
    104575        Timely                 2,079.400                    2,079.400
    104576        Timely                   54.000                      54.000
    104577        Timely                   45.200                      45.200
    104578        Timely                   77.000                      77.000
    104579        Timely                   12.000                      12.000
    104580        Timely                   4.000                        4.000
    104581        Timely                 3,841.900                    3,841.900
    104582        Timely                   18.600                      18.600
    104583        Timely                   20.000                      20.000
    104584        Timely                   15.600                      15.600
    104585        Timely                   4.000                        4.000
    104586        Timely                   36.900                      36.900
    104587        Timely                   0.000                        0.000
    104588        Timely                   28.200                      28.200
    104589        Timely                 2,220.000                    2,220.000
    104590        Timely                   8.300                        8.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104591        Timely                   11.600                      11.600
    104592        Timely                   15.600                      15.600
    104593        Timely                 5,617.300                    5,617.300
    104594        Timely                   17.300                      17.300
    104595        Timely                  129.000                      129.000
    104596        Timely                  264.000                      264.000
    104597        Timely                   73.000                      73.000
    104598        Timely                   73.000                      73.000
    104599        Timely                   56.600                      56.600
    104600        Timely                   36.000                      36.000
    104601        Timely                   43.500                      43.500
    104602        Timely                   63.800                      63.800
    104603        Timely                   8.600                        8.600
    104604        Timely                  100.600                      100.600
    104605        Timely                   54.000                      54.000
    104606        Timely                  177.000                      177.000
    104607        Timely                  142.300                      142.300
    104608        Timely                   11.600                      11.600
    104609        Timely                   22.200                      22.200
    104610        Timely                   63.500                      63.500
    104611        Timely                   18.900                      18.900
    104612        Timely                   12.600                      12.600
    104613        Timely                 1,742.400                    1,742.400
    104614        Timely                   24.600                      24.600
    104615        Timely                  117.500                      117.500
    104616        Timely                 1,829.000                    1,829.000
    104617        Timely                   35.200                      35.200
    104618        Timely                   43.800                      43.800
    104619        Timely                12,300.000                   12,300.000
    104620        Timely                   91.400                      91.400
    104621        Timely                  200.100                      200.100
    104622        Timely                   14.000                      14.000
    104623        Timely                 6,402.000                    6,402.000
    104624        Timely                   12.900                      12.900
    104625        Timely                   10.300                      10.300
    104626        Timely                   6.000                        6.000
    104627        Timely                   8.600                        8.600
    104628        Timely              2,325,612.000                 2,325,612.000
    104629        Timely              10,514,972.100               10,514,972.100
    104630        Timely                   1.000                        1.000
    104631        Timely              1,359,430.800                 1,359,430.800
    104632        Timely                   11.300                      11.300
    104633        Timely                   6.000                        6.000
    104634        Timely                   50.500                      50.500
    104635        Timely                   18.490                      18.490

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104636        Timely                   15.900                      15.900
    104637        Timely                   9.000                        9.000
    104638        Timely                   32.500                      32.500
    104639        Timely                   81.700                      81.700
    104640        Timely                   10.300                      10.300
    104641        Timely                   83.000                      83.000
    104642        Timely                   11.600                      11.600
    104643        Timely                   12.300                      12.300
    104644        Timely                 2,129.600                    2,129.600
    104645        Timely                  212.500                      212.500
    104646        Timely                  382.000                      382.000
    104647        Timely                  212.000                      212.000
    104648        Timely                   17.600                      17.600
    104649        Timely                  123.000                      123.000
    104650        Timely                  123.000                      123.000
    104651        Timely                14,850.000                   14,850.000
    104652        Timely                   12.900                      12.900
    104653        Timely                   49.800                      49.800
    104654        Timely                  209.000                      209.000
    104655        Timely                  824.000                      824.000
    104656        Timely                 1,661.300                    1,661.300
    104657        Timely                   20.000                      20.000
    104658        Timely                  122.000                      122.000
    104659        Timely                   7.300                        7.300
    104660        Timely                   8.300                        8.300
    104661        Timely                   4.300                        4.300
    104662        Timely                   16.900                      16.900
    104663        Timely                   6.300                        6.300
    104664        Timely                   18.000                      18.000
    104665        Timely                   18.900                      18.900
    104666        Timely                  141.800                      141.800
    104667        Timely                  374.000                      374.000
    104668        Timely                   4.300                        4.300
    104669        Timely                  199.500                      199.500
    104670        Timely                   18.600                      18.600
    104671        Timely                   59.100                      59.100
    104672        Timely                   55.400                      55.400
    104673        Timely                   27.600                      27.600
    104674        Timely                  166.000                      166.000
    104675        Timely                  136.800                      136.800
    104676        Timely                  249.000                      249.000
    104677        Timely                  229.400                      229.400
    104678        Timely                  249.000                      249.000
    104679        Timely                  258.300                      258.300
    104680        Timely                  332.000                      332.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104681        Timely                  365.200                      365.200
    104682        Timely                  406.700                      406.700
    104683        Timely                  329.000                      329.000
    104684        Timely                  232.400                      232.400
    104685        Timely                  332.000                      332.000
    104686        Timely                  290.500                      290.500
    104687        Timely                  249.000                      249.000
    104688        Timely                  315.400                      315.400
    104689        Timely                  246.000                      246.000
    104690        Timely                  240.700                      240.700
    104691        Timely                  249.000                      249.000
    104692        Timely                  207.500                      207.500
    104693        Timely                  237.700                      237.700
    104694        Timely                  240.700                      240.700
    104695        Timely                  392.100                      392.100
    104696        Timely                  290.500                      290.500
    104697        Timely                  249.000                      249.000
    104698        Timely                  235.000                      235.000
    104699        Timely                  332.000                      332.000
    104700        Timely                  332.000                      332.000
    104701        Timely                  335.000                      335.000
    104702        Timely                   6.000                        6.000
    104703        Timely                   79.400                      79.400
    104704        Timely                   10.000                      10.000
    104705        Timely                   36.500                      36.500
    104706        Timely                   26.900                      26.900
    104707        Timely                   17.200                      17.200
    104708        Timely                   29.200                      29.200
    104709        Timely                  276.600                      276.600
    104710        Timely                   13.300                      13.300
    104711        Timely                  266.500                      266.500
    104712        Timely                   41.500                      41.500
    104713        Timely                   14.300                      14.300
    104714        Timely                  213.600                      213.600
    104715        Timely                  218.500                      218.500
    104716        Timely                   37.900                      37.900
    104717        Timely                  131.000                      131.000
    104718        Timely                   13.900                      13.900
    104719        Timely                   8.600                        8.600
    104720        Timely                  135.000                      135.000
    104721        Timely                  540.000                      540.000
    104722        Timely                  777.500                      777.500
    104723        Timely                   7.300                        7.300
    104724        Timely                  120.000                      120.000
    104725        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104726        Timely                   0.000                        0.000
    104727        Timely                   0.000                        0.000
    104728        Timely                   0.000                        0.000
    104729        Timely                   0.000                        0.000
    104730        Timely                   0.000                        0.000
    104731        Timely                   91.800                      91.800
    104732        Timely                   0.000                        0.000
    104733        Timely                   0.000                        0.000
    104734        Timely                   41.500                      41.500
    104735        Timely                   87.600                      87.600
    104736        Timely                   12.600                      12.600
    104737        Timely                   7.300                        7.300
    104738        Timely                   41.800                      41.800
    104739        Timely                   41.800                      41.800
    104740        Timely                   23.600                      23.600
    104741        Timely                   0.000                        0.000
    104742        Timely                   81.000                      81.000
    104743        Timely                 1,968.400                    1,968.400
    104744        Timely                   12.300                      12.300
    104745        Timely                  339.600                      339.600
    104746        Timely                   19.900                      19.900
    104747        Timely                   14.600                      14.600
    104748        Timely                  167.000                      167.000
    104749        Timely                  166.000                      166.000
    104750        Timely                  207.500                      207.500
    104751        Timely                  332.000                      332.000
    104752        Timely                  332.000                      332.000
    104753        Timely                  249.000                      249.000
    104754        Timely                  249.000                      249.000
    104755        Timely                  166.000                      166.000
    104756        Timely                  332.000                      332.000
    104757        Timely                  332.000                      332.000
    104758        Timely                  115.500                      115.500
    104759        Timely                  317.000                      317.000
    104760        Timely                  249.000                      249.000
    104761        Timely                 6,975.000                    6,975.000
    104762        Timely                   29.500                      29.500
    104763        Timely                   29.500                      29.500
    104764        Timely                   0.000                        0.000
    104765        Timely                10,031.000                   10,031.000
    104766        Timely                 6,910.000                    6,910.000
    104767        Timely                28,800.000                   28,800.000
    104768        Timely                  174.500                      174.500
    104769        Timely                   0.000                        0.000
    104770        Timely                  315.400                      315.400

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104771        Timely                   54.800                      54.800
    104772        Timely                   27.900                      27.900
    104773        Timely                   56.100                      56.100
    104774        Timely                   38.900                      38.900
    104775        Timely                58,743.000                   58,743.000
    104776        Timely                55,140.000                   55,140.000
    104777        Timely                 1,259.800                    1,259.800
    104778        Timely                   11.300                      11.300
    104779        Timely                   11.300                      11.300
    104780        Timely                   11.300                      11.300
    104781        Timely                   11.300                      11.300
    104782        Timely                  576.000                      576.000
    104783        Timely                   40.000                      40.000
    104784        Timely                 1,159.000                    1,159.000
    104785        Timely                   23.600                      23.600
    104786        Timely                  207.500                      207.500
    104787        Timely                  332.000                      332.000
    104788        Timely                  260.500                      260.500
    104789        Timely                  415.000                      415.000
    104790        Timely                  249.000                      249.000
    104791        Timely                   99.600                      99.600
    104792        Timely                  226.400                      226.400
    104793        Timely                  249.000                      249.000
    104794        Timely                  315.400                      315.400
    104795        Timely                   64.700                      64.700
    104796        Timely                   65.400                      65.400
    104797        Timely                   68.000                      68.000
    104798        Timely                 3,990.000                    3,990.000
    104799        Timely                 7,146.300                    7,146.300
    104800        Timely                   9.300                        9.300
    104801        Timely                 1,500.000                    1,500.000
    104802        Timely                   9.300                        9.300
    104803        Timely                   0.000                        0.000
    104804        Timely                  129.500                      129.500
    104805        Timely                  170.500                      170.500
    104806        Timely                   99.600                      99.600
    104807        Timely                  607.500                      607.500
    104808        Timely                 2,493.300                    2,493.300
    104809        Timely                   2.000                        2.000
    104810        Timely                  930.000                      930.000
    104811        Timely                  175.000                      175.000
    104812        Timely                   11.300                      11.300
    104813        Timely                   33.200                      33.200
    104814        Timely               974,871.600                  974,871.600
    104815        Timely                86,484.000                   86,484.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104816        Timely                   0.000                        0.000
    104817        Timely                   24.900                      24.900
    104818        Timely                   11.600                      11.600
    104819        Timely                  239.000                      239.000
    104820        Timely                  242.000                      242.000
    104821        Timely                   0.000                        0.000
    104822        Timely               123,096.100                  123,096.100
    104823        Timely                  242.000                      242.000
    104824        Timely              4,445,598.000                4,445,598.000
    104825        Timely               129,600.000                  129,600.000
    104826        Timely               602,838.000                  602,838.000
    104827        Timely                   14.300                      14.300
    104828        Timely                  117.600                      117.600
    104829        Timely               159,372.000                  159,372.000
    104830        Timely                  146.700                      146.700
    104831        Timely                   11.600                      11.600
    104832        Timely                  131.500                      131.500
    104833        Timely                  242.000                      242.000
    104834        Timely                  127.500                      127.500
    104835        Timely                 2,150.000                    2,150.000
    104836        Timely                   63.800                      63.800
    104837        Timely                   9.000                        9.000
    104838        Timely                  154.700                      154.700
    104839        Timely                   13.300                      13.300
    104840        Timely                   50.500                      50.500
    104841        Timely                   96.500                      96.500
    104842        Timely                  114.200                      114.200
    104843        Timely                  127.100                      127.100
    104844        Timely                 3,080.500                    3,080.500
    104845        Timely                   10.300                      10.300
    104846        Timely                   33.900                      33.900
    104847        Timely                   39.200                      39.200
    104848        Timely                   21.900                      21.900
    104849        Timely                  291.500                      291.500
    104850        Timely                   13.600                      13.600
    104851        Timely                   21.500                      21.500
    104852        Timely                   6.000                        6.000
    104853        Timely                   12.600                      12.600
    104854        Timely                   55.500                      55.500
    104855        Timely                   4.000                        4.000
    104856        Timely                   7.000                        7.000
    104857        Timely                   21.600                      21.600
    104858        Timely                   50.200                      50.200
    104859        Timely                   64.500                      64.500
    104860        Timely                   18.900                      18.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104861        Timely                  118.500                      118.500
    104862        Timely                   89.000                      89.000
    104863        Timely                   55.400                      55.400
    104864        Timely                   8.000                        8.000
    104865        Timely                   85.700                      85.700
    104866        Timely                   70.000                      70.000
    104867        Timely                   19.600                      19.600
    104868        Timely                   69.000                      69.000
    104869        Timely                   43.800                      43.800
    104870        Timely                   83.000                      83.000
    104871        Timely                   24.900                      24.900
    104872        Timely                   41.500                      41.500
    104873        Timely                  375.000                      375.000
    104874        Timely                   21.900                      21.900
    104875        Timely                   13.600                      13.600
    104876        Timely                   11.600                      11.600
    104877        Timely                  275.000                      275.000
    104878        Timely                   12.900                      12.900
    104879        Timely                   77.900                      77.900
    104880        Timely                   0.000                        0.000
    104881        Timely                   6.000                        6.000
    104882        Timely                   8.300                        8.300
    104883        Timely                   8.300                        8.300
    104884        Timely                   25.200                      25.200
    104885        Timely                   30.000                      30.000
    104886        Timely                   70.400                      70.400
    104887        Timely                   26.200                      26.200
    104888        Timely                   54.000                      54.000
    104889        Timely                   15.600                      15.600
    104890        Timely                43,677.000                   43,677.000
    104891        Timely                  116.000                      116.000
    104892        Timely                   25.200                      25.200
    104893        Timely                  356.100                      356.100
    104894        Timely                 2,031.500                    2,031.500
    104895        Timely                   4.300                        4.300
    104896        Timely                  780.000                      780.000
    104897        Timely                   7.000                        7.000
    104898        Timely                   47.800                      47.800
    104899        Timely                   31.900                      31.900
    104900        Timely                   15.000                      15.000
    104901        Timely                   39.800                      39.800
    104902        Timely                  170.900                      170.900
    104903        Timely                   47.300                      47.300
    104904        Timely                   7.300                        7.300
    104905        Timely                   74.600                      74.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104906        Timely                   40.400                      40.400
    104907        Timely                   23.900                      23.900
    104908        Timely                   43.500                      43.500
    104909        Timely                   31.900                      31.900
    104910        Timely                   30.900                      30.900
    104911        Timely                   96.000                      96.000
    104912        Timely                  109.400                      109.400
    104913        Timely                  194.600                      194.600
    104914        Timely                   34.800                      34.800
    104915        Timely                   20.600                      20.600
    104916        Timely                  172.000                      172.000
    104917        Timely                  182.100                      182.100
    104918        Timely                   1.000                        1.000
    104919        Timely                28,986.900                   28,986.900
    104920        Timely                   1.000                        1.000
    104921        Timely                   1.000                        1.000
    104922        Timely                   53.800                      53.800
    104923        Timely                   8.300                        8.300
    104924        Timely                   1.000                        1.000
    104925        Timely                   56.500                      56.500
    104926        Timely                   31.000                      31.000
    104927        Timely                   1.000                        1.000
    104928        Timely                   7.300                        7.300
    104929        Timely                   61.400                      61.400
    104930        Timely                   11.600                      11.600
    104931        Timely                   35.500                      35.500
    104932        Timely                   37.000                      37.000
    104933        Timely                  149.500                      149.500
    104934        Timely                   28.900                      28.900
    104935        Timely                   73.600                      73.600
    104936        Timely                  792.000                      792.000
    104937        Timely                   8.300                        8.300
    104938        Timely                  209.000                      209.000
    104939        Timely                   9.000                        9.000
    104940        Timely                   14.300                      14.300
    104941        Timely                   14.600                      14.600
    104942        Timely                   15.600                      15.600
    104943        Timely                  155.000                      155.000
    104944        Timely                   51.500                      51.500
    104945        Timely                   56.500                      56.500
    104946        Timely                 2,520.000                    2,520.000
    104947        Timely                  322.000                      322.000
    104948        Timely                   32.900                      32.900
    104949        Timely                 1,045.700                    1,045.700
    104950        Timely                 3,527.000                    3,527.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104951        Timely                 5,246.000                    5,246.000
    104952        Timely                 1,584.000                    1,584.000
    104953        Timely                   7.300                        7.300
    104954        Timely                   18.600                      18.600
    104955        Timely                   60.400                      60.400
    104956        Timely                   0.000                        0.000
    104957        Timely                   48.800                      48.800
    104958        Timely                  136.000                      136.000
    104959        Timely                   7.000                        7.000
    104960        Timely               238,676.000                  238,676.000
    104961        Timely                   8.300                        8.300
    104962        Timely                  227.400                      227.400
    104963        Timely                   1.000                        1.000
    104964        Timely                   16.600                      16.600
    104965        Timely                   1.000                        1.000
    104966        Timely                   1.000                        1.000
    104967        Timely                 2,568.000                    2,568.000
    104968        Timely                   1.000                        1.000
    104969        Timely                   1.000                        1.000
    104970        Timely                   1.000                        1.000
    104971        Timely                   4.000                        4.000
    104972        Timely                   1.000                        1.000
    104973        Timely                   1.000                        1.000
    104974        Timely                   1.000                        1.000
    104975        Timely                   1.000                        1.000
    104976        Timely                   1.000                        1.000
    104977        Timely                   1.000                        1.000
    104978        Timely                  249.000                      249.000
    104979        Timely                  153.400                      153.400
    104980        Timely                  249.000                      249.000
    104981        Timely                  249.000                      249.000
    104982        Timely                   84.600                      84.600
    104983        Timely                  264.000                      264.000
    104984        Timely                  182.600                      182.600
    104985        Timely                  240.700                      240.700
    104986        Timely                  249.000                      249.000
    104987        Timely                  565.000                      565.000
    104988        Timely                  247.700                      247.700
    104989        Timely                   0.000                        0.000
    104990        Timely                  370.000                      370.000
    104991        Timely                  231.100                      231.100
    104992        Timely                   1.000                        1.000
    104993        Timely                   1.000                        1.000
    104994        Timely                   1.000                        1.000
    104995        Timely                   1.000                        1.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    104996        Timely                  249.000                      249.000
    104997        Timely                   1.000                        1.000
    104998        Timely                   1.000                        1.000
    104999        Timely                   1.000                        1.000
    105000        Timely                   1.000                        1.000
    105001        Timely                  249.000                      249.000
    105002        Timely                   12.900                      12.900
    105003        Timely                   1.000                        1.000
    105004        Timely                   1.000                        1.000
    105005        Timely                   1.000                        1.000
    105006        Timely                   1.000                        1.000
    105007        Timely                   1.000                        1.000
    105008        Timely                   1.000                        1.000
    105009        Timely                   1.000                        1.000
    105010        Timely                   1.000                        1.000
    105011        Timely                   1.000                        1.000
    105012        Timely                   9.300                        9.300
    105013        Timely                  150.500                      150.500
    105014        Timely                   19.900                      19.900
    105015        Timely                   56.500                      56.500
    105016        Timely                   1.000                        1.000
    105017        Timely                   1.000                        1.000
    105018        Timely                  146.600                      146.600
    105019        Timely                   1.000                        1.000
    105020        Timely                   1.000                        1.000
    105021        Timely                   1.000                        1.000
    105022        Timely                 1,119.500                    1,119.500
    105023        Timely                   1.000                        1.000
    105024        Timely                   18.900                      18.900
    105025        Timely                   1.000                        1.000
    105026        Timely                  133.000                      133.000
    105027        Timely                   1.000                        1.000
    105028        Timely                   1.000                        1.000
    105029        Timely                   1.000                        1.000
    105030        Timely                   14.600                      14.600
    105031        Timely                   1.000                        1.000
    105032        Timely                   1.000                        1.000
    105033        Timely                   17.200                      17.200
    105034        Timely                   1.000                        1.000
    105035        Timely                   1.000                        1.000
    105036        Timely                   1.000                        1.000
    105037        Timely                   1.000                        1.000
    105038        Timely                   1.000                        1.000
    105039        Timely                   1.000                        1.000
    105040        Timely                   1.000                        1.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105041        Timely                   1.000                        1.000
    105042        Timely                   8.300                        8.300
    105043        Timely                   60.000                      60.000
    105044        Timely                   17.900                      17.900
    105045        Timely                   67.700                      67.700
    105046        Timely                 1,537.000                    1,537.000
    105047        Timely                  736.700                      736.700
    105048        Timely                27,970.500                   27,970.500
    105049        Timely                 2,241.000                    2,241.000
    105050        Timely                 2,199.500                    2,199.500
    105051        Timely                   3.000                        3.000
    105052        Timely                 5,591.400                    5,591.400
    105053        Timely                  321.800                      321.800
    105054        Timely                   91.800                      91.800
    105055        Timely                   49.600                      49.600
    105056        Timely                 6,334.900                    6,334.900
    105057        Timely                   80.500                      80.500
    105058        Timely                   22.300                      22.300
    105059        Timely                  564.400                      564.400
    105060        Timely                   12.000                      12.000
    105061        Timely                   41.500                      41.500
    105062        Timely                   81.600                      81.600
    105063        Timely                  100.300                      100.300
    105064        Timely                   58.000                      58.000
    105065        Timely                   70.400                      70.400
    105066        Timely                   5.300                        5.300
    105067        Timely                  346.000                      346.000
    105068        Timely                  298.800                      298.800
    105069        Timely                   68.700                      68.700
    105070        Timely                   5.300                        5.300
    105071        Timely                  332.000                      332.000
    105072        Timely                   11.600                      11.600
    105073        Timely                  304.800                      304.800
    105074        Timely                   30.500                      30.500
    105075        Timely                  129.000                      129.000
    105076        Timely                  348.600                      348.600
    105077        Timely                   37.800                      37.800
    105078        Timely                  294.200                      294.200
    105079        Timely                  329.400                      329.400
    105090        Timely                   44.800                      44.800
    105108        Timely                   62.100                      62.100
    105148        Timely                   65.700                      65.700
    105153        Timely                  601.800                      601.800
    105169        Timely                   24.900                      24.900
    105172        Timely                  208.000                      208.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105176        Timely                   96.600                      96.600
    105189        Timely                   29.900                      29.900
    105190        Timely                   52.200                      52.200
    105195        Timely                   17.600                      17.600
    105198        Timely                  145.500                      145.500
    105201        Timely                   24.900                      24.900
    105208        Timely                   29.600                      29.600
    105212        Timely                  189.000                      189.000
    105215        Timely                   24.900                      24.900
    105225        Timely                   40.900                      40.900
    105230        Timely                   28.200                      28.200
    105243        Timely                  499.900                      499.900
    105261        Timely                   24.900                      24.900
    105263        Timely                   56.500                      56.500
    105275        Timely                  175.200                      175.200
    105276        Timely                   13.300                      13.300
    105292        Timely                   41.500                      41.500
    105305        Timely                  700.000                      700.000
    105312        Timely                   53.800                      53.800
    105323        Timely                   24.900                      24.900
    105330        Timely                   20.600                      20.600
    105353        Timely                   24.900                      24.900
    105357        Timely                   51.200                      51.200
    105358        Timely                   12.600                      12.600
    105361        Timely                   11.000                      11.000
    105380        Timely                   59.500                      59.500
    105381        Timely                   12.600                      12.600
    105402        Timely                   36.500                      36.500
    105413        Timely                   51.200                      51.200
    105417        Timely                  459.200                      459.200
    105419        Timely                   35.200                      35.200
    105433        Timely                   10.300                      10.300
    105441        Timely                   25.000                      25.000
    105442        Timely                  396.000                      396.000
    105443        Timely                   20.000                      20.000
    105444        Timely                  167.000                      167.000
    105445        Timely                  129.400                      129.400
    105446        Timely                   53.000                      53.000
    105447        Timely                   12.000                      12.000
    105448        Timely                  125.600                      125.600
    105449        Timely                   13.600                      13.600
    105450        Timely                  181.700                      181.700
    105464        Timely                   91.300                      91.300
    105478        Timely                91,587.500                   91,587.500
    105480        Timely                   0.000                        0.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105481        Timely                   83.000                      83.000
    105482        Timely                   75.600                      75.600
    105483        Timely                 2,328.500                    2,328.500
    105484        Timely                 1,800.000                    1,800.000
    105485        Timely                   48.500                      48.500
    105486        Timely                  432.000                      432.000
    105487        Timely                 5,400.000                    5,400.000
    105488        Timely                 6,607.500                    6,607.500
    105489        Timely                 5,622.000                    5,622.000
    105490        Timely                  123.100                      123.100
    105491        Timely                 2,788.000                    2,788.000
    105492        Timely                   61.500                      61.500
    105493        Timely                58,587.000                   58,587.000
    105494        Timely                27,000.000                   27,000.000
    105495        Timely                   5.000                        5.000
    105496        Timely                 6,829.000                    6,829.000
    105497        Timely                  128.000                      128.000
    105498        Timely                 2,226.600                    2,226.600
    105499        Timely                   57.500                      57.500
    105500        Timely                 7,810.000                    7,810.000
    105501        Timely                   43.000                      43.000
    105502        Timely                 6,690.000                    6,690.000
    105503        Timely                 8,399.500                    8,399.500
    105504        Timely                  104.500                      104.500
    105505        Timely                   86.500                      86.500
    105506        Timely                 6,750.000                    6,750.000
    105507        Timely                   94.000                      94.000
    105508        Timely                11,100.000                   11,100.000
    105509        Timely                  118.000                      118.000
    105510        Timely                 7,919.500                    7,919.500
    105511        Timely                   3.000                        3.000
    105512        Timely                   24.600                      24.600
    105513        Timely                   8.000                        8.000
    105514        Timely               101,070.000                  101,070.000
    105515        Timely                27,828.000                   27,828.000
    105516        Timely                  625.000                      625.000
    105517        Timely                   83.000                      83.000
    105518        Timely                 8,620.000                    8,620.000
    105519        Timely                 8,100.000                    8,100.000
    105520        Timely                21,410.000                   21,410.000
    105521        Timely                21,970.000                   21,970.000
    105522        Timely                  488.000                      488.000
    105523        Timely                  591.200                      591.200
    105524        Timely                   3.000                        3.000
    105525        Timely                  787.000                      787.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105526        Timely                  462.000                      462.000
    105527        Timely                   42.800                      42.800
    105528        Timely                  721.000                      721.000
    105529        Timely                   18.900                      18.900
    105530        Timely                  212.600                      212.600
    105531        Timely                  382.200                      382.200
    105532        Timely                  426.800                      426.800
    105533        Timely                   9.300                        9.300
    105534        Timely                  493.000                      493.000
    105535        Timely                   46.100                      46.100
    105536        Timely                  393.400                      393.400
    105537        Timely                   24.300                      24.300
    105538        Timely                  557.900                      557.900
    105539        Timely                  509.100                      509.100
    105540        Timely                  181.600                      181.600
    105541        Timely                  588.000                      588.000
    105542        Timely                 4,037.200                    4,037.200
    105543        Timely                  525.000                      525.000
    105544        Timely                 3,522.700                    3,522.700
    105545        Timely                 7,558.700                    7,558.700
    105546        Timely                 9,360.000                    9,360.000
    105547        Timely                 6,980.000                    6,980.000
    105548        Timely                 2,740.000                    2,740.000
    105549        Timely                 2,826.900                    2,826.900
    105550        Timely                 3,380.000                    3,380.000
    105551        Timely                 7,797.000                    7,797.000
    105552        Timely               207,660.800                  207,660.800
    105553        Timely                  569.600                      569.600
    105554        Timely                 3,613.800                    3,613.800
    105555        Timely                  763.200                      763.200
    105557        Timely              1,151,912.000                1,151,912.000
    105558        Timely                   0.000                        0.000
    105559        Timely                   0.000                        0.000
    105560        Timely              1,204,853.600                1,204,853.600
    105561        Timely                   0.000                        0.000
    105562        Timely                   0.000                        0.000
    105563        Timely                15,169.100                   15,169.100
    105564        Timely                 6,159.000                    6,159.000
    105565        Timely                  363.200                      363.200
    105566        Timely                   15.300                      15.300
    105567        Timely                 2,602.500                    2,602.500
    105568        Timely                   23.600                      23.600
    105569        Timely                   0.000                        0.000
    105570        Timely                45,000.000                   45,000.000
    105571        Timely                 4,590.000                    4,590.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105572        Timely                 2,517.700                    2,517.700
    105573        Timely                   0.000                        0.000
    105574        Timely              1,466,784.000                1,466,784.000
    105575        Timely                   0.000                        0.000
    105576        Timely                16,294.500                   16,294.500
    105577        Timely                   0.000                        0.000
    105578        Timely                 9,164.700                    9,164.700
    105579        Timely                   0.000                        0.000
    105580        Timely                28,800.000                   28,800.000
    105581        Timely                29,760.000                   29,760.000
    105582        Timely                14,976.000                   14,976.000
    105583        Timely                   0.000                        0.000
    105584        Timely                 9,360.000                    9,360.000
    105585        Timely                   0.000                        0.000
    105586        Timely                   0.000                        0.000
    105587        Timely                33,979.500                   33,979.500
    105588        Timely                   0.000                        0.000
    105589        Timely                47,808.000                   47,808.000
    105590        Timely               745,000.000                  745,000.000
    105591        Timely                54,744.000                   54,744.000
    105592        Timely                 4,503.000                    4,503.000
    105593        Timely                   0.000                        0.000
    105594        Timely                 4,022.400                    4,022.400
    105595        Timely                   0.000                        0.000
    105596        Timely                 5,850.000                    5,850.000
    105597        Timely                   0.000                        0.000
    105598        Timely                 1,898.400                    1,898.400
    105599        Timely                13,096.800                   13,096.800
    105600        Timely                 2,095.000                    2,095.000
    105601        Timely                16,600.000                   16,600.000
    105602        Timely               100,887.000                  100,887.000
    105619        Timely                  565.000                      565.000
    105621        Timely                   27.900                      27.900
    105623        Timely                  207.500                      207.500
    105648        Timely                   16.600                      16.600
    105651        Timely                   52.800                      52.800
    105682        Timely                   39.500                      39.500
    105684        Timely                   53.200                      53.200
    105686        Timely                  236.500                      236.500
    105701        Timely                 7,578.700                    7,578.700
    105710        Timely                   10.300                      10.300
    105713        Timely                   7.300                        7.300
    105718        Timely                   8.300                        8.300
    106376        Timely                29,840.000                   29,840.000
    106377        Timely               127,542.000                  127,542.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106378        Timely                36,990.100                   36,990.100
    106379        Timely                 1,596.000                    1,596.000
    106380        Timely                90,000.000                   90,000.000
    105080         Late                   451.900                      225.950
    105081         Late                   314.700                      157.350
    105082         Late                    73.000                      36.500
    105083         Late                   351.500                      175.750
    105084         Late                   567.000                      283.500
    105085         Late                    30.000                      15.000
    105086         Late                   332.000                      166.000
    105087         Late                   257.000                      128.500
    105088         Late                    8.300                        4.150
    105089         Late                   342.500                      171.250
    105091         Late                    5.300                        2.650
    105092         Late                    8.300                        4.150
    105093         Late                   195.000                      97.500
    105094         Late                  7,312.600                    3,656.300
    105095         Late                   314.700                      157.350
    105096         Late                    14.300                       7.150
    105097         Late                   373.500                      186.750
    105098         Late                   143.700                      71.850
    105099         Late                  9,485.500                    4,742.750
    105100         Late                   166.300                      83.150
    105101         Late                    49.500                      24.750
    105102         Late                    53.000                      26.500
    105103         Late                    46.400                      23.200
    105104         Late                    57.300                      28.650
    105105         Late                    48.800                      24.400
    105106         Late                    63.600                      31.800
    105107         Late                 10,871.400                    5,435.700
    105109         Late                 17,108.800                    8,554.400
    105110         Late                 31,244.100                   15,622.050
    105111         Late                    55.200                      27.600
    105112         Late                 27,254.700                   13,627.350
    105113         Late                    77.800                      38.900
    105114         Late                   199.200                      99.600
    105115         Late                 22,209.700                   11,104.850
    105116         Late                  1,045.000                     522.500
    105117         Late                   745.700                      372.850
    105118         Late                   164.000                      82.000
    105119         Late                    32.000                      16.000
    105120         Late                    24.000                      12.000
    105121         Late                    17.000                       8.500
    105122         Late                    79.500                      39.750
    105123         Late                    79.500                      39.750

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105124         Late                    53.000                      26.500
    105125         Late                    53.000                      26.500
    105126         Late                    58.300                      29.150
    105127         Late                    59.300                      29.650
    105128         Late                    79.500                      39.750
    105129         Late                    79.500                      39.750
    105130         Late                    79.500                      39.750
    105131         Late                    79.500                      39.750
    105132         Late                    79.500                      39.750
    105133         Late                    53.000                      26.500
    105134         Late                    53.000                      26.500
    105135         Late                    79.500                      39.750
    105136         Late                    79.500                      39.750
    105137         Late                    53.000                      26.500
    105138         Late                    53.000                      26.500
    105139         Late                    79.500                      39.750
    105140         Late                    79.500                      39.750
    105141         Late                    22.600                      11.300
    105142         Late                   705.000                      352.500
    105143         Late                   382.000                      191.000
    105144         Late                   252.100                      126.050
    105145         Late                    8.600                        4.300
    105146         Late                    8.600                        4.300
    105147         Late                    60.000                      30.000
    105149         Late                   264.900                      132.450
    105150         Late                    33.900                      16.950
    105151         Late                   524.500                      262.250
    105152         Late                 15,000.000                    7,500.000
    105154         Late                   208.500                      104.250
    105155         Late                    4.300                        2.150
    105156         Late                    31.900                      15.950
    105157         Late                    19.200                       9.600
    105158         Late                    46.800                      23.400
    105159         Late                    29.300                      14.650
    105160         Late                   221.200                      110.600
    105161         Late                   542.700                      271.350
    105162         Late                    50.500                      25.250
    105163         Late                   202.500                      101.250
    105164         Late                   124.500                      62.250
    105165         Late                    31.200                      15.600
    105166         Late                    39.200                      19.600
    105167         Late                   121.500                      60.750
    105168         Late                   100.500                      50.250
    105170         Late                    53.800                      26.900
    105171         Late                   205.000                      102.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105173         Late                    19.600                       9.800
    105174         Late                    10.000                       5.000
    105175         Late                    15.600                       7.800
    105177         Late                   117.500                      58.750
    105178         Late                    44.800                      22.400
    105179         Late                    26.200                      13.100
    105180         Late                    1.000                        0.500
    105181         Late                  1,770.100                     885.050
    105182         Late                    0.000                        0.000
    105183         Late                   254.200                      127.100
    105184         Late                    86.100                      43.050
    105185         Late                    52.700                      26.350
    105186         Late                    58.300                      29.150
    105187         Late                   170.800                      85.400
    105188         Late                    26.600                      13.300
    105191         Late                    99.800                      49.900
    105192         Late                    12.900                       6.450
    105193         Late                    11.600                       5.800
    105194         Late                   246.000                      123.000
    105196         Late                    7.300                        3.650
    105197         Late                 16,770.900                    8,385.450
    105199         Late                    17.600                       8.800
    105200         Late                   528.900                      264.450
    105202         Late                   166.000                      83.000
    105203         Late                 10,306.300                    5,153.150
    105204         Late                    27.000                      13.500
    105205         Late                    84.700                      42.350
    105206         Late                    36.500                      18.250
    105207         Late                    1.000                        0.500
    105209         Late                   108.000                      54.000
    105210         Late                    9.300                        4.650
    105211         Late                    61.100                      30.550
    105213         Late                    84.000                      42.000
    105214         Late                    84.000                      42.000
    105216         Late                   102.300                      51.150
    105217         Late                    71.500                      35.750
    105218         Late                   142.700                      71.350
    105219         Late                   153.400                      76.700
    105220         Late                    84.300                      42.150
    105221         Late                    18.600                       9.300
    105222         Late                    27.500                      13.750
    105223         Late                    36.200                      18.100
    105224         Late                   123.000                      61.500
    105226         Late                    35.000                      17.500
    105227         Late                   114.400                      57.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105228         Late                   155.900                      77.950
    105229         Late                    42.800                      21.400
    105231         Late                    17.900                       8.950
    105232         Late                    20.000                      10.000
    105233         Late                    29.900                      14.950
    105234         Late                    14.300                       7.150
    105235         Late                   158.000                      79.000
    105236         Late                    39.200                      19.600
    105237         Late                   126.000                      63.000
    105238         Late                    38.700                      19.350
    105239         Late                    27.600                      13.800
    105240         Late                    15.000                       7.500
    105241         Late                    52.800                      26.400
    105242         Late                   444.100                      222.050
    105244         Late                    26.900                      13.450
    105245         Late                    17.900                       8.950
    105246         Late                    8.000                        4.000
    105247         Late                    16.600                       8.300
    105248         Late                    45.500                      22.750
    105249         Late                    5.000                        2.500
    105250         Late                    14.900                       7.450
    105251         Late                    56.500                      28.250
    105252         Late                    25.600                      12.800
    105253         Late                    17.600                       8.800
    105254         Late                    18.600                       9.300
    105255         Late                   495.700                      247.850
    105256         Late                    51.400                      25.700
    105257         Late                    1.000                        0.500
    105258         Late                    60.100                      30.050
    105259         Late                    12.900                       6.450
    105260         Late                    80.500                      40.250
    105262         Late                    14.600                       7.300
    105264         Late                    3.000                        1.500
    105265         Late                    76.400                      38.200
    105266         Late                   309.500                      154.750
    105267         Late                    14.600                       7.300
    105268         Late                    6.000                        3.000
    105269         Late                    48.600                      24.300
    105270         Late                   307.000                      153.500
    105271         Late                    39.900                      19.950
    105272         Late                    13.600                       6.800
    105273         Late                    26.500                      13.250
    105274         Late                    4.300                        2.150
    105277         Late                   147.400                      73.700
    105278         Late                    94.000                      47.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105279         Late                    42.900                      21.450
    105280         Late                    39.900                      19.950
    105281         Late                    15.300                       7.650
    105282         Late                    0.000                        0.000
    105283         Late                    11.600                       5.800
    105284         Late                   333.000                      166.500
    105285         Late                    18.000                       9.000
    105286         Late                    21.900                      10.950
    105287         Late                    49.600                      24.800
    105288         Late                    15.900                       7.950
    105289         Late                    24.000                      12.000
    105290         Late                    76.100                      38.050
    105291         Late                   180.600                      90.300
    105293         Late                    39.500                      19.750
    105294         Late                    29.900                      14.950
    105295         Late                    2.000                        1.000
    105296         Late                    84.000                      42.000
    105297         Late                   180.000                      90.000
    105298         Late                    0.000                        0.000
    105299         Late                    6.000                        3.000
    105300         Late                   223.600                      111.800
    105301         Late                    20.000                      10.000
    105302         Late                   900.000                      450.000
    105303         Late                    2.000                        1.000
    105304         Late                   129.300                      64.650
    105306         Late                    10.000                       5.000
    105307         Late                    54.500                      27.250
    105308         Late                  1,221.200                     610.600
    105309         Late                    23.900                      11.950
    105310         Late                    27.000                      13.500
    105311         Late                    21.500                      10.750
    105313         Late                   156.000                      78.000
    105314         Late                    39.420                      19.710
    105315         Late                    26.600                      13.300
    105316         Late                    73.600                      36.800
    105317         Late                    33.900                      16.950
    105318         Late                  1,287.800                     643.900
    105319         Late                    11.300                       5.650
    105320         Late                    47.900                      23.950
    105321         Late                 11,284.300                    5,642.150
    105322         Late                    65.800                      32.900
    105324         Late                    54.000                      27.000
    105325         Late                   327.600                      163.800
    105326         Late                    4.300                        2.150
    105327         Late                   102.400                      51.200

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105328         Late                    4.000                        2.000
    105329         Late                    13.600                       6.800
    105331         Late                   185.500                      92.750
    105332         Late                    36.800                      18.400
    105333         Late                    13.300                       6.650
    105334         Late                    38.500                      19.250
    105335         Late                    15.300                       7.650
    105336         Late                   156.200                      78.100
    105337         Late                   563.300                      281.650
    105338         Late                    20.600                      10.300
    105339         Late                 20,142.800                   10,071.400
    105340         Late                    23.900                      11.950
    105341         Late                    7.000                        3.500
    105342         Late                   146.000                      73.000
    105343         Late                    83.000                      41.500
    105344         Late                    15.600                       7.800
    105345         Late                    51.200                      25.600
    105346         Late                  8,621.500                    4,310.750
    105347         Late                    32.200                      16.100
    105348         Late                    4.000                        2.000
    105349         Late                    18.900                       9.450
    105350         Late                    4.000                        2.000
    105351         Late                   202.000                      101.000
    105352         Late                    9.000                        4.500
    105354         Late                    2.000                        1.000
    105355         Late                    8.300                        4.150
    105356         Late                    23.600                      11.800
    105359         Late                    5.000                        2.500
    105360         Late                    9.300                        4.650
    105362         Late                    0.000                        0.000
    105363         Late                    6.000                        3.000
    105364         Late                    51.000                      25.500
    105365         Late                    83.000                      41.500
    105366         Late                    83.000                      41.500
    105367         Late                    83.000                      41.500
    105368         Late                   140.300                      70.150
    105369         Late                    32.900                      16.450
    105370         Late                    12.600                       6.300
    105371         Late                    44.500                      22.250
    105372         Late                    0.000                        0.000
    105373         Late                    9.000                        4.500
    105374         Late                    76.500                      38.250
    105375         Late                    11.300                       5.650
    105376         Late                    17.900                       8.950
    105377         Late                    4.000                        2.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105378         Late                    34.500                      17.250
    105379         Late                    11.600                       5.800
    105382         Late                   214.700                      107.350
    105383         Late                    30.200                      15.100
    105384         Late                    38.900                      19.450
    105385         Late                    44.000                      22.000
    105386         Late                    6.000                        3.000
    105387         Late                   137.600                      68.800
    105388         Late                   108.800                      54.400
    105389         Late                   170.500                      85.250
    105390         Late                    14.300                       7.150
    105391         Late                    26.600                      13.300
    105392         Late                    25.600                      12.800
    105393         Late                    42.000                      21.000
    105394         Late                    26.500                      13.250
    105395         Late                    41.500                      20.750
    105396         Late                    98.300                      49.150
    105397         Late                    10.000                       5.000
    105398         Late                    30.000                      15.000
    105399         Late                    40.300                      20.150
    105400         Late                    29.500                      14.750
    105401         Late                    20.300                      10.150
    105403         Late                    83.000                      41.500
    105404         Late                    26.500                      13.250
    105405         Late                    45.000                      22.500
    105406         Late                   158.800                      79.400
    105407         Late                    0.000                        0.000
    105408         Late                    20.000                      10.000
    105409         Late                    34.200                      17.100
    105410         Late                    67.200                      33.600
    105411         Late                    0.000                        0.000
    105412         Late                   692.000                      346.000
    105414         Late                   121.000                      60.500
    105415         Late                   402.500                      201.250
    105416         Late                    18.600                       9.300
    105418         Late                    18.300                       9.150
    105420         Late                    33.200                      16.600
    105421         Late                    34.500                      17.250
    105422         Late                   160.800                      80.400
    105423         Late                    12.900                       6.450
    105424         Late                    11.300                       5.650
    105425         Late                    62.500                      31.250
    105426         Late                    6.000                        3.000
    105427         Late                   162.800                      81.400
    105428         Late                    5.300                        2.650

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105429         Late                    33.500                      16.750
    105430         Late                    32.900                      16.450
    105431         Late                    24.000                      12.000
    105432         Late                    65.000                      32.500
    105434         Late                    9.300                        4.650
    105435         Late                    32.000                      16.000
    105436         Late                   116.400                      58.200
    105437         Late                    12.000                       6.000
    105438         Late                    32.900                      16.450
    105439         Late                    11.600                       5.800
    105440         Late                    24.000                      12.000
    105451         Late                    7.300                        3.650
    105452         Late                 12,312.000                    6,156.000
    105453         Late                166,751.900                   83,375.950
    105454         Late               3,662,764.200                1,831,382.100
    105455         Late                131,444.000                   65,722.000
    105456         Late                    6.000                        3.000
    105457         Late                   122.500                      61.250
    105458         Late                    65.800                      32.900
    105459         Late                    15.000                       7.500
    105460         Late                   525.000                      262.500
    105461         Late                   171.000                      85.500
    105462         Late                    86.500                      43.250
    105463         Late                    61.500                      30.750
    105465         Late                    0.000                        0.000
    105466         Late                   535.500                      267.750
    105467         Late                    8.300                        4.150
    105468         Late                    44.200                      22.100
    105469         Late                    24.900                      12.450
    105470         Late                    58.500                      29.250
    105471         Late                   124.700                      62.350
    105472         Late                    17.300                       8.650
    105473         Late                    62.800                      31.400
    105474         Late                    75.300                      37.650
    105475         Late                    18.900                       9.450
    105476         Late                    78.000                      39.000
    105477         Late                    12.900                       6.450
    105479         Late                   107.500                      53.750
    105556         Late                653,034.000                  326,517.000
    105603         Late                 22,711.900                   11,355.950
    105604         Late                   534.000                      267.000
    105605         Late                   108.000                      54.000
    105606         Late                    20.600                      10.300
    105607         Late                    42.500                      21.250
    105608         Late                    33.900                      16.950

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105609         Late                    25.800                      12.900
    105610         Late                   235.800                      117.900
    105611         Late                  1,596.000                     798.000
    105612         Late                   127.300                      63.650
    105613         Late                   291.600                      145.800
    105614         Late                    11.600                       5.800
    105615         Late                    45.200                      22.600
    105616         Late                    66.100                      33.050
    105617         Late                    55.800                      27.900
    105618         Late                    41.500                      20.750
    105620         Late                    0.000                        0.000
    105622         Late                   123.900                      61.950
    105624         Late                   120.000                      60.000
    105625         Late                    8.300                        4.150
    105626         Late                    10.000                       5.000
    105627         Late                    7.000                        3.500
    105628         Late                    2.000                        1.000
    105629         Late                    60.000                      30.000
    105630         Late                    6.000                        3.000
    105631         Late                    27.200                      13.600
    105632         Late                    16.900                       8.450
    105633         Late                    16.300                       8.150
    105634         Late                    43.900                      21.950
    105635         Late                    21.000                      10.500
    105636         Late                    4.300                        2.150
    105637         Late                    11.600                       5.800
    105638         Late                    30.000                      15.000
    105639         Late                    80.400                      40.200
    105640         Late                    6.000                        3.000
    105641         Late                  1,347.700                     673.850
    105642         Late                    24.900                      12.450
    105643         Late                    47.200                      23.600
    105644         Late                    47.500                      23.750
    105645         Late                    8.000                        4.000
    105646         Late                    11.600                       5.800
    105647         Late                  1,060.000                     530.000
    105649         Late                    76.100                      38.050
    105650         Late                    0.000                        0.000
    105652         Late                    51.800                      25.900
    105653         Late                    0.000                        0.000
    105654         Late                    34.400                      17.200
    105655         Late                  1,331.200                     665.600
    105656         Late                    1.000                        0.500
    105657         Late                    4.300                        2.150
    105658         Late                    4.300                        2.150

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105659         Late                    2.000                        1.000
    105660         Late                   119.500                      59.750
    105661         Late                    20.900                      10.450
    105662         Late                   229.000                      114.500
    105663         Late                    65.400                      32.700
    105664         Late                    56.500                      28.250
    105665         Late                   950.100                      475.050
    105666         Late                    49.400                      24.700
    105667         Late                    24.900                      12.450
    105668         Late                    18.000                       9.000
    105669         Late                   962.700                      481.350
    105670         Late                  5,651.700                    2,825.850
    105671         Late                    15.600                       7.800
    105672         Late                   206.400                      103.200
    105673         Late                    35.900                      17.950
    105674         Late                    48.900                      24.450
    105675         Late                    7.300                        3.650
    105676         Late                    10.300                       5.150
    105677         Late                    18.900                       9.450
    105678         Late                    21.900                      10.950
    105679         Late                  2,060.000                    1,030.000
    105680         Late                    23.200                      11.600
    105681         Late                    41.200                      20.600
    105683         Late                    14.000                       7.000
    105685         Late                    79.500                      39.750
    105687         Late                    25.600                      12.800
    105688         Late                   141.000                      70.500
    105689         Late                   348.300                      174.150
    105690         Late                    30.200                      15.100
    105691         Late                    33.900                      16.950
    105692         Late                    41.200                      20.600
    105693         Late                    18.600                       9.300
    105694         Late                    25.600                      12.800
    105695         Late                   261.000                      130.500
    105696         Late                   700.500                      350.250
    105697         Late                    11.000                       5.500
    105698         Late                    5.000                        2.500
    105699         Late                   155.500                      77.750
    105700         Late                    28.900                      14.450
    105702         Late                    80.000                      40.000
    105703         Late                    1.000                        0.500
    105704         Late                    36.200                      18.100
    105705         Late                    33.500                      16.750
    105706         Late                   113.000                      56.500
    105707         Late                    5.300                        2.650

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105708         Late                    11.600                       5.800
    105709         Late                    24.900                      12.450
    105711         Late                    7.000                        3.500
    105712         Late                   149.000                      74.500
    105714         Late                   109.700                      54.850
    105715         Late                    58.900                      29.450
    105716         Late                    15.300                       7.650
    105717         Late                    21.000                      10.500
    105719         Late                   193.500                      96.750
    105720         Late                    9.300                        4.650
    105721         Late                    69.500                      34.750
    105722         Late                   653.200                      326.600
    105723         Late                    40.900                      20.450
    105724         Late                    7.300                        3.650
    105725         Late                    4.000                        2.000
    105726         Late                    48.000                      24.000
    105727         Late                    20.200                      10.100
    105728         Late                    4.300                        2.150
    105729         Late                    61.400                      30.700
    105730         Late                   113.000                      56.500
    105731         Late                    17.200                       8.600
    105732         Late                    8.300                        4.150
    105733         Late                    27.000                      13.500
    105734         Late                    17.900                       8.950
    105735         Late                   233.000                      116.500
    105736         Late                    56.200                      28.100
    105737         Late                    34.900                      17.450
    105738         Late                   171.000                      85.500
    105739         Late                    15.600                       7.800
    105740         Late                    12.900                       6.450
    105741         Late                    17.200                       8.600
    105742         Late                    19.600                       9.800
    105743         Late                   162.900                      81.450
    105744         Late                   121.700                      60.850
    105745         Late                 96,590.600                   48,295.300
    105746         Late                    29.900                      14.950
    105747         Late                    32.500                      16.250
    105748         Late                   150.600                      75.300
    105749         Late                    39.800                      19.900
    105750         Late                    34.600                      17.300
    105751         Late                    68.500                      34.250
    105752         Late                    11.000                       5.500
    105753         Late                    19.300                       9.650
    105754         Late                   159.000                      79.500
    105755         Late                    50.600                      25.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105756         Late                    23.200                      11.600
    105757         Late                   117.800                      58.900
    105758         Late                    9.600                        4.800
    105759         Late                    9.600                        4.800
    105760         Late                    12.900                       6.450
    105761         Late                    3.000                        1.500
    105762         Late                    22.000                      11.000
    105763         Late                    24.900                      12.450
    105764         Late                   210.500                      105.250
    105765         Late                    7.300                        3.650
    105766         Late                  4,150.000                    2,075.000
    105767         Late                    56.700                      28.350
    105768         Late                    33.300                      16.650
    105769         Late                    56.400                      28.200
    105770         Late                    3.000                        1.500
    105771         Late                    31.800                      15.900
    105772         Late                   140.600                      70.300
    105773         Late                   104.500                      52.250
    105774         Late                   188.500                      94.250
    105775         Late                    81.600                      40.800
    105776         Late                   830.000                      415.000
    105777         Late                    12.000                       6.000
    105778         Late                   119.100                      59.550
    105779         Late                    15.000                       7.500
    105780         Late                    59.800                      29.900
    105781         Late                    13.300                       6.650
    105782         Late                    43.000                      21.500
    105783         Late                    17.200                       8.600
    105784         Late                    14.300                       7.150
    105785         Late                   178.300                      89.150
    105786         Late                    43.200                      21.600
    105787         Late                    36.200                      18.100
    105788         Late                    37.300                      18.650
    105789         Late                    4.300                        2.150
    105790         Late                    15.000                       7.500
    105791         Late                    35.900                      17.950
    105792         Late                    26.300                      13.150
    105793         Late                   148.600                      74.300
    105794         Late                    14.600                       7.300
    105795         Late                   148.100                      74.050
    105796         Late                    12.300                       6.150
    105797         Late                    97.500                      48.750
    105798         Late                  2,755.000                    1,377.500
    105799         Late                   124.400                      62.200
    105800         Late                    14.600                       7.300

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105801         Late                    21.500                      10.750
    105802         Late                    17.900                       8.950
    105803         Late                    14.600                       7.300
    105804         Late                   173.600                      86.800
    105805         Late                   126.000                      63.000
    105806         Late                    10.000                       5.000
    105807         Late                    13.300                       6.650
    105808         Late                    11.600                       5.800
    105809         Late                    14.600                       7.300
    105810         Late                    28.200                      14.100
    105811         Late                    94.400                      47.200
    105812         Late                    56.500                      28.250
    105813         Late                   118.500                      59.250
    105814         Late                    25.600                      12.800
    105815         Late                    9.300                        4.650
    105816         Late                   160.000                      80.000
    105817         Late                    61.200                      30.600
    105818         Late                    26.600                      13.300
    105819         Late                    24.900                      12.450
    105820         Late                    22.000                      11.000
    105821         Late                990,000.000                  495,000.000
    105822         Late                   156.000                      78.000
    105823         Late                    19.000                       9.500
    105824         Late                    11.600                       5.800
    105825         Late                    26.900                      13.450
    105826         Late                    19.600                       9.800
    105827         Late                    31.900                      15.950
    105828         Late                   120.000                      60.000
    105829         Late                    8.300                        4.150
    105830         Late                   498.700                      249.350
    105831         Late                    9.600                        4.800
    105832         Late                    8.300                        4.150
    105833         Late                    30.000                      15.000
    105834         Late                   156.000                      78.000
    105835         Late                    21.600                      10.800
    105836         Late                  1,329.000                     664.500
    105837         Late                    11.300                       5.650
    105838         Late                    3.000                        1.500
    105839         Late                    4.300                        2.150
    105840         Late                    20.600                      10.300
    105841         Late                  3,876.700                    1,938.350
    105842         Late                    16.600                       8.300
    105843         Late                    35.600                      17.800
    105844         Late                    77.800                      38.900
    105845         Late                   159.800                      79.900

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105846         Late                   450.000                      225.000
    105847         Late                    4.000                        2.000
    105848         Late                    26.200                      13.100
    105849         Late                   138.600                      69.300
    105850         Late                   540.000                      270.000
    105851         Late                    22.900                      11.450
    105852         Late                   694.800                      347.400
    105853         Late                    28.900                      14.450
    105854         Late                    65.500                      32.750
    105855         Late                    4.000                        2.000
    105856         Late                    12.300                       6.150
    105857         Late                   151.200                      75.600
    105858         Late                    9.000                        4.500
    105859         Late                   228.900                      114.450
    105860         Late                    0.000                        0.000
    105861         Late                    80.400                      40.200
    105862         Late                    32.600                      16.300
    105863         Late                    30.000                      15.000
    105864         Late                    15.900                       7.950
    105865         Late                   150.000                      75.000
    105866         Late                    42.800                      21.400
    105867         Late                    68.000                      34.000
    105868         Late                    37.900                      18.950
    105869         Late                    70.700                      35.350
    105870         Late                    35.200                      17.600
    105871         Late                    18.900                       9.450
    105872         Late                    49.100                      24.550
    105873         Late                   119.500                      59.750
    105874         Late                    83.000                      41.500
    105875         Late                   110.400                      55.200
    105876         Late                    12.300                       6.150
    105877         Late                    75.000                      37.500
    105878         Late                   179.600                      89.800
    105879         Late                    7.000                        3.500
    105880         Late                    53.000                      26.500
    105881         Late                    26.500                      13.250
    105882         Late                    21.200                      10.600
    105883         Late                    37.100                      18.550
    105884         Late                    11.300                       5.650
    105885         Late                    4.000                        2.000
    105886         Late                   750.000                      375.000
    105887         Late                    7.000                        3.500
    105888         Late                    15.000                       7.500
    105889         Late                    4.000                        2.000
    105890         Late                    8.300                        4.150

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105891         Late                    25.500                      12.750
    105892         Late                    20.600                      10.300
    105893         Late                    13.900                       6.950
    105894         Late                   116.500                      58.250
    105895         Late                    46.700                      23.350
    105896         Late                    30.100                      15.050
    105897         Late                    43.200                      21.600
    105898         Late                   248.000                      124.000
    105899         Late                   148.500                      74.250
    105900         Late                    33.900                      16.950
    105901         Late                    96.800                      48.400
    105902         Late                    55.200                      27.600
    105903         Late                    28.200                      14.100
    105904         Late                    15.000                       7.500
    105905         Late                   150.000                      75.000
    105906         Late                   109.500                      54.750
    105907         Late                    47.500                      23.750
    105908         Late                    10.300                       5.150
    105909         Late                   144.500                      72.250
    105910         Late                   134.500                      67.250
    105911         Late                  4,821.800                    2,410.900
    105912         Late                   174.500                      87.250
    105913         Late                    38.200                      19.100
    105914         Late                    11.300                       5.650
    105915         Late                    12.300                       6.150
    105916         Late                  8,300.000                    4,150.000
    105917         Late                    7.300                        3.650
    105918         Late                    60.000                      30.000
    105919         Late                    28.200                      14.100
    105920         Late                  1,149.000                     574.500
    105921         Late                  1,243.000                     621.500
    105922         Late                    6.000                        3.000
    105923         Late                    12.300                       6.150
    105924         Late                   155.000                      77.500
    105925         Late                    12.000                       6.000
    105926         Late                    8.600                        4.300
    105927         Late                    11.600                       5.800
    105928         Late                    43.000                      21.500
    105929         Late                   415.700                      207.850
    105930         Late                    20.200                      10.100
    105931         Late                   381.000                      190.500
    105932         Late                    20.600                      10.300
    105933         Late                    41.200                      20.600
    105934         Late                    43.000                      21.500
    105935         Late                    10.000                       5.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105936         Late                    43.000                      21.500
    105937         Late                    10.000                       5.000
    105938         Late                    53.000                      26.500
    105939         Late                    53.000                      26.500
    105940         Late                    32.500                      16.250
    105941         Late                   106.000                      53.000
    105942         Late                    32.900                      16.450
    105943         Late                   323.000                      161.500
    105944         Late                   265.000                      132.500
    105945         Late                   265.000                      132.500
    105946         Late                   102.200                      51.100
    105947         Late                   106.000                      53.000
    105948         Late                    56.600                      28.300
    105949         Late                    86.000                      43.000
    105950         Late                    70.500                      35.250
    105951         Late                    20.000                      10.000
    105952         Late                   500.600                      250.300
    105953         Late                    16.600                       8.300
    105954         Late                    16.600                       8.300
    105955         Late                    15.000                       7.500
    105956         Late                  1,243.000                     621.500
    105957         Late                   254.600                      127.300
    105958         Late                   130.000                      65.000
    105959         Late                   132.000                      66.000
    105960         Late                    11.300                       5.650
    105961         Late                    21.000                      10.500
    105962         Late                    18.600                       9.300
    105963         Late                    83.000                      41.500
    105964         Late                    63.700                      31.850
    105965         Late                    44.500                      22.250
    105966         Late                    87.000                      43.500
    105967         Late                    23.900                      11.950
    105968         Late                   146.600                      73.300
    105969         Late                   106.000                      53.000
    105970         Late                   106.000                      53.000
    105971         Late                    65.000                      32.500
    105972         Late                   106.000                      53.000
    105973         Late                   106.000                      53.000
    105974         Late                    70.500                      35.250
    105975         Late                  2,237.400                    1,118.700
    105976         Late                    33.900                      16.950
    105977         Late                   366.600                      183.300
    105978         Late                   164.600                      82.300
    105979         Late                    4.300                        2.150
    105980         Late                    20.300                      10.150

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    105981         Late                   106.000                      53.000
    105982         Late                   106.000                      53.000
    105983         Late                   341.700                      170.850
    105984         Late                    29.600                      14.800
    105985         Late                    21.600                      10.800
    105986         Late                   564.000                      282.000
    105987         Late                    60.000                      30.000
    105988         Late                    50.500                      25.250
    105989         Late                    78.400                      39.200
    105990         Late                   825.000                      412.500
    105991         Late                    30.000                      15.000
    105992         Late                    30.900                      15.450
    105993         Late                   117.000                      58.500
    105994         Late                    81.000                      40.500
    105995         Late                    61.800                      30.900
    105996         Late                    62.700                      31.350
    105997         Late                   240.000                      120.000
    105998         Late                    4.000                        2.000
    105999         Late                    32.200                      16.100
    106000         Late                    1.000                        0.500
    106001         Late                    12.000                       6.000
    106002         Late                    26.000                      13.000
    106003         Late                   180.600                      90.300
    106004         Late                    44.100                      22.050
    106005         Late                    19.600                       9.800
    106006         Late                   119.300                      59.650
    106007         Late                   249.000                      124.500
    106008         Late                    6.300                        3.150
    106009         Late                    32.000                      16.000
    106010         Late                    93.000                      46.500
    106011         Late                    45.500                      22.750
    106012         Late                   139.200                      69.600
    106013         Late                    34.500                      17.250
    106014         Late                    17.900                       8.950
    106015         Late               2,889,600.000                1,444,800.000
    106016         Late                562,768.500                  281,384.250
    106017         Late                    7.000                        3.500
    106018         Late                    38.200                      19.100
    106019         Late                    77.300                      38.650
    106020         Late                   556.600                      278.300
    106021         Late                    69.800                      34.900
    106022         Late                    85.800                      42.900
    106023         Late                   226.600                      113.300
    106024         Late                    65.100                      32.550
    106025         Late                    17.200                       8.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106026         Late                    6.300                        3.150
    106027         Late                    81.800                      40.900
    106028         Late                    4.300                        2.150
    106029         Late                    8.300                        4.150
    106030         Late                    19.900                       9.950
    106031         Late                    91.100                      45.550
    106032         Late                    31.800                      15.900
    106033         Late                   154.900                      77.450
    106034         Late                    69.200                      34.600
    106035         Late                   374.200                      187.100
    106036         Late                  4,320.900                    2,160.450
    106037         Late                    68.400                      34.200
    106038         Late                    15.900                       7.950
    106039         Late                    35.600                      17.800
    106040         Late                    59.500                      29.750
    106041         Late                    91.800                      45.900
    106042         Late                    16.600                       8.300
    106043         Late                    3.000                        1.500
    106044         Late                   163.600                      81.800
    106045         Late                   472.500                      236.250
    106046         Late                    20.600                      10.300
    106047         Late                    17.300                       8.650
    106048         Late                    36.000                      18.000
    106049         Late                   190.100                      95.050
    106050         Late                   126.000                      63.000
    106051         Late                   149.100                      74.550
    106052         Late                    15.600                       7.800
    106053         Late                  4,795.000                    2,397.500
    106054         Late                    54.500                      27.250
    106055         Late                    64.100                      32.050
    106056         Late                    51.000                      25.500
    106057         Late                  1,985.100                     992.550
    106058         Late                   606.500                      303.250
    106059         Late                    4.300                        2.150
    106060         Late                    40.400                      20.200
    106061         Late                    14.600                       7.300
    106062         Late                   452.000                      226.000
    106063         Late                    28.600                      14.300
    106064         Late                    28.000                      14.000
    106065         Late                    56.500                      28.250
    106066         Late                    16.900                       8.450
    106067         Late                    56.500                      28.250
    106068         Late                    53.200                      26.600
    106069         Late                    18.300                       9.150
    106070         Late                   184.000                      92.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106071         Late                    67.800                      33.900
    106072         Late                    20.900                      10.450
    106073         Late                    25.600                      12.800
    106074         Late                   126.000                      63.000
    106075         Late                    4.000                        2.000
    106076         Late                    23.900                      11.950
    106077         Late                    34.500                      17.250
    106078         Late                    7.000                        3.500
    106079         Late                   108.400                      54.200
    106080         Late                   131.700                      65.850
    106081         Late                    82.000                      41.000
    106082         Late                513,528.500                  256,764.250
    106083         Late                    11.000                       5.500
    106084         Late                   756.000                      378.000
    106085         Late                    14.900                       7.450
    106086         Late                    22.000                      11.000
    106087         Late                 79,167.100                   39,583.550
    106088         Late                    49.800                      24.900
    106089         Late                    6.300                        3.150
    106090         Late                   276.000                      138.000
    106091         Late                   169.000                      84.500
    106092         Late                  1,217.500                     608.750
    106093         Late                  1,130.000                     565.000
    106094         Late                    4.300                        2.150
    106095         Late                    27.600                      13.800
    106096         Late                  5,657.500                    2,828.750
    106097         Late                  6,511.500                    3,255.750
    106098         Late                  7,010.000                    3,505.000
    106099         Late                  9,000.000                    4,500.000
    106100         Late                    40.900                      20.450
    106101         Late                    31.200                      15.600
    106102         Late                   565.000                      282.500
    106103         Late                    17.900                       8.950
    106104         Late                   226.000                      113.000
    106105         Late                   209.000                      104.500
    106106         Late                    29.300                      14.650
    106107         Late                    53.000                      26.500
    106108         Late                    10.300                       5.150
    106109         Late                    56.500                      28.250
    106110         Late                    10.300                       5.150
    106111         Late                  1,649.000                     824.500
    106112         Late                   236.500                      118.250
    106113         Late                    39.500                      19.750
    106114         Late                   107.500                      53.750
    106115         Late                   460.000                      230.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106116         Late                    86.500                      43.250
    106117         Late                    21.500                      10.750
    106118         Late                    36.000                      18.000
    106119         Late                    38.200                      19.100
    106120         Late                   106.000                      53.000
    106121         Late                   106.000                      53.000
    106122         Late                   644.400                      322.200
    106123         Late                    98.000                      49.000
    106124         Late                    4.300                        2.150
    106125         Late                   182.500                      91.250
    106126         Late                   435.000                      217.500
    106127         Late                    28.200                      14.100
    106128         Late                    14.600                       7.300
    106129         Late                    42.000                      21.000
    106130         Late                    41.200                      20.600
    106131         Late                    20.600                      10.300
    106132         Late                    51.500                      25.750
    106133         Late                    45.200                      22.600
    106134         Late                    45.200                      22.600
    106135         Late                    4.300                        2.150
    106136         Late                   151.000                      75.500
    106137         Late                    85.200                      42.600
    106138         Late                   815.000                      407.500
    106139         Late                    84.800                      42.400
    106140         Late                    93.500                      46.750
    106141         Late                   108.000                      54.000
    106142         Late                    24.900                      12.450
    106143         Late                   180.600                      90.300
    106144         Late                    30.000                      15.000
    106145         Late                    16.300                       8.150
    106146         Late                    85.500                      42.750
    106147         Late                    51.300                      25.650
    106148         Late                    22.300                      11.150
    106149         Late                   348.000                      174.000
    106150         Late                   322.700                      161.350
    106151         Late                    9.000                        4.500
    106152         Late                  2,141.700                    1,070.850
    106153         Late                   116.500                      58.250
    106154         Late                   547.800                      273.900
    106155         Late                    11.600                       5.800
    106156         Late                  1,412.200                     706.100
    106157         Late                    14.900                       7.450
    106158         Late                    39.000                      19.500
    106159         Late                    56.500                      28.250
    106160         Late                    3.000                        1.500

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106161         Late                  2,085.400                    1,042.700
    106162         Late                   116.400                      58.200
    106163         Late                    56.500                      28.250
    106164         Late                    75.000                      37.500
    106165         Late                    24.900                      12.450
    106166         Late                   187.900                      93.950
    106167         Late                   139.500                      69.750
    106168         Late                    49.400                      24.700
    106169         Late                    30.900                      15.450
    106170         Late                   234.500                      117.250
    106171         Late                    34.600                      17.300
    106172         Late                    41.200                      20.600
    106173         Late                    23.900                      11.950
    106174         Late                    27.900                      13.950
    106175         Late                    76.400                      38.200
    106176         Late                    4.000                        2.000
    106177         Late                    14.300                       7.150
    106178         Late                    25.200                      12.600
    106179         Late                   578.000                      289.000
    106180         Late                    0.000                        0.000
    106181         Late                    8.300                        4.150
    106182         Late                    58.000                      29.000
    106183         Late                   259.000                      129.500
    106184         Late                   135.700                      67.850
    106185         Late                    31.500                      15.750
    106186         Late                    67.000                      33.500
    106187         Late                    24.900                      12.450
    106188         Late                   103.400                      51.700
    106189         Late                    40.000                      20.000
    106190         Late                  6,893.100                    3,446.550
    106191         Late                    15.000                       7.500
    106192         Late                    11.000                       5.500
    106193         Late                    18.200                       9.100
    106194         Late                   239.900                      119.950
    106195         Late                   158.600                      79.300
    106196         Late                    3.000                        1.500
    106197         Late                    28.900                      14.450
    106198         Late                    1.000                        0.500
    106199         Late                    57.600                      28.800
    106200         Late                   316.500                      158.250
    106201         Late                    12.000                       6.000
    106202         Late                    4.000                        2.000
    106203         Late                   218.600                      109.300
    106204         Late                    45.000                      22.500
    106205         Late                    58.800                      29.400

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106206         Late                    10.600                       5.300
    106207         Late                    91.500                      45.750
    106208         Late                   656.700                      328.350
    106209         Late                   972.500                      486.250
    106210         Late                    50.100                      25.050
    106211         Late                    35.200                      17.600
    106212         Late                    46.800                      23.400
    106213         Late                    8.300                        4.150
    106214         Late                    25.900                      12.950
    106215         Late                    27.600                      13.800
    106216         Late                    80.100                      40.050
    106217         Late                    32.600                      16.300
    106218         Late                    76.500                      38.250
    106219         Late                    71.900                      35.950
    106220         Late                    56.500                      28.250
    106221         Late                    55.500                      27.750
    106222         Late                    84.100                      42.050
    106223         Late                    7.000                        3.500
    106224         Late                    99.500                      49.750
    106225         Late                    50.100                      25.050
    106226         Late                  4,470.000                    2,235.000
    106227         Late                    50.500                      25.250
    106228         Late                    12.000                       6.000
    106229         Late                    12.000                       6.000
    106230         Late                    33.900                      16.950
    106231         Late                    41.500                      20.750
    106232         Late                    61.800                      30.900
    106233         Late                    24.900                      12.450
    106234         Late                    14.600                       7.300
    106235         Late                    50.000                      25.000
    106236         Late                    7.300                        3.650
    106237         Late                    2.000                        1.000
    106238         Late                    7.300                        3.650
    106239         Late                    22.600                      11.300
    106240         Late                   130.000                      65.000
    106241         Late                    70.100                      35.050
    106242         Late                   281.000                      140.500
    106243         Late                    53.100                      26.550
    106244         Late                   139.500                      69.750
    106245         Late                    68.100                      34.050
    106246         Late                    7.300                        3.650
    106247         Late                   459.000                      229.500
    106248         Late                    4.000                        2.000
    106249         Late                    31.500                      15.750
    106250         Late                    31.200                      15.600

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106251         Late                    43.500                      21.750
    106252         Late                   198.000                      99.000
    106253         Late                   120.900                      60.450
    106254         Late                    16.900                       8.450
    106255         Late                    29.900                      14.950
    106256         Late                    43.200                      21.600
    106257         Late                    98.300                      49.150
    106258         Late                    15.600                       7.800
    106259         Late                    14.900                       7.450
    106260         Late                    23.600                      11.800
    106261         Late                   187.200                      93.600
    106262         Late                    30.000                      15.000
    106263         Late                   346.800                      173.400
    106264         Late                   320.600                      160.300
    106265         Late                    8.300                        4.150
    106266         Late                   154.800                      77.400
    106267         Late                    42.600                      21.300
    106268         Late                    81.000                      40.500
    106269         Late                    19.600                       9.800
    106270         Late                    63.500                      31.750
    106271         Late                   123.000                      61.500
    106272         Late                   233.000                      116.500
    106273         Late                    41.500                      20.750
    106274         Late                    55.700                      27.850
    106275         Late                   113.800                      56.900
    106276         Late                   322.800                      161.400
    106277         Late                    88.500                      44.250
    106278         Late                   282.500                      141.250
    106279         Late                    41.500                      20.750
    106280         Late                    30.600                      15.300
    106281         Late                    7.000                        3.500
    106282         Late                    17.000                       8.500
    106283         Late                    5.300                        2.650
    106284         Late                    9.600                        4.800
    106285         Late                    4.300                        2.150
    106286         Late                    10.000                       5.000
    106287         Late                   374.400                      187.200
    106288         Late                    14.000                       7.000
    106289         Late                   190.000                      95.000
    106290         Late                   177.200                      88.600
    106291         Late                  1,180.000                     590.000
    106292         Late                    83.000                      41.500
    106293         Late                    35.900                      17.950
    106294         Late                   311.100                      155.550
    106295         Late                    6.000                        3.000

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106296         Late                    8.000                        4.000
    106297         Late                    6.000                        3.000
    106298         Late                    25.200                      12.600
    106299         Late                    5.300                        2.650
    106300         Late                   177.000                      88.500
    106301         Late                    30.000                      15.000
    106302         Late                  2,093.500                    1,046.750
    106303         Late                    36.000                      18.000
    106304         Late                    15.300                       7.650
    106305         Late                    24.300                      12.150
    106306         Late                    24.300                      12.150
    106307         Late                    5.000                        2.500
    106308         Late                    46.900                      23.450
    106309         Late                    18.000                       9.000
    106310         Late                    21.500                      10.750
    106311         Late                   126.500                      63.250
    106312         Late                    21.300                      10.650
    106313         Late                    17.600                       8.800
    106314         Late                    18.600                       9.300
    106315         Late                    21.900                      10.950
    106316         Late                    29.200                      14.600
    106317         Late                    93.000                      46.500
    106318         Late                    8.600                        4.300
    106319         Late                    54.500                      27.250
    106320         Late                    83.000                      41.500
    106321         Late                    7.300                        3.650
    106322         Late                    43.600                      21.800
    106323         Late                  5,948.000                    2,974.000
    106324         Late                    31.200                      15.600
    106325         Late                    36.100                      18.050
    106326         Late                    37.400                      18.700
    106327         Late                    11.300                       5.650
    106328         Late                   134.800                      67.400
    106329         Late                    8.300                        4.150
    106330         Late                    12.900                       6.450
    106331         Late                    12.900                       6.450
    106332         Late                    12.900                       6.450
    106333         Late                    15.300                       7.650
    106334         Late                    89.600                      44.800
    106335         Late                    21.500                      10.750
    106336         Late                    27.600                      13.800
    106337         Late                   354.000                      177.000
    106338         Late                   102.000                      51.000
    106339         Late                   156.000                      78.000
    106340         Late                    20.300                      10.150

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   Reseller                     Weighted Units Prior to 50%   Weighted Units After 50%
Claim Number   Timely or Late     Late Claim Adjustment        Late Claim Adjustment
    106341         Late                    83.000                      41.500
    106342         Late                   751.400                      375.700
    106343         Late                   100.100                      50.050
    106344         Late                    15.600                       7.800
    106345         Late                   105.000                      52.500
    106346         Late                    9.000                        4.500
    106347         Late                    23.600                      11.800
    106348         Late                    72.000                      36.000
    106349         Late                   149.900                      74.950
    106350         Late                    24.300                      12.150
    106351         Late                    2.000                        1.000
    106352         Late                    12.300                       6.150
    106353         Late                    15.000                       7.500
    106354         Late                   415.000                      207.500
    106355         Late                    14.300                       7.150
    106356         Late                   237.500                      118.750
    106357         Late                    68.000                      34.000
    106358         Late                    7.300                        3.650
    106359         Late                  1,130.000                     565.000
    106360         Late                   166.600                      83.300
    106361         Late                   339.000                      169.500
    106362         Late                   339.000                      169.500
    106363         Late                    12.000                       6.000
    106364         Late                    7.300                        3.650
    106365         Late                    8.300                        4.150
    106366         Late                    16.600                       8.300
    106367         Late                    33.000                      16.500
    106368         Late                    20.600                      10.300
    106369         Late                    9.000                        4.500
    106370         Late                    8.300                        4.150
    106371         Late                    2.000                        1.000
    106372         Late                    47.900                      23.950
    106373         Late                  2,057.000                    1,028.500
    106374         Late                    7.300                        3.650
    106375         Late                 58,701.000                   29,350.500
    106381         Late                 14,897.100                    7,448.550




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